                                Case 23-855, Document 20, 06/27/2023, 3534205, Page1 of 86

                          UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT
                              CIVIL APPEAL PRE-ARGUMENT STATEMENT (FORM C)

      1. SEE NOTICE ON REVERSE.                               2. PLEASE TYPE OR PRINT.                   3. STAPLE ALL ADDITIONAL PAGES


Case Caption:                                                             District Court or Agency:                   Judge:


JESUS SANTIAGO, Plaintiff-Appellee,                                       EDNY                                       Matsumoto, J.
V.
                                                                          Date the Order or Judgment Appealed         District Court Docket No.:
SUPERINTENDENT BRIAN FISCHER,                                             from was Entered on the Docket:
ANTHONY J. ANNUCCI, TERRENCE X.
                                                                          September 30, 2017                         12-CV-02137
TRACY, Defendants-Appellants,
ANDREW M. CUOMO et al., Defendants.                                       Date the Notice of Appeal was Filed:        Is this a Cross Appeal?

                                                                          May 30, 2023                               ✓   Yes              No


Attorney(s) for          Counsel's Name:                 Address:                Telephone No.:                    Fax No.:                    E-mail:
Appellant(s):

✓ Plaintiff              Robert Rickner, Rickner PLLC, 14 Wall Street, Suite 1603, New York, NY 10005, Phone:
                         (212) 300-6506, Fax: (888) 390-5401, rob@ricknerpllc.com
     Defendant



Attorney(s) for          Counsel's Name:                 Address:                Telephone No.:                    Fax No.:                    E-mail:
Appellee(s):
                         Blair Greenwald, Assistant Solicitor General 28 Liberty Street, New York, NY 10005,
     Plaintiff
                         Phone: (212) 416-6102, Fax: (212) 416-8962, blair.greenwald@ag.ny.gov
✓ Defendant



Has Transcript           Approx. Number of          Number of           Has this matter been before this Circuit previously?        Yes         ✓   No
Been Prepared?           Transcript                 Exhibits
                         Pages:                     Appended to          IfYes, provide the following:
                                                    Transcript:
                                                                         Case Name:
N/A
                                                                         2d Cir. Docket No.:               Reporter Citation: (i.e., F.3d or Fed. App.)


 ADDENDUM "A": COUNSEL MUST ATTACH TO THIS FORM: (1) A BRIEF, BUT NOT PERFUNCTORY, DESCRIPTION OF THE
  NATURE OF THE ACTION; (2) THE RESULT BELOW; (3) A COPY OF THE NOTICE OF APPEAL AND A CURRENT COPY OF
 THE LOWER COURT DOCKET SHEET; AND (4) A COPY OF ALL RELEVANT OPINIONS/ORDERS FORMING THE BASIS FOR
         THIS APPEAL, INCLUDING TRANSCRIPTS OF ORDERS ISSUED FROM THE BENCH OR IN CHAMBERS.

 ADDENDUM "B": COUNSEL MUST ATTACH TO THIS FORM A LIST OF THE ISSUES PROPOSED TO BE RAISED ON APPEAL,
         AS WELL AS THE APPLICABLE APPELLATE STANDARD OF REVIEW FOR EACH PROPOSED ISSUE.

                                                                  PART A: JURISDICTION

                     1. Federal Jurisdiction                                                   2. Appellate Jurisdiction

          U.S. a party                  Diversity                       ✓ Final Decision                         Order Certified by District Judge (i.e.,
                                                                                                                 Fed. R. Civ. P. 54(b))
     ✓   Federal question                  Other (specify):                 Interlocutory Decision
         (U.S. not a party)                                                 Appealable As of Right               Other (specify):



                              IMPORTANT. COMPLETE AND SIGN REVERSE SIDE OF THIS FORM.
                                    Case 23-855, Document 20, 06/27/2023, 3534205, Page2 of 86
                                        PARTB: DISTRICT COURT DISPOSITION                               (Check as many as apply)


 1. Stage of Proceedings                            2. Type of Judgment/Order Appealed                                                      3. -
                                                                                                                                               Relief
                                                                                                                                                  -
   Pre-trial                        Default judgment                      Dismissal/other jurisdiction              ✓ Jamages:                                  Injunctions:
                                -
   During trial                     Dismissal/FRCP 12(b)(l)               Dismissal/merit
 ✓ After trial                      lack of subj. matter juris.           Judgment / Decision of the Court           -      Sought:$ _ _ _                      Preliminary
                                    Dismissal/FRCP 12(b)(6)             ✓ Summary judgment                                  Granted:$ - - -                     Permanent
                                    failure to state a claim              Declaratory judgment                              Denied: $ - - -                     Denied
                                    Dismissal/28 U.S.C. § 1915(e)(2)       Jury verdict
                                     frivolous complaint                  Judgment NOV
                                    Dismissal/28 U.S.C. § 1915(e)(2)      Directed verdict
                                     other dismissal                      Other (specify):


                                                       PART C: NATURE OF SUIT (Check as many as apply)

 1. Federal Statutes                                                                     2. Torts                    3. Contracts                4. Prisoner Petitions

    Antitrust                 Communications           Freedom of Information Act           Admiralty/                     Admiralty/                 Civil Rights
    Bankruptcy                Consumer Protection      Immigration                          Maritime                       Maritime                   Habeas Corpus
    Banks/Banking             Copyright □ Patent       Labor                                Assault/                       Arbitration                Mandamus
  ✓ Civil Rights              Trademark                OSHA                                 Defamation                     Commercial                 Parole
    Commerce,                 Election                 Securities                           FELA                           Employment                 Vacate Sentence
    Energy                    Soc. Security            Tax                                  Products Liability             Insurance                  Other
    Commodities               Environmental                                                 Other (Specify):               Negotiable
    Other (specify):                                                                                                     Jnstruments
                                                                                                                           Other Specify

 5. Other                                                     6. General                                             7. Will appeal raise constitutional issue(s)?
                                                                  Arbitration                                          ✓ Yes                  No
         Forfeiture/Penalty                                       Attorney Disqualification
    I    Real Property                                            Class Action                                            Will appeal raise a matter of first
    I    Treaty (specify):                                        Counsel Fees                                            impression?
    I     Other (specify):                                         Shareholder Derivative
                                                                  Transfer                                                    Yes            ✓   No



 1. Is any matter relative to this appeal still pending below?             Yes, specify:                                                           ✓ No

 2. To your knowledge, is there any case presently pending or about to be brought before this Court or another court or administrative agency
    which:
        (A) Arises from substantially the same case or controversy as this appeal?                       Yes                 ✓ No

            (B)    Involves an issue that is substantially similar or related to an issue in this appeal?                   Yes                     ✓ No

 If yes, state whether        "A,"or      ·'B,"or    ,oth are applicable, and provide in the spaces below the following information on the other action(s):

 Case Name:                                             I   DocketNo.               I   Citation:                                 I   Court or Agency:


 Name of Appellant:




 Date:                                                       Signature of Counsel ofRecord: / /         R b R" k
           6/27/2023                                                                                s    o    1c ner

                                                                    NOTICE TO COUNSEL
Once you have fded your Notice of Appeal with the District Court or the Tax Court, you have only 14 days in which to complete the following
important steps:

  1. Complete this Civil Appeal Pre-Argument Statement (Form C); serve it upon all parties, and file it with the Clerk of the Second Circuit in
  accordance with LR 25 .1.
  2. File the Court of Appeals Transcript Information/Civil Appeal Form (Form D) with the Clerk of the Second Circuit in accordance with LR 25.1.
  3. Pay the$505 docketing fee to the United States District Court or the $500 docketing fee to the United States Tax Court unless you are authorized to
  prosecute the appeal without payment.

                PLEASE NOTE: IF YOU DO NOT COMPLY WITH THESE REQUIREMENTS WITIDN 14 DAYS, YOUR APPEAL WILL BE
                DISMISSED. SEE LOCAL RULE 12.1.
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                                         ADDENDUM A
                 (1) A BRIEF, BUT NOT PERFUNCTORY, DESCRIPTION
                           OF THE NATURE OF THE ACTION
Plaintiff Jesus Santiago (Appellee and Cross-Appellant) was illegally given to a term of post-

release supervision based on policies enacted and enforced by the Defendants Brian Fischer,

Anthony J. Annucci, and Terrence Tracy (Appellants and Cross-Appellees). These Defendants

had no authority to impose this term of post-release supervision, whatsoever, as confirmed in

Earley v. Murray, 451 F.3d 71 (2d Cir. 2006). Despite clear law, Defendants continued enforcing

illegal terms of post-release supervision, causing Plaintiff to be incarcerated twice. Plaintiff was

granted summary judgment in 2017 as to liability for his time incarcerated from June 12, 2007 to

February 6, 2008. Plaintiff was awarded a total of $850,000.00 at trial for this part of his claim.

But in the same opinion, the District Court dismissed the second part of his claim for a second

incarceration from September 14, 2010 to December 15, 2010. Plaintiff now appeals this narrow

part of the summary judgment decision.

                                   (2) THE RESULT BELOW
Defendants Brian Fischer, Anthony J. Annucci, and Terrence Tracy were granted summary

judgment dismissing Plaintiff Jesus Santiago’s claim for his second incarceration from

September 14, 2010 to December 15, 2010.
     Case 23-855, Document 20, 06/27/2023, 3534205, Page4 of 86




(3) A COPY OF THE NOTICE OF APPEAL AND A CURRENT COPY OF THE
                  LOWER COURT DOCKET SHEET
5/26/23, 1:26 PM            Case
                            Case23-814,
                                 23-855,Document
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                                                                                                                         APPEAL

                                              U.S. District Court
                                    Eastern District of New York (Brooklyn)
                             CIVIL DOCKET FOR CASE #: 1:12-cv-02137-KAM-ST


 Santiago v. Fischer et al                                                          Date Filed: 05/01/2012
 Assigned to: Judge Kiyo A. Matsumoto                                               Date Terminated: 11/30/2022
 Referred to: Magistrate Judge Steven Tiscione                                      Jury Demand: Plaintiff
 Cause: 42:1983 Civil Rights Act                                                    Nature of Suit: 440 Civil Rights: Other
                                                                                    Jurisdiction: Federal Question
 Plaintiff
 Jesus Santiago                                                       represented by Gabriel Estadella
                                                                                     Zarco Einhorn Salkowski & Brito
                                                                                     100 Southeast 2nd St., Suite 2700
                                                                                     Miami, FL 33131
                                                                                     (305) 374-5418
                                                                                     Fax: (305) 374-5428
                                                                                     Email: gestadella@zarcolaw.com
                                                                                     TERMINATED: 10/11/2017
                                                                                     LEAD ATTORNEY
                                                                                     PRO HAC VICE
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Robert Howard Rickner
                                                                                     Rickner PLLC
                                                                                     14 Wall Street
                                                                                     Suite 1603
                                                                                     New York, NY 10005
                                                                                     212-300-6506
                                                                                     Fax: 888-390-5401
                                                                                     Email: rob@ricknerpllc.com
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Joel Abbott Wertheimer
                                                                                     Wertheimer LLC
                                                                                     Wertheimer LLC
                                                                                     14 Wall Street, Suite 1603
                                                                                     10005
                                                                                     New York, NY 10005
                                                                                     646-720-1098
                                                                                     Email: joel@joelwertheimer.com
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Robert Laurence Greenberg
                                                                                     Robert L. Greenberg, P.C.
                                                                                     43 West 43rd Street #157
                                                                                     New York, NY 10036
                                                                                     212-644-0313
                                                                                     Fax: 646-328-4518
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                                                                                Email: rgreenberg@robertlgreenberg.com
                                                                                TERMINATED: 01/03/2020
                                                                                ATTORNEY TO BE NOTICED

                                                                                    Stephanie Panousieris
                                                                                    Rickner PLLC
                                                                                    14 Wall Street
                                                                                    Ste 1603
                                                                                    New York, NY 10005
                                                                                    212-300-6506
                                                                                    Email: stephanie@ricknerpllc.com
                                                                                    ATTORNEY TO BE NOTICED


 V.
 Defendant
 Andrew M. Cuomo
 individually and as Governor of the State of
 New York
 TERMINATED: 09/30/2017
 Defendant
 Superintendent Brian Fischer                                         represented by Michael J. Keane
 individually and as Commissioner of the                                             Office Of The Attorney General
 New York State Department of Corrections                                            State of New York
 and Community Supervision                                                           120 Broadway
                                                                                     New York, NY 10271
                                                                                     212-416-8550
                                                                                     Fax: 212-416-6075
                                                                                     Email: michael.keane@ag.ny.gov
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                    Barbara K. Hathaway
                                                                                    Attorney General's Office
                                                                                    State of New York
                                                                                    28 Liberty Street
                                                                                    New York, NY 10005
                                                                                    (212)416-8572
                                                                                    Fax: 212-416-6009
                                                                                    Email: barbara.hathaway@ag.ny.gov
                                                                                    ATTORNEY TO BE NOTICED

                                                                                    Rebecca A. Durden
                                                                                    NYS Office of The Attorney General
                                                                                    NY
                                                                                    28 Liberty Street
                                                                                    NEW YORK
                                                                                    New York, NY 10005
                                                                                    212-416-8653
                                                                                    Email: rebecca.durden@ag.ny.gov
                                                                                    ATTORNEY TO BE NOTICED


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 Defendant
 Andrea W. Evans                                                      represented by Michael J. Keane
 individually and as Chairwoman of the New                                           (See above for address)
 York State Board of Parole                                                          LEAD ATTORNEY
 TERMINATED: 09/30/2017                                                              ATTORNEY TO BE NOTICED

                                                                                  Barbara K. Hathaway
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED
 Defendant
 State of New York
 TERMINATED: 09/30/2017

 Defendant
 John Does 1-10
 DOCS Supervisory, Training, and Policy
 Personnel
 TERMINATED: 09/30/2017
 Defendant
 Anthony J. Annucci                                                   represented by Michael J. Keane
 individually and as Deputy Commissioner of                                          (See above for address)
 and Counsel to DOCS                                                                 LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                  Barbara K. Hathaway
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Rebecca A. Durden
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED
 Defendant
 Lucien J. Leclaire, Jr.                                              represented by Barbara K. Hathaway
 individually and as former acting                                                   (See above for address)
 Commissioner of DOCS                                                                ATTORNEY TO BE NOTICED
 TERMINATED: 09/30/2017
 Defendant
 Glenn S Goord                                                        represented by Barbara K. Hathaway
 individually and as former acting                                                   (See above for address)
 Commissioner of DOCS                                                                ATTORNEY TO BE NOTICED
 TERMINATED: 09/30/2017
 Defendant
 Anthony G. Ellis, II                                                 represented by Barbara K. Hathaway
 individually and as former Executive                                                (See above for address)
 Director of DOP                                                                     ATTORNEY TO BE NOTICED
 TERMINATED: 09/30/2017
 Defendant
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 George B. Alexander                                                  represented by Michael J. Keane
 individually and as former Chairman and                                             (See above for address)
 Chief Executive Officer of DOP;                                                     LEAD ATTORNEY
 TERMINATED: 09/30/2017                                                              ATTORNEY TO BE NOTICED

                                                                                  Barbara K. Hathaway
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

 Defendant
 Terrence X. Tracy                                                    represented by Michael J. Keane
 individually and as Chief Counsel to DOP                                            (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                  Rebecca A. Durden
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

 Defendant
 Kevin G Ludlow                                                       represented by Michael J. Keane
 individually and as DOP Commissioner                                                (See above for address)
 TERMINATED: 09/30/2017                                                              LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                  Barbara K. Hathaway
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

 Defendant
 Lisa Elovich                                                         represented by Michael J. Keane
 individually and as DOP Commissioner                                                (See above for address)
 TERMINATED: 09/30/2017                                                              LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

 Defendant
 Sally A. Thompson                                                    represented by Michael J. Keane
 individually and as DOP Commissioner                                                (See above for address)
 TERMINATED: 09/30/2017                                                              LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                  Barbara K. Hathaway
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

 Defendant
 Arroyo                                                               represented by Michael J. Keane
 individually and as DOP Area Supervisor                                             (See above for address)
 TERMINATED: 09/30/2017                                                              LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

 Defendant


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 William McCartney                                                    represented by Michael J. Keane
 individually and as DOP Area Supervisor                                             (See above for address)
 TERMINATED: 09/30/2017                                                              LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

 Defendant
 McKinney                                                             represented by Michael J. Keane
 individually and as DOP Area Supervisor                                             (See above for address)
 TERMINATED: 09/30/2017                                                              LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

 Defendant
 Fleischman                                                           represented by Michael J. Keane
 individually and as DOP Senior Parole                                               (See above for address)
 Officer                                                                             LEAD ATTORNEY
 TERMINATED: 09/30/2017                                                              ATTORNEY TO BE NOTICED

 Defendant
 Paredes                                                              represented by Michael J. Keane
 individually and as DOP Senior Parole                                               (See above for address)
 Officer                                                                             LEAD ATTORNEY
 TERMINATED: 09/30/2017                                                              ATTORNEY TO BE NOTICED

 Defendant
 Darryl Stevenson                                                     represented by Michael J. Keane
 individually and as DOP Senior Parole                                               (See above for address)
 Officer                                                                             LEAD ATTORNEY
 TERMINATED: 09/30/2017                                                              ATTORNEY TO BE NOTICED

 Defendant
 J Mason                                                              represented by Michael J. Keane
 individually and as DOP Parole Officer                                              (See above for address)
 TERMINATED: 09/30/2017                                                              LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED
 Defendant
 Cynthia Johnson                                                      represented by Michael J. Keane
 individually and as DOP Parole Officer                                              (See above for address)
 TERMINATED: 09/30/2017                                                              LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED
 Defendant
 P Alvarez                                                            represented by Michael J. Keane
 individually and as DOP Parole Officer                                              (See above for address)
 TERMINATED: 09/30/2017                                                              LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

 Defendant
 Richard Corrado
 individually and as DOP Parole Officer
 TERMINATED: 09/30/2017
 Defendant
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 Council                                                              represented by Michael J. Keane
 individually and as DOP Parole Officer                                              (See above for address)
 TERMINATED: 09/30/2017                                                              LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

 Defendant
 Zunno
 individually and as DOP Parole Officer
 TERMINATED: 09/30/2017

 Defendant
 John Does 11-20
 DOP Supervisory, Training, and Policy
 Personnel
 TERMINATED: 09/30/2017

 Defendant
 Robert J. Dennison                                                   represented by Michael J. Keane
 individually and as former Chairman                                                 (See above for address)
 ofDOP                                                                               LEAD ATTORNEY
 TERMINATED: 09/30/2017                                                              ATTORNEY TO BE NOTICED

                                                                                    Barbara K. Hathaway
                                                                                    (See above for address)
                                                                                    ATTORNEY TO BE NOTICED


  Date Filed             #      Docket Text
  05/01/2012              1 COMPLAINT against All Defendants Disclosure Statement on Civil Cover Sheet
                            completed -yes,, filed by Jesus Santiago. (Attachments: # 1 Civil Cover Sheet) (Bowens,
                            Priscilla) (Entered: 05/02/2012)
  05/01/2012                    FILING FEE: $ 350, receipt number 4653043188 (Bowens, Priscilla) (Entered:
                                05/02/2012)
  05/01/2012                    Summons Issued as to All Defendants. (Bowens, Priscilla) (Entered: 05/02/2012)
  05/01/2012              2 In accordance with Rule 73 of the Federal Rules of Civil Procedure and Local Rule 73.1,
                            the parties are notified that if all parties consent a United States magistrate judge of this
                            court is available to conduct all proceedings in this civil action (including a jury or
                            nonjury trial) and to order the entry of a final judgment. Attached to the Notice is a blank
                            copy of the consent form that should be filled out, signed and filed electronically only if
                            the parties wish to consent. The form may also be accessed at the following link:
                            http://www.uscourts.gov/uscourts/FormsAndFees/Forms/AO085.pdf. You may withhold
                            your consent without adverse substantive consequences. (Bowens, Priscilla) (Entered:
                            05/02/2012)
  05/20/2012              3 SUMMONS Returned Executed by Jesus Santiago. State of New York served on
                            5/7/2012, answer due 5/29/2012. (Estadella, Gabriel) (Entered: 05/20/2012)
  05/22/2012              4 SUMMONS Returned Executed by Jesus Santiago. Brian Fischer served on 5/14/2012,
                            answer due 6/4/2012. (Estadella, Gabriel) (Entered: 05/22/2012)
  05/22/2012              5 SUMMONS Returned Executed by Jesus Santiago. Andrea W. Evans served on
                            5/14/2012, answer due 6/4/2012. (Estadella, Gabriel) (Entered: 05/22/2012)
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  05/22/2012              6 Summons Returned Unexecuted by Jesus Santiago as to Andrew M. Cuomo. (Estadella,
                            Gabriel) (Entered: 05/22/2012)
  05/30/2012              7 Request for Certificate of Default by Jesus Santiago (Attachments: # 1 Affidavit in
                            Support, # 2 Proposed Order) (Estadella, Gabriel) (Entered: 05/30/2012)
  05/30/2012              8 Clerk's ENTRY OF DEFAULT It appearing from the docket maintained in this action that
                            Defendant State of New York has failed to appear or otherwise defend this action, the
                            default of Defendant State of New York is hereby noted pursuant to Rule 55a of the
                            Federal Rules of Civil Procedure. (Hamilton, Janet) (Entered: 05/30/2012)
  05/30/2012              9 First MOTION for Default Judgment as to defendant State of New York by Jesus
                            Santiago. (Attachments: # 1 Affidavit in Support, # 2 Exhibit, # 3 Certificate of Service)
                            (Estadella, Gabriel) (Entered: 05/30/2012)
  06/01/2012             10 NOTICE of Appearance by Michael J. Keane on behalf of Brian Fischer (notification
                            declined or already on case) (Keane, Michael) (Entered: 06/01/2012)
  06/02/2012             11 First MOTION for Extension of Time to File Answer or Response to Complaint by Brian
                            Fischer. (Keane, Michael) (Entered: 06/02/2012)
  06/04/2012             12 AMENDED COMPLAINT (FIRST) against All Defendants, filed by Jesus Santiago.
                            (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, #
                            6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, #
                            12 Exhibit L, # 13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit P, # 17
                            Exhibit Q, # 18 Exhibit R, # 19 Exhibit S, # 20 Exhibit T) (Estadella, Gabriel) (Entered:
                            06/04/2012)
  06/14/2012                   ORDER. In light of defendant Brian Fischer's letter dated 06/01/12 11 and the Amended
                               Complaint filed on 06/04/12 12 , which does not name the State of New York as a
                               defendant, the parties shall work together to resolve plaintiff's pending motion for default
                               judgment 9 and defendant Fischer's request for a pre-motion conference 11 . By 07/09/12,
                               the parties shall advise the court whether the motion for default judgment may be
                               dismissed or withdrawn and whether a pre-motion conference is still necessary. Ordered
                               by Judge Kiyo A. Matsumoto on 06/14/2012. (Ravi, Sagar) (Entered: 06/14/2012)
  06/15/2012             13 MOTION to Withdraw 9 First MOTION for Default Judgment as to defendant State of
                            New York by Jesus Santiago. (Estadella, Gabriel) (Entered: 06/15/2012)
  06/18/2012                   ORDER withdrawing Motion for Default Judgment 9 ; finding as moot Motion for
                               Extension of Time to Answer 11 ; and granting Motion to Withdraw 13 . On the basis of
                               plaintiff's motion dated 06/15/12 13 to withdraw his motion for default judgment filed on
                               05/30/12 as to defendant State of New York 9 , the motion to withdraw is granted.
                               Additionally, in light of the filing of an amended complaint on 06/04/12 12 , defendant
                               Brian Fischer's request dated 06/02/12 11 for additional time to file a response to the
                               complaint is moot. By 07/09/12, the parties shall advise the court whether any party
                               intends to make a dispositive motion and whether a pre-motion conference is still
                               necessary. Ordered by Judge Kiyo A. Matsumoto on 06/18/2012. (Ravi, Sagar) (Entered:
                               06/18/2012)
  06/25/2012             14 Amended Summons Issued as to George B. Alexander, P Alvarez, Anthony J. Annucci,
                            Arroyo, Richard Corrado, Council, Robert J. Dennison, Anthony G. Ellis, II, Lisa
                            Elovich, Fleischman, Glenn S Goord, Cynthia Johnson, Lucien J. Leclaire, Jr, Kevin G
                            Ludlow, J Mason, William McCartney, McKinney, Paredes, Darryl Stevenson, Sally A.
                            Thompson, Terrence X. Tracy, Zunno. (Marziliano, August) (Entered: 06/25/2012)
  06/26/2012             15 WAIVER OF SERVICE Returned Executed by Jesus Santiago. George B. Alexander
                            waiver sent on 6/6/2012, answer due 8/6/2012. (Estadella, Gabriel) (Entered: 06/26/2012)
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  06/26/2012             16 WAIVER OF SERVICE Returned Executed by Jesus Santiago. P Alvarez waiver sent on
                            6/6/2012, answer due 8/6/2012. (Estadella, Gabriel) (Entered: 06/26/2012)
  06/26/2012             17 WAIVER OF SERVICE Returned Executed by Jesus Santiago. Council waiver sent on
                            6/6/2012, answer due 8/6/2012. (Estadella, Gabriel) (Entered: 06/26/2012)
  06/26/2012             18 WAIVER OF SERVICE Returned Executed by Jesus Santiago. Robert J. Dennison
                            waiver sent on 6/6/2012, answer due 8/6/2012. (Estadella, Gabriel) (Entered: 06/26/2012)
  06/26/2012             19 WAIVER OF SERVICE Returned Executed by Jesus Santiago. Lisa Elovich waiver sent
                            on 6/6/2012, answer due 8/6/2012. (Estadella, Gabriel) (Entered: 06/26/2012)
  06/26/2012             20 WAIVER OF SERVICE Returned Executed by Jesus Santiago. Fleischman waiver sent
                            on 6/6/2012, answer due 8/6/2012. (Estadella, Gabriel) (Entered: 06/26/2012)
  06/26/2012             21 WAIVER OF SERVICE Returned Executed by Jesus Santiago. Cynthia Johnson waiver
                            sent on 6/6/2012, answer due 8/6/2012. (Estadella, Gabriel) (Entered: 06/26/2012)
  06/26/2012             22 WAIVER OF SERVICE Returned Executed by Jesus Santiago. Kevin G Ludlow waiver
                            sent on 6/6/2012, answer due 8/6/2012. (Estadella, Gabriel) (Entered: 06/26/2012)
  06/26/2012             23 WAIVER OF SERVICE Returned Executed by Jesus Santiago. J Mason waiver sent on
                            6/6/2012, answer due 8/6/2012. (Estadella, Gabriel) (Entered: 06/26/2012)
  06/26/2012             24 WAIVER OF SERVICE Returned Executed by Jesus Santiago. Darryl Stevenson waiver
                            sent on 6/6/2012, answer due 8/6/2012. (Estadella, Gabriel) (Entered: 06/26/2012)
  06/26/2012             25 WAIVER OF SERVICE Returned Executed by Jesus Santiago. Sally A. Thompson
                            waiver sent on 6/6/2012, answer due 8/6/2012. (Estadella, Gabriel) (Entered: 06/26/2012)
  06/26/2012             26 WAIVER OF SERVICE Returned Executed by Jesus Santiago. Terrence X. Tracy waiver
                            sent on 6/6/2012, answer due 8/6/2012. (Estadella, Gabriel) (Entered: 06/26/2012)
  06/28/2012             27 WAIVER OF SERVICE Returned Executed by Jesus Santiago. McKinney waiver sent on
                            6/6/2012, answer due 8/6/2012. (Estadella, Gabriel) (Entered: 06/28/2012)
  06/28/2012             28 WAIVER OF SERVICE Returned Executed by Jesus Santiago. William McCartney
                            waiver sent on 6/6/2012, answer due 8/6/2012. (Estadella, Gabriel) (Entered: 06/28/2012)
  07/09/2012             29 First MOTION for pre motion conference for dispositive relief by Jesus Santiago.
                            (Estadella, Gabriel) (Entered: 07/09/2012)
  07/09/2012                   ORDER re: Plaintiff's Motion Requesting a Pre-motion Conference 29 . In accordance
                               with the Section IV(B)(1) of the court's Chambers Practices, by 7/13/2012, defendants
                               shall respond to plaintiff's letter dated 7/9/2012 requesting a pre-motion conference 29 .
                               Ordered by Judge Kiyo A. Matsumoto on 7/9/2012. (Kelley, Jamuna) (Entered:
                               07/09/2012)
  07/09/2012             30 NOTICE of Appearance by Michael J. Keane on behalf of George B. Alexander, P
                            Alvarez, Arroyo, Council, Robert J. Dennison, Lisa Elovich, Andrea W. Evans, Brian
                            Fischer, Fleischman, Cynthia Johnson, Kevin G Ludlow, J Mason, William McCartney,
                            McKinney, Paredes, Darryl Stevenson, Sally A. Thompson, Terrence X. Tracy (aty to be
                            noticed) (Keane, Michael) (Entered: 07/09/2012)
  07/09/2012             31 Second MOTION for pre motion conference by George B. Alexander, P Alvarez, Arroyo,
                            Council, Robert J. Dennison, Lisa Elovich, Andrea W. Evans, Brian Fischer, Fleischman,
                            Cynthia Johnson, Kevin G Ludlow, J Mason, William McCartney, McKinney, Paredes,
                            Darryl Stevenson, Sally A. Thompson, Terrence X. Tracy. (Keane, Michael) (Entered:
                            07/09/2012)

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  07/13/2012             32 REPLY in Opposition to plaintiff's proposed motion filed by George B. Alexander, P
                            Alvarez, Arroyo, Council, Robert J. Dennison, Lisa Elovich, Andrea W. Evans, Brian
                            Fischer, Fleischman, Cynthia Johnson, Kevin G Ludlow, J Mason, William McCartney,
                            McKinney, Paredes, Darryl Stevenson, Sally A. Thompson, Terrence X. Tracy. (Keane,
                            Michael) (Entered: 07/13/2012)
  07/13/2012             33 REPLY in Opposition re 31 Second MOTION for pre motion conference filed by Jesus
                            Santiago. (Estadella, Gabriel) (Entered: 07/13/2012)
  07/17/2012             34 WAIVER OF SERVICE Returned Executed by Jesus Santiago. Zunno waiver sent on
                            6/6/2012, answer due 8/6/2012. (Estadella, Gabriel) (Entered: 07/17/2012)
  07/17/2012                   ORDER granting Motions for Pre-Motion Conference 29 31 . On 08/03/12 at 3:00 PM,
                               the parties are directed to participate in a telephonic pre-motion conference regarding
                               their proposed motions. Defendants shall initiate the call with plaintiff and then call the
                               court at (718) 613-2180 when all parties are on the line. Ordered by Judge Kiyo A.
                               Matsumoto on 07/17/2012. (Ravi, Sagar) (Entered: 07/17/2012)
  08/03/2012                   Minute Entry for proceedings held before Judge Kiyo A. Matsumoto: Pre-Motion
                               Conference held on 08/03/2012. Appearances: Gabriel Estadella, Esq. for plaintiff;
                               Michael Keane, Esq. for defendants. By 08/10/12, plaintiff shall file a letter via ECF
                               advising the court whether he is available to prosecute this case, including providing
                               discovery and being available for a deposition, if the court decides not to grant
                               defendants' request for a stay. By 08/17/12, the parties shall confer and file a joint status
                               letter advising the court how they wish to proceed with this case. Ordered by Judge Kiyo
                               A. Matsumoto on 08/03/12. (Ravi, Sagar) (Entered: 08/03/2012)
  08/06/2012             35 Letter Regarding Alleged Fugitive Status by Jesus Santiago (Estadella, Gabriel) (Entered:
                            08/06/2012)
  08/17/2012             36 STATUS REPORT Jointly, Defendants and Plaintiff by George B. Alexander, P Alvarez,
                            Anthony J. Annucci, Arroyo, Richard Corrado, Council, Andrew M. Cuomo, Robert J.
                            Dennison, Anthony G. Ellis, II, Lisa Elovich, Andrea W. Evans, Brian Fischer,
                            Fleischman, Glenn S Goord, Cynthia Johnson, Lucien J. Leclaire, Jr, Kevin G Ludlow, J
                            Mason, William McCartney, McKinney, Paredes, State of New York, Darryl Stevenson,
                            Sally A. Thompson, Terrence X. Tracy, Zunno (Keane, Michael) (Entered: 08/17/2012)
  08/20/2012                   ORDER STAYING CASE for Appeal Proceeding. In light of the parties' joint status
                               report dated 08/17/12 36 , this case is stayed during the pendency of the Second Circuit
                               appeal in Betances v. Fischer (No. 12-704), which has been consolidated with Bentley v.
                               Dennison (No. 12-741). The parties shall immediately notify the court of any decision
                               from the Second Circuit in those appeals or of any other relevant decision that may be
                               issued. Ordered by Judge Kiyo A. Matsumoto on 08/20/2012. (Ravi, Sagar) (Entered:
                               08/20/2012)
  09/18/2013             37 Letter re Stay/Appeals by Jesus Santiago (Estadella, Gabriel) (Entered: 09/18/2013)
  09/19/2013                   STATUS REPORT ORDER: Upon review of status letter 37 , counsel is hereby directed
                               to file a further status report upon adjudication of the petition for rehearing en banc by the
                               Second Circuit Court of Appeals. Ordered by Judge Kiyo A. Matsumoto on 9/19/2013.
                               (Beauchamp, Peter) (Entered: 09/19/2013)
  08/13/2014             38 NOTICE of Appearance by Robert Laurence Greenberg on behalf of All Plaintiffs (aty to
                            be noticed) (Greenberg, Robert) (Entered: 08/13/2014)
  08/13/2014             39 Letter MOTION to Vacate Stay by Jesus Santiago. (Greenberg, Robert) (Entered:
                            08/13/2014)

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  09/11/2014                   ORDER granting 39 Motion to Vacate Stay; ORDER LIFTING STAY. In light of the
                               Second Circuit's decisions, the stay of this case is lifted. The parties are ordered to confer
                               and provide the court with a status report regarding how they intend to proceed by
                               September 18, 2014. Ordered by Judge Kiyo A. Matsumoto on 9/11/2014. (Keefe, Reed)
                               (Entered: 09/11/2014)
  09/18/2014             40 STATUS REPORT Pursuant to 9/11 Order by George B. Alexander, P Alvarez, Arroyo,
                            Council, Robert J. Dennison, Lisa Elovich, Andrea W. Evans, Fleischman, Cynthia
                            Johnson, Kevin G Ludlow, J Mason, William McCartney, McKinney, Paredes, Darryl
                            Stevenson, Sally A. Thompson, Terrence X. Tracy (Keane, Michael) (Entered:
                            09/18/2014)
  09/19/2014                   STATUS REPORT ORDER Status Report due by 10/3/2014. By October 3, the parties
                               should submit an additional status report regarding whether they will seek a pre-motion
                               conference and whether they anticipate requesting an additional stay of the case. Ordered
                               by Judge Kiyo A. Matsumoto on 9/19/2014. (Keefe, Reed) (Entered: 09/19/2014)
  10/03/2014             41 STATUS REPORT by Brian Fischer (Keane, Michael) (Entered: 10/03/2014)
  10/06/2014                   Order granting Defendant's Motion Requesting a Pre-motion Conference 41 . On
                               10/28/2014 at 1:30PM, the parties are directed to participate in a telephonic pre-motion
                               conference regarding Defendants' proposed motions and Plaintiff's discovery request.
                               Defendants shall initiate the call with plaintiff and then call the court at (718) 613-2180
                               when all parties are on the line. Plaintiff shall file a letter via ECF advising the court as to
                               the nature and basis for the discovery requested by 10/21/2014. Any response from
                               Defendants must be filed by 10/24/14. Defendants shall file a letter via ECF setting the
                               basis for their motion and a proposed briefing schedule by 10/21/2014, and any response
                               from Plaintiff must be filed by 10/24/14. Ordered by Judge Kiyo A. Matsumoto on
                               10/6/2014. (Gong, LiJia) (Entered: 10/06/2014)
  10/22/2014             42 Letter by Anthony J. Annucci (Keane, Michael) (Entered: 10/22/2014)
  10/24/2014                   SCHEDULING ORDER: Due to a conflict on the court's calendar, the telephonic
                               conference set for Tuesday, October 28, 2014 at 1:30 p.m. is rescheduled for Tuesday,
                               October 28, 2014 at 2:30 p.m. Ordered by Judge Kiyo A. Matsumoto on 10/24/2014.
                               (Gong, LiJia) (Entered: 10/24/2014)
  10/28/2014             43 STATUS REPORT re: discovery by Anthony J. Annucci (Attachments: # 1 Exhibit)
                            (Keane, Michael) (Entered: 10/28/2014)
  10/28/2014                   SCHEDULING ORDER: At the joint request of the parties, a status conference is set for
                               11/10/2014 at 9:30 a.m. (by tel.) to discuss discovery. Ordered by Magistrate Judge
                               Marilyn D. Go on 10/28/2014. (Moo-Young, Jillian) (Entered: 10/28/2014)
  10/28/2014                   Minute Entry for proceedings held before Judge Kiyo A. Matsumoto:Pre Motion
                               Conference held on 10/28/2014. In light of questions about the involvement of certain
                               defendants and the extent to which the defendant was in DOCCS custody during his post-
                               release supervision, the court refers the case to Magistrate Judge Marilyn D. Go for
                               supervision of limited discovery on the foregoing issues. Within three weeks of the
                               conclusion of this limited discovery, the plaintiff may file an amended complaint. Within
                               two weeks of the plaintiff's submission the amended complaint, the parties shall submit
                               letters requesting pre-motion conferences, to the extent they intend to engage in motion
                               practice at that time. (Gong, LiJia) (Entered: 10/28/2014)
  10/28/2014                   SCHEDULING ORDER: A telephone conference is set for 10/31/2014 at 12:00 p.m.
                               before Magistrate Judge Marilyn D. Go. Ordered by Magistrate Judge Marilyn D. Go on
                               10/28/2014. (Hugh, Lewis) (Entered: 10/28/2014)

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  10/29/2014                   SCHEDULING ORDER: at the parties' request, the telephone conference set for
                               10/31/14 is adjourned to 11/6/14 at 10:00 a.m. The conference previously scheduled for
                               11/10/14 is canceled. Ordered by Magistrate Judge Marilyn D. Go on 10/29/2014.
                               (Proujansky, Josh) (Entered: 10/29/2014)
  10/29/2014             44 MOTION to Disqualify Counsel /Retain Counsel of Choice by Jesus Santiago. (Brucella,
                            Michelle) (Entered: 10/29/2014)
  10/29/2014                   SCHEDULING ORDER: Any response by plaintiff's counsel to the 44 motion must be
                               filed by 11/3/2014. Ordered by Magistrate Judge Marilyn D. Go on 10/29/2014. (Moo-
                               Young, Jillian) (Entered: 10/29/2014)
  11/03/2014             45 RESPONSE to Motion re 44 MOTION to Disqualify Counsel /Retain Counsel of Choice
                            filed by All Plaintiffs. (Greenberg, Robert) (Entered: 11/03/2014)
  11/06/2014                   Minute Entry for Status Conference held on 11/6/2014 before Magistrate Judge Marilyn
                               D. Go: Appearances by R. Greenberg for plaintiff; M. Keane, A. Melnitzky for
                               defendants. After discussions, court ordered discovery to be completed by 1/16/15.
                               Parties must make best efforts to respond to discovery requests in fewer than 30 days.
                               FTR/c: 12:11-12:25 (Hugh, Lewis) (Entered: 11/07/2014)
  12/09/2014             46 REPLY to Response to Motion re 44 MOTION to Disqualify Counsel /Retain Counsel of
                            Choice filed by All Plaintiffs. (Greenberg, Robert) (Entered: 12/09/2014)
  12/12/2014             47 RESPONSE to Motion re 44 MOTION to Disqualify Counsel /Retain Counsel of Choice
                            filed by All Plaintiffs. (Greenberg, Robert) (Entered: 12/12/2014)
  12/23/2014                   ORDER withdrawing 44 Motion to Disqualify Counsel in light of letter filed by plaintiff's
                               counsel 47 on 12/12/2014. Ordered by Magistrate Judge Marilyn D. Go on 12/23/2014.
                               (Go, Marilyn) (Entered: 12/23/2014)
  12/23/2014                   SCHEDULING ORDER: A telephone status conference is set for 1/21/2015 at 09:30 AM
                               before Magistrate Judge Marilyn D. Go. Ordered by Magistrate Judge Marilyn D. Go on
                               12/23/2014. (Hugh, Lewis) (Entered: 12/23/2014)
  12/30/2014             48 TRANSCRIPT of Proceedings held on November 6, 2014, before Judge Go. Court
                            Transcriber ARIA SERVICES, INC, Telephone number 845-260-1377. Transcript may be
                            viewed at the court public terminal or purchased through the Court Transcriber before the
                            deadline for Release of Transcript Restriction. After that date it may be obtained through
                            PACER.File redaction request using event "Redaction Request - Transcript" located under
                            "Other Filings - Other Documents". Redaction Request due 1/20/2015. Redacted
                            Transcript Deadline set for 1/30/2015. Release of Transcript Restriction set for 3/30/2015.
                            (Rocco, Christine) (Entered: 12/30/2014)
  01/16/2015             49 Letter to Augusta Correctional, Copied to Court by Jesus Santiago (Greenberg, Robert)
                            (Entered: 01/16/2015)
  01/21/2015                   Minute Entry for Status Conference held on 1/21/2015 before Magistrate Judge Marilyn
                               D. Go: Appearances by R. Greenberg for plaintiff; M. Keane, A. Melnitzky for
                               defendants. Discovery is extended to 2/17/2015 to give the parties additional to obtain
                               records from Virginia regarding plaintiff's custody. Next conference scheduled for
                               2/17/2015 at 4:30 p.m. (by tel.) FTR: 9:35-9:44 (Hugh, Lewis) (Entered: 01/22/2015)
  02/17/2015                   Minute Entry for Status Conference held on 2/17/2015 before Magistrate Judge Marilyn
                               D. Go: Appearances by R. Greenberg for plaintiff; M. Keane for defendants. Discovery is
                               extended to 3/6/15. Defendants must provide plaintiff by 3/6/15 with a time computation
                               analysis when plaintiff was in custody or under supervision during the relevant time


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                             period. Next conference scheduled for 3/10/2015 at 2:00 p.m. (by tel.) (Hugh, Lewis)
                             (Entered: 02/18/2015)
  03/07/2015             50 STATUS REPORT re: Timeline of Events by George B. Alexander, P Alvarez, Arroyo,
                            Council, Robert J. Dennison, Lisa Elovich, Fleischman, Cynthia Johnson, Kevin G
                            Ludlow, J Mason, William McCartney, McKinney, Paredes, Darryl Stevenson, Sally A.
                            Thompson, Terrence X. Tracy (Keane, Michael) (Entered: 03/07/2015)
  03/10/2015                   Minute Entry for Status Conference held on 3/10/2015 before Magistrate Judge Marilyn
                               D. Go: Appearances by telephone by R. Greenberg for plaintiff: M. Keane for defendants.
                               By 3/17/2015, the parties must exchange the documents they have obtained during the
                               period of limited discovery herein, and any documents relevant to the claims in this
                               action and the chronology filed. All documents produced, except for those publicly
                               available, shall be subject to a blanket protective order set forth in a separate order, which
                               may be modified upon request of the parties. Next conference will be held on 3/24/2015
                               at 10:00 a.m. (by tel.). FTR/c: 2:13-2:36 (Hugh, Lewis) Modified on 3/11/2015 (Hugh,
                               Lewis) (Entered: 03/11/2015)
  03/19/2015                   PROTECTIVE ORDER: To facilitate and expedite discovery in this action, this Court
                               ordered at a conference on March 3, 2015 that counsel for the parties must maintain the
                               confidentiality of all documents produced in this action and may not disclose them to
                               others, including clients, absent agreement of the other side or court order. However, this
                               protective order does not limit the use and disclosure of any documents produced by the
                               defendants in the regular course of business or which are publicly available, such as court
                               docket sheets and publicly filed court documents. Ordered by Magistrate Judge Marilyn
                               D. Go on 3/19/2015. (Moo-Young, Jillian) (Entered: 03/19/2015)
  03/24/2015                   Minute Entry for Status Conference held on 3/24/2015 before Magistrate Judge Marilyn
                               D. Go: Appearances by R. Greenberg for plaintiff; M. Keane for defendants. Defense
                               counsel advises that defendants will belatedly produce the remaining documents by the
                               afternoon. The parties must confer about the completeness of the production and how
                               they wish to proceed defendants' contemplated motion. Next conference scheduled for
                               3/30/2015 at 2:00 p.m. (by tel.) FTR/C: 10:24-10:37 (Hugh, Lewis) (Entered:
                               03/25/2015)
  03/26/2015             51 Letter to Sussex I State Prison by Jesus Santiago (Attachments: # 1 Appendix)
                            (Greenberg, Robert) (Entered: 03/26/2015)
  03/30/2015                   Minute Entry for Status Conference held on 3/30/2015 before Magistrate Judge Marilyn
                               D. Go: Appearances by R. Greenberg for plaintiff; M. Keane for defendants. Counsel
                               both state that the parties have sufficient facts to proceed to have liability issues
                               determined by summary judgment. Plaintiff's counsel advises that he does not intend to
                               amend the complaint. The following schedule is set, as directed by Judge Matsumoto at a
                               conference on 10/28/15: any party seeking to move for summary judgment must file a
                               letter requesting a pre-motion conference by 4/3/15 and any response must be filed by
                               4/10/15. FTR/C: 2:23-2:33 (Hugh, Lewis) (Entered: 03/31/2015)
  04/03/2015             52 Third MOTION for pre motion conference for dispositive relief by Jesus Santiago.
                            (Greenberg, Robert) (Entered: 04/03/2015)
  04/15/2015                   ORDER granting 52 Motion for Pre Motion Conference. A telephonic pre-motion
                               conference is set for 4/20/2015 at 03:00 PM before Judge Kiyo A. Matsumoto in this
                               matter. Plaintiff shall arrange the call and call into chambers when all parties are on the
                               line (718-613-2180). Ordered by Judge Kiyo A. Matsumoto on 4/15/2015. (Gong, LiJia)
                               (Entered: 04/15/2015)



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  04/20/2015             53 NOTICE of Consent to Change Attorney by Robert Laurence Greenberg (Greenberg,
                            Robert) (Entered: 04/20/2015)
  04/20/2015                   Minute Entry for proceedings held before Judge Kiyo A. Matsumoto:Pre Motion
                               Conference held on 4/20/2015. Appearances: Robert Greenberg for plaintiff; Michael
                               Keane for defendants. The following briefing schedule was adopted for the parties' cross
                               motions for summary judgment. The parties' opening briefs shall be served on May 22,
                               2015; the oppositions shall be served on June 22, 2015; and the replies are due on July
                               15, 2015. The fully-briefed motions shall be filed on July 15, 2015. The parties are
                               requested to deliver two courtesy copies to chambers on July 15, 2015. (Gong, LiJia)
                               (Entered: 04/20/2015)
  05/20/2015             54 MOTION for Extension of Time to File and serve motions of defendants and plaintiffs for
                            summary judgment by George B. Alexander, P Alvarez, Arroyo, Robert J. Dennison, Lisa
                            Elovich, Andrea W. Evans, Brian Fischer, Fleischman, Cynthia Johnson, Kevin G
                            Ludlow, J Mason, William McCartney, McKinney, Paredes, Darryl Stevenson, Sally A.
                            Thompson, Terrence X. Tracy. (Keane, Michael) (Entered: 05/20/2015)
  05/20/2015                   ORDER granting 54 Motion for Extension of Time to File. Parties' opening briefs shall
                               be served (not filed) by May 29, 2015. Ordered by Judge Kiyo A. Matsumoto on
                               5/20/2015. (Gong, LiJia) (Entered: 05/20/2015)
  05/28/2015             55 Second MOTION for Extension of Time to File Defendants' Summary Judgment Motion
                            by Brian Fischer. (Keane, Michael) (Entered: 05/28/2015)
  05/28/2015                   ORDER granting 55 Motion for Extension of Time to File. The parties shall serve their
                               summary judgment motions on their adversaries on June 5, 2015. The remainder of the
                               briefing schedule previously ordered by the court remains in effect. Ordered by Judge
                               Kiyo A. Matsumoto on 5/28/2015. (Alagesan, Deepa) (Entered: 05/28/2015)
  06/01/2015             56 ORDER re 53 Notice of Consent to Change Attorney: The substitution of attorney is
                            hereby approved and So Ordered. Ordered by Judge Kiyo A. Matsumoto on 5/28/2015.
                            (Brucella, Michelle) (Entered: 06/01/2015)
  06/22/2015             57 MOTION for Extension of Time to File Response/Reply by George B. Alexander, P
                            Alvarez, Arroyo, Council, Robert J. Dennison, Lisa Elovich, Andrea W. Evans, Brian
                            Fischer, Fleischman, Cynthia Johnson, Kevin G Ludlow, J Mason, William McCartney,
                            McKinney, Paredes, Darryl Stevenson, Sally A. Thompson, Terrence X. Tracy. (Keane,
                            Michael) (Entered: 06/22/2015)
  06/22/2015                   ORDER granting 57 Motion for Extension of Time to File Response/Reply. Oppositions
                               shall be served by 7/8/2015 Replies shall be served by 7/15/2015. Fully-briefed motions
                               shall be filed by 7/15/2015. Ordered by Judge Kiyo A. Matsumoto on 6/22/2015. (Gong,
                               LiJia) (Entered: 06/22/2015)
  07/14/2015             58 MOTION for Extension of Time to File Response/Reply by George B. Alexander, P
                            Alvarez, Arroyo, Council, Robert J. Dennison, Lisa Elovich, Andrea W. Evans, Brian
                            Fischer, Fleischman, Cynthia Johnson, Kevin G Ludlow, J Mason, William McCartney,
                            McKinney, Paredes, Darryl Stevenson, Sally A. Thompson, Terrence X. Tracy. (Keane,
                            Michael) (Entered: 07/14/2015)
  07/14/2015                   ORDER granting 58 Motion for Extension of Time to File Response/Reply. The parties
                               shall serve their replies and file the fully-briefed motions on July 27, 2015. The court is
                               unlikely to grant further extensions absent extraordinary circumstances. Furthermore, the
                               parties are reminded that, in accordance with the undersigned's chambers practices, any
                               request for an extension of time must be filed at least two business days before the


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                             relevant deadline. Ordered by Judge Kiyo A. Matsumoto on 7/14/2015. (Alagesan,
                             Deepa) (Entered: 07/14/2015)
  07/27/2015             59 Fully Briefed MOTION for Partial Summary Judgment by Jesus Santiago. Responses due
                            by 7/27/2015 (Attachments: # 1 Notice of Motion Plaintiff's Notice of Motion for Partial
                            Summary Judgment, # 2 Rule 56.1 Statement Plaintiff's Statement of Material Facts, # 3
                            Memorandum in Support Plaintiff's Memorandum of Law in Support of Plaintiff's Motion
                            for Partial Summary Judgment, # 4 Exhibit Exhibit A to Plaintiff's Memorandum of Law
                            in Support of Motion for Partial Summary Judgment, # 5 Exhibit Exhibit B to Plaintiff's
                            Memorandum of Law in Support of Motion for Partial Summary Judgment, # 6 Exhibit
                            Exhibit C to Plaintiff's Memorandum of Law in Support of Motion for Partial Summary
                            Judgment, # 7 Certificate of Service Certificate of Service for Plaintiff's Motion for
                            Partial Summary Judgment, # 8 Rule 56.1 Statement Defendant's Counter-Statement of
                            Material Facts, # 9 Memorandum in Opposition Defendants' Memorandum of Law in
                            Opposition to Plaintiff's Motion for Partial Summary Judgment, # 10 Memorandum in
                            Support Plaintiff's Response Memorandum of Law in Support of Motion for Partial
                            Summary Judgment, # 11 Certificate of Service Certificate of Service for Plaintiff's
                            Response Memorandum) (Greenberg, Robert) (Entered: 07/27/2015)
  07/27/2015             60 MOTION for Summary Judgment by George B. Alexander, P Alvarez, Anthony J.
                            Annucci, Arroyo, Council, Robert J. Dennison, Lisa Elovich, Andrea W. Evans, Brian
                            Fischer, Fleischman, Cynthia Johnson, Kevin G Ludlow, J Mason, William McCartney,
                            McKinney, Paredes, Darryl Stevenson, Sally A. Thompson, Terrence X. Tracy. (Keane,
                            Michael) (Entered: 07/27/2015)
  07/27/2015             61 MEMORANDUM in Support Defendants'of Summary Judgment Motion filed by George
                            B. Alexander, P Alvarez, Anthony J. Annucci, Arroyo, Council, Robert J. Dennison, Lisa
                            Elovich, Andrea W. Evans, Brian Fischer, Fleischman, Cynthia Johnson, Kevin G
                            Ludlow, J Mason, William McCartney, McKinney, Paredes, Darryl Stevenson, Sally A.
                            Thompson, Terrence X. Tracy. (Keane, Michael) (Entered: 07/27/2015)
  07/27/2015             62 AFFIDAVIT/DECLARATION in Support re 60 MOTION for Summary Judgment filed
                            by George B. Alexander, P Alvarez, Anthony J. Annucci, Arroyo, Council, Robert J.
                            Dennison, Lisa Elovich, Andrea W. Evans, Brian Fischer, Fleischman, Cynthia Johnson,
                            Kevin G Ludlow, J Mason, William McCartney, McKinney, Paredes, Darryl Stevenson,
                            Sally A. Thompson, Terrence X. Tracy. (Attachments: # 1 Exhibit) (Keane, Michael)
                            (Entered: 07/27/2015)
  07/27/2015             63 AFFIDAVIT/DECLARATION in Support re 60 MOTION for Summary Judgment filed
                            by George B. Alexander, P Alvarez, Anthony J. Annucci, Arroyo, Council, Robert J.
                            Dennison, Lisa Elovich, Andrea W. Evans, Brian Fischer, Fleischman, Cynthia Johnson,
                            Kevin G Ludlow, J Mason, William McCartney, McKinney, Paredes, Darryl Stevenson,
                            Sally A. Thompson, Terrence X. Tracy. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                            Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G-1, # 8 Exhibit G-2, #
                            9 Exhibit G-3, # 10 Exhibit G-4, # 11 Exhibit H) (Keane, Michael) (Entered: 07/27/2015)
  07/27/2015             64 RULE 56.1 STATEMENT filed by George B. Alexander, P Alvarez, Anthony J. Annucci,
                            Arroyo, Council, Robert J. Dennison, Lisa Elovich, Andrea W. Evans, Brian Fischer,
                            Fleischman, Cynthia Johnson, Kevin G Ludlow, J Mason, William McCartney,
                            McKinney, Paredes, Darryl Stevenson, Sally A. Thompson, Terrence X. Tracy. (Keane,
                            Michael) (Entered: 07/27/2015)
  07/27/2015             65 MEMORANDUM in Opposition re 59 Fully Briefed MOTION for Partial Summary
                            Judgment filed by George B. Alexander, P Alvarez, Anthony J. Annucci, Arroyo, Council,
                            Robert J. Dennison, Lisa Elovich, Andrea W. Evans, Brian Fischer, Fleischman, Cynthia
                            Johnson, Kevin G Ludlow, J Mason, William McCartney, McKinney, Paredes, Darryl

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                             Stevenson, Sally A. Thompson, Terrence X. Tracy. (Keane, Michael) (Entered:
                             07/27/2015)
  07/27/2015             66 RULE 56.1 STATEMENT re 59 Fully Briefed MOTION for Partial Summary Judgment
                            filed by George B. Alexander, P Alvarez, Anthony J. Annucci, Council, Robert J.
                            Dennison, Lisa Elovich, Andrea W. Evans, Brian Fischer, Fleischman, Cynthia Johnson,
                            Kevin G Ludlow, J Mason, William McCartney, McKinney, Paredes, Darryl Stevenson,
                            Sally A. Thompson, Terrence X. Tracy. (Keane, Michael) (Entered: 07/27/2015)
  07/27/2015             67 REPLY in Support re 60 MOTION for Summary Judgment filed by George B. Alexander,
                            P Alvarez, Anthony J. Annucci, Council, Robert J. Dennison, Lisa Elovich, Andrea W.
                            Evans, Brian Fischer, Fleischman, Cynthia Johnson, Kevin G Ludlow, J Mason, William
                            McCartney, McKinney, Paredes, Darryl Stevenson, Sally A. Thompson, Terrence X.
                            Tracy. (Keane, Michael) (Entered: 07/27/2015)
  01/25/2016                   ORDER. Plaintiff is ordered to file a letter no later than January 27, 2016 indicating
                               whether plaintiff is a class member in any pending class actions, in particular 11-cv-3200
                               (S.D.N.Y.), and if not, whether he has opted out of the class. Ordered by Judge Kiyo A.
                               Matsumoto on 1/25/2016. (Gong, LiJia) (Entered: 01/25/2016)
  01/25/2016             68 Letter to Court in Response to Order of January 25, 2016 by Jesus Santiago
                            (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit) (Greenberg, Robert)
                            (Entered: 01/25/2016)
  01/25/2016                   SCHEDULING ORDER: The parties are ordered to appear for a telephonic status
                               conference on January 26, 2016 at 3:00 p.m. Counsel for defendants shall arrange the call
                               and call into chambers when all parties are on the line (718-613-2180). Ordered by Judge
                               Kiyo A. Matsumoto on 1/25/2016. (Gong, LiJia) (Entered: 01/25/2016)
  01/26/2016                   SCHEDULING ORDER: On request by both parties by telephone, a telephone
                               conference to discuss settlement is set for 3/10/2016 at 10:30 AM before Magistrate
                               Judge Marilyn D. Go. Ordered by Magistrate Judge Marilyn D. Go on 1/26/2016. (Hugh,
                               Lewis) (Entered: 01/26/2016)
  01/26/2016                   Minute Entry for proceedings held before Judge Kiyo A. Matsumoto:Status Conference
                               held on 1/26/2016. Appearances: Robert Greenberg for plaintiff; Michael Keane for
                               defendants. The court discussed with the parties the status of the pending cross motions
                               for summary judgment and whether plaintiff is a member of the class action in 11-cv-
                               3200 (S.D.N.Y.). The parties are ordered to file a joint status letter by February 10, 2016
                               providing (1) the status of settlement discussions; (2) whether any additional discovery is
                               required; and (3) whether the parties intend to withdraw their cross motions and whether
                               a stay pending the Second Circuit's decision in Betances v. Fischer is appropriate. (Gong,
                               LiJia) (Entered: 01/26/2016)
  02/10/2016             69 STATUS REPORT of Parties filed jointly by George B. Alexander, P Alvarez, Anthony J.
                            Annucci, Arroyo, Council, Robert J. Dennison, Lisa Elovich, Andrea W. Evans, Brian
                            Fischer, Fleischman, Cynthia Johnson, Kevin G Ludlow, J Mason, William McCartney,
                            McKinney, Paredes, Darryl Stevenson, Sally A. Thompson, Terrence X. Tracy (Keane,
                            Michael) (Entered: 02/10/2016)
  02/12/2016                   ORDER In light of the parties representation that settlement discussions are ongoing and
                               the pending appeal in Betances v. Fischer, 15-cv-2836 (S.D.N.Y.) will likely have direct
                               bearing on the disposition of the claims in the instant suit, the court stays proceedings at
                               this time and thereby terminates the parties motions for summary judgment without
                               prejudice to renew. See, e.g., In re Literary Works in Elec. Databases Copyright Litig.,
                               No. 00 CIV 6049, 2001 WL 204212, at *2 (S.D.N.Y. Mar. 1, 2001) (holding that a court
                               may properly exercise its power to stay proceedings when a higher court is close to

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                             settling an important issue of law bearing on the action) (citing Marshel v. AFW Fabric
                             Corp., 552 F.2d 471, 472 (2d Cir. 1977)); Schapp v. MasTec Services Co., Inc., 2013 WL
                             1296404, *6 (N.D.N.Y. Mar. 28, 2013) (staying proceedings sua sponte where two
                             pending appeals could render any decision obsolete); Jackson v. Van Kampen Series
                             Fund, Inc., 2007 WL 1532090, *2 (S.D. Ill. May 24, 2007) (staying proceedings sua
                             sponte pending the decisions of the Court of Appeals in related cases which would have a
                             significant effect on the ultimate disposition of the instant matter). The parties are ordered
                             to file a joint status letter no later than two weeks after the Second Circuit issues its
                             decision in the Betances appeal. Ordered by Judge Kiyo A. Matsumoto on 2/12/2016.
                             (Gong, LiJia) (Entered: 02/12/2016)
  03/10/2016                   Minute Entry for Settlement Conference held on 3/10/2016 before Magistrate Judge
                               Marilyn D. Go: Appearances by R. Greenberg for plaintiff; M. Keane for defendants. The
                               parties will not be engaging in settlement discussions until after the oral argument in
                               Betances. The parties must file a status report by 4/28/16 regarding progress in settlement
                               and are encouraged to call the Court before this date to schedule a telephone settlement
                               conference. (Hugh, Lewis) (Entered: 03/14/2016)
  03/31/2016                   Case Reassigned to Magistrate Judge Steven L Tiscione. Magistrate Judge Marilyn D. Go
                               no longer assigned to the case.Please download and review the Individual Practices of the
                               assigned Judges, located on our website. Attorneys are responsible for providing courtesy
                               copies to judges where their Individual Practices require such. (Mahoney, Brenna)
                               (Entered: 03/31/2016)
  04/28/2016             70 STATUS REPORT of Parties filed jointly by George B. Alexander, P Alvarez, Anthony J.
                            Annucci, Arroyo, Council, Robert J. Dennison, Lisa Elovich, Andrea W. Evans, Brian
                            Fischer, Fleischman, Cynthia Johnson, Kevin G Ludlow, J Mason, William McCartney,
                            McKinney, Paredes, Darryl Stevenson, Sally A. Thompson, Terrence X. Tracy (Keane,
                            Michael) (Entered: 04/28/2016)
  05/02/2016                   STATUS REPORT ORDER re 70 Status Report, filed by Fleischman, P Alvarez, William
                               McCartney, McKinney, Kevin G Ludlow, Andrea W. Evans, J Mason, Darryl Stevenson,
                               Lisa Elovich, Brian Fischer, Sally A. Thompson, Anthony J. Annucci, Terrence X. Tracy,
                               Council, Paredes, Arroyo, Cynthia Johnson, George B. Alexander, Robert J. Dennison:
                               Counsel shall electronically file an updated status report by 6/30/2016. So Ordered by
                               Magistrate Judge Steven L. Tiscione on 5/2/2016. (Vasquez, Lea) (Entered: 05/02/2016)
  06/29/2016             71 STATUS REPORT of Parties filed jointly by George B. Alexander, Anthony J. Annucci,
                            Arroyo, Council, Robert J. Dennison, Lisa Elovich, Andrea W. Evans, Brian Fischer,
                            Fleischman, Cynthia Johnson, Kevin G Ludlow, J Mason, William McCartney,
                            McKinney, Paredes, Darryl Stevenson, Sally A. Thompson, Terrence X. Tracy (Keane,
                            Michael) (Entered: 06/29/2016)
  07/01/2016                   ORDER: Parties shall continue to confer and submit a joint status to this court by
                               September 30, 2016. Should the Betances appeal be decided before that date, the parties
                               shall inform the Court of that event. Ordered by Judge Kiyo A. Matsumoto on 7/1/2016.
                               (Fletcher, Camille) (Entered: 07/01/2016)
  10/05/2016             72 Letter MOTION for pre motion conference to Lift Stay of the Action and for Summary
                            Judgment in light of Betances Decision by Jesus Santiago. (Attachments: # 1 Appendix
                            Appendix 2d Cir Decision in Betances, # 2 Appendix Betances Docket Report)
                            (Greenberg, Robert) (Entered: 10/05/2016)
  10/05/2016             73 Letter Re: Status and Requesting Confernece by Anthony J. Annucci, Brian Fischer,
                            Terrence X. Tracy (Keane, Michael) (Entered: 10/05/2016)



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  10/07/2016                   ORDER granting 72 Motion for Pre Motion Conference. The pre-motion conference is
                               scheduled for October 18 at 2 p.m. Plaintiff shall initiate the call and dial into 718-613-
                               2180 when all parties are on the line. Ordered by Judge Kiyo A. Matsumoto on
                               10/7/2016. (Fletcher, Camille) (Entered: 10/07/2016)
  10/18/2016                   Minute Entry for proceedings held before Judge Kiyo A. Matsumoto: Pre Motion
                               Conference held on 10/18/2016. Appearances for plaintiff, Robert Greenberg; for
                               defendants, Michael Keane. Discussions held about the motions for summary judgment.
                               The parties may file summary judgment motions that include arguments made in the
                               summary judgment motions filed in July 2015 as well as new facts elicited from the
                               limited discovery requested by defendants and arguments addressing recently decided
                               case law. The parties shall adhere to the following schedule: Plaintiff's deposition shall be
                               completed by November 10, 2016; opening summary jugment briefs shall be served but
                               not filed by December 9, 2016; opposition briefs shall be served but not filed by January
                               10, 2017; reply briefs shall be served by January 17, 2017. In accordance with chambers'
                               practices, motion papers shall not be filed via ECF until all briefing is complete and
                               parties shall deliver two courtesy copies of the motion papers to chambers. (Fletcher,
                               Camille) (Entered: 10/18/2016)
  12/07/2016             74 MOTION for Extension of Time to File Response/Reply by George B. Alexander,
                            Anthony J. Annucci, Arroyo, Council, Robert J. Dennison, Lisa Elovich, Andrea W.
                            Evans, Brian Fischer, Fleischman, Cynthia Johnson, Kevin G Ludlow, William
                            McCartney, McKinney, Paredes, Darryl Stevenson, Sally A. Thompson, Terrence X.
                            Tracy. (Keane, Michael) (Entered: 12/07/2016)
  12/08/2016                   ORDER granting 74 Motion for Extension of Time to File Response/Reply. Parties shall
                               adhere to the following briefing schedule: moving papers are due by December 16, 2016;
                               opposition papers are due by January 17, 2017; reply papers are due by January 24, 2017.
                               Ordered by Judge Kiyo A. Matsumoto on 12/8/2016. (Fletcher, Camille) (Entered:
                               12/08/2016)
  12/14/2016             75 Second MOTION for Extension of Time to File Motion for Summary Judgment by
                            George B. Alexander, P Alvarez, Anthony J. Annucci, Arroyo, Council, Robert J.
                            Dennison, Lisa Elovich, Brian Fischer, Fleischman, Cynthia Johnson, Kevin G Ludlow, J
                            Mason, William McCartney, McKinney, Paredes, Darryl Stevenson, Sally A. Thompson,
                            Terrence X. Tracy. (Keane, Michael) (Entered: 12/14/2016)
  12/15/2016                   ORDER granting 75 Motion for Extension of Time to File. The parties' request for an
                               extension to file summary judgment motions is granted. Moving papers are now due by
                               December 23, 2016; Opposition papers are now due by January 24, 2017 and reply
                               papers are due by January 31, 2017. Parties are reminded to only file the papers via ECF
                               once the briefing is complete and to serve two courtesy copies of the papers on
                               Chambers. Ordered by Judge Kiyo A. Matsumoto on 12/15/2016. (Fletcher, Camille)
                               (Entered: 12/15/2016)
  01/27/2017             76 MOTION for Extension of Time to File Response/Reply by Terrence X. Tracy. (Keane,
                            Michael) (Entered: 01/27/2017)
  01/27/2017             77 REPLY in Support re 76 MOTION for Extension of Time to File Response/Reply filed by
                            Jesus Santiago. (Greenberg, Robert) (Entered: 01/27/2017)
  01/30/2017                   ORDER granting 76 Motion for Extension of Time to File Response/Reply. Parties shall
                               serve their replies and file all other motion papers via ECF by February 7, 2017. Ordered
                               by Judge Kiyo A. Matsumoto on 1/30/2017. (Fletcher, Camille) (Entered: 01/30/2017)
  02/07/2017             78 Fully Briefed MOTION for Summary Judgment by Jesus Santiago. Responses due by
                            2/7/2017 (Attachments: # 1 Rule 56.1 Statement, # 2 Memorandum in Support, # 3
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                             Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Certificate of Service, # 7 Memorandum in
                             Opposition, # 8 Certificate of Service, # 9 Memorandum in Support, # 10 Certificate of
                             Service) (Greenberg, Robert) (Entered: 02/07/2017)
  02/07/2017             79 MOTION for Summary Judgment by George B. Alexander, P Alvarez, Anthony J.
                            Annucci, Arroyo, Council, Robert J. Dennison, Lisa Elovich, Andrea W. Evans, Brian
                            Fischer, Fleischman, Cynthia Johnson, Kevin G Ludlow, J Mason, William McCartney,
                            McKinney, Paredes, Darryl Stevenson, Sally A. Thompson, Terrence X. Tracy. (Keane,
                            Michael) (Entered: 02/07/2017)
  02/07/2017             80 MEMORANDUM in Support re 79 MOTION for Summary Judgment filed by George B.
                            Alexander, P Alvarez, Anthony J. Annucci, Arroyo, Council, Robert J. Dennison, Lisa
                            Elovich, Andrea W. Evans, Brian Fischer, Fleischman, Cynthia Johnson, Kevin G
                            Ludlow, J Mason, William McCartney, McKinney, Paredes, Darryl Stevenson, Sally A.
                            Thompson, Terrence X. Tracy. (Keane, Michael) (Entered: 02/07/2017)
  02/07/2017             81 AFFIDAVIT/DECLARATION in Support re 79 MOTION for Summary Judgment od
                            Steven H. Philbrick filed by George B. Alexander, P Alvarez, Anthony J. Annucci,
                            Arroyo, Council, Robert J. Dennison, Lisa Elovich, Andrea W. Evans, Brian Fischer,
                            Fleischman, Cynthia Johnson, Kevin G Ludlow, J Mason, William McCartney,
                            McKinney, Paredes, Darryl Stevenson, Sally A. Thompson, Terrence X. Tracy.
                            (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, #
                            6 Exhibit F) (Keane, Michael) (Entered: 02/07/2017)
  02/07/2017             82 AFFIDAVIT/DECLARATION in Support re 79 MOTION for Summary Judgment filed
                            by George B. Alexander, P Alvarez, Anthony J. Annucci, Arroyo, Council, Robert J.
                            Dennison, Lisa Elovich, Andrea W. Evans, Brian Fischer, Fleischman, Cynthia Johnson,
                            Kevin G Ludlow, J Mason, William McCartney, McKinney, Paredes, Darryl Stevenson,
                            Sally A. Thompson, Terrence X. Tracy. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                            Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H- part
                            1, # 9 Exhibit H- part 2, # 10 Exhibit H- part 3, # 11 Exhibit H- part 4, # 12 Exhibit G)
                            (Keane, Michael) (Entered: 02/07/2017)
  02/07/2017             83 RULE 56.1 STATEMENT re 79 MOTION for Summary Judgment of DEFENDANTS
                            filed by George B. Alexander, P Alvarez, Anthony J. Annucci, Arroyo, Council, Robert J.
                            Dennison, Lisa Elovich, Andrea W. Evans, Brian Fischer, Fleischman, Cynthia Johnson,
                            Kevin G Ludlow, J Mason, William McCartney, McKinney, Paredes, Darryl Stevenson,
                            Sally A. Thompson, Terrence X. Tracy. (Keane, Michael) (Entered: 02/07/2017)
  02/07/2017             84 MEMORANDUM in Opposition re 78 Fully Briefed MOTION for Summary Judgment
                            (Defendants' Opposition to Plaitniff's Motion) filed by George B. Alexander, P Alvarez,
                            Anthony J. Annucci, Arroyo, Council, Robert J. Dennison, Lisa Elovich, Andrea W.
                            Evans, Brian Fischer, Fleischman, Cynthia Johnson, Kevin G Ludlow, J Mason, William
                            McCartney, McKinney, Paredes, Darryl Stevenson, Sally A. Thompson, Terrence X.
                            Tracy. (Keane, Michael) (Entered: 02/07/2017)
  02/07/2017             85 RULE 56.1 STATEMENT Defendants' Counterstatement of Facts to Plaintiff's Motion
                            for Summary Judgment filed by George B. Alexander, P Alvarez, Anthony J. Annucci,
                            Arroyo, Council, Robert J. Dennison, Lisa Elovich, Andrea W. Evans, Brian Fischer,
                            Fleischman, Cynthia Johnson, Kevin G Ludlow, J Mason, William McCartney,
                            McKinney, Paredes, Darryl Stevenson, Sally A. Thompson, Terrence X. Tracy. (Keane,
                            Michael) (Entered: 02/07/2017)
  02/07/2017             86 REPLY in Support re 79 MOTION for Summary Judgment filed by George B. Alexander,
                            P Alvarez, Anthony J. Annucci, Arroyo, Council, Robert J. Dennison, Lisa Elovich,
                            Andrea W. Evans, Brian Fischer, Fleischman, Cynthia Johnson, Kevin G Ludlow, J

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                             Mason, William McCartney, McKinney, Darryl Stevenson, Sally A. Thompson, Terrence
                             X. Tracy. (Keane, Michael) (Entered: 02/07/2017)
  08/09/2017                   ORDER. Defendants' 83 Rule 56.1 statement references records from 2005 in plaintiff's
                               "Parolee Chrono Report," docketed as ECF No. [81-3], Exhibit C to the Declaration of
                               Stephen H. Philbrick. The version of the "Parolee Chrono Report" filed as ECF No. [81-
                               3] does not include records from 2005. By close of business on August 10, 2017,
                               defendants shall file a corrected version of this document on the docket. Ordered by
                               Judge Kiyo A. Matsumoto on 8/9/2017. (Tata, Vivek) (Entered: 08/09/2017)
  08/10/2017             87 MOTION for Extension of Time to File corrected 56.1 statement by George B.
                            Alexander, Anthony J. Annucci, Robert J. Dennison, Anthony G. Ellis, II, Andrea W.
                            Evans, Brian Fischer, Glenn S Goord, Lucien J. Leclaire, Jr, Kevin G Ludlow, Sally A.
                            Thompson. (Hathaway, Barbara) (Entered: 08/10/2017)
  08/10/2017                   ORDER granting 87 Motion for Extension of Time to File. By close of business on
                               August 14, 2017, defendants shall file a corrected version of the "Parolee Chrono
                               Report" filed as ECF No. 81 -3, including all records referenced in defendants' 83 Rule
                               56.1 statement.. Ordered by Judge Kiyo A. Matsumoto on 8/10/2017. (Tata, Vivek)
                               (Entered: 08/10/2017)
  08/14/2017             88 RULE 56.1 STATEMENT re 79 MOTION for Summary Judgment as Amended August
                            14, 2017 filed by George B. Alexander, P Alvarez, Anthony J. Annucci, Arroyo, Council,
                            Robert J. Dennison, Anthony G. Ellis, II, Lisa Elovich, Andrea W. Evans, Brian Fischer,
                            Fleischman, Glenn S Goord, Cynthia Johnson, Lucien J. Leclaire, Jr, Kevin G Ludlow, J
                            Mason, William McCartney, McKinney, Paredes, Darryl Stevenson, Sally A. Thompson,
                            Terrence X. Tracy. (Keane, Michael) (Entered: 08/14/2017)
  08/14/2017             89 Letter re Amended 56.1 Statement of August 14, 2017 by George B. Alexander, P Alvarez,
                            Anthony J. Annucci, Arroyo, Council, Robert J. Dennison, Anthony G. Ellis, II, Lisa
                            Elovich, Andrea W. Evans, Brian Fischer, Fleischman, Glenn S Goord, Cynthia Johnson,
                            Lucien J. Leclaire, Jr, Kevin G Ludlow, J Mason, William McCartney, McKinney,
                            Paredes, Darryl Stevenson, Sally A. Thompson, Terrence X. Tracy (Keane, Michael)
                            (Entered: 08/14/2017)
  08/14/2017             90 AFFIDAVIT/DECLARATION in Support re 79 MOTION for Summary Judgment filed
                            by George B. Alexander, P Alvarez, Anthony J. Annucci, Arroyo, Council, Robert J.
                            Dennison, Anthony G. Ellis, II, Lisa Elovich, Andrea W. Evans, Brian Fischer,
                            Fleischman, Glenn S Goord, Cynthia Johnson, Lucien J. Leclaire, Jr, Kevin G Ludlow, J
                            Mason, William McCartney, McKinney, Paredes, Darryl Stevenson, Sally A. Thompson,
                            Terrence X. Tracy. (Keane, Michael) (Entered: 08/14/2017)
  08/14/2017             91 RULE 56.1 STATEMENT re 79 MOTION for Summary Judgment as Amended August
                            14, 2017 with new paragraph 11(a) filed by George B. Alexander, P Alvarez, Anthony J.
                            Annucci, Arroyo, Council, Andrew M. Cuomo, Robert J. Dennison, Anthony G. Ellis, II,
                            Lisa Elovich, Andrea W. Evans, Brian Fischer, Fleischman, Glenn S Goord, Cynthia
                            Johnson, Lucien J. Leclaire, Jr, Kevin G Ludlow, J Mason, William McCartney,
                            McKinney, Paredes, Darryl Stevenson, Sally A. Thompson, Terrence X. Tracy. (Keane,
                            Michael) (Entered: 08/14/2017)
  09/30/2017             92 ORDER. For the reasons stated in the attached Memorandum and Order, the court grants
                            in part and denies in part plaintiff's 78 Motion for Summary Judgment and grants in part
                            and denies in part defendants' 79 cross-motion. The court dismisses all defendants except
                            Anthony J. Annucci, Brian Fischer, and Terrence X. Tracy, and dismisses plaintiff's state
                            law claims for lack of jurisdiction. The court grants plaintiff's motion for summary
                            judgment on the liability of defendants Annucci, Fischer, and Tracy for the period June
                            12, 2007 to February 6, 2008.
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                               By October 11, 2017, the parties shall contact Magistrate Judge Steven Tiscione to
                               schedule a settlement conference. Should the parties fail to reach a settlement by
                               November 10, 2017, they shall file a status letter to that effect, directed to both Magistrate
                               Judge Tiscione and the undersigned judge, and include a proposed schedule for the
                               remainder of discovery. Ordered by Judge Kiyo A. Matsumoto on 9/30/2017. (Tata,
                               Vivek) (Entered: 09/30/2017)
  11/03/2017             93 Letter dated 10/31/2017 to Judge Garaufis and Judge Reyes and Judge Matsumoto from
                            Jesus Santiago, Pro Se requesting a restart on his case. (Attachments: # 1 Exhibit, # 2
                            Envelope) (Tavarez, Jennifer) (Entered: 11/07/2017)
  11/10/2017             94 STATUS REPORT Jointly Filed by ALL PARTIES by Anthony J. Annucci, Brian Fischer,
                            Terrence X. Tracy (Keane, Michael) (Entered: 11/10/2017)
  11/11/2017                   SCHEDULING ORDER re 94 Status Report filed by Anthony J. Annucci, Terrence X.
                               Tracy, Brian Fischer. An in-person settlement conference will be held at 12:00 p.m. on
                               December 1, 2017 before the undersigned in Hearing Room N504 in the North Wing. All
                               counsel must attend. Counsel shall submit their respective settlement positions via ex
                               parte electronic filing through the Court's ECF system, no later than November 29th, as
                               well as refer to this Court's Individual Rules in further preparation for the conference. So
                               Ordered by Magistrate Judge Steven Tiscione on 11/11/2017. (Vasquez, Lea) (Entered:
                               11/11/2017)
  11/29/2017             95 MOTION to Seal by Anthony J. Annucci, Brian Fischer, Terrence X. Tracy. (Keane,
                            Michael) (Entered: 11/29/2017)
  11/30/2017                   Motions terminated, docketed incorrectly: 95 MOTION to Seal filed by Anthony J.
                               Annucci, Terrence X. Tracy, Brian Fischer. (Vasquez, Lea) (Entered: 11/30/2017)
  11/30/2017             98 Motion to Appear by Telephone on behalf of principal from DOCCS by Anthony J.
                            Annucci, Brian Fischer, Terrence X. Tracy. (Keane, Michael) (Entered: 11/30/2017)
  11/30/2017                   ORDER granting 98 Motion to Appear by Telephone. A principal form DOCCS is
                               permitted to appear for the December 1st conference by phone. Counsel shall bring the
                               Principal's contact information to court. So Ordered by Magistrate Judge Steven Tiscione
                               on 11/30/2017. (Vasquez, Lea) (Entered: 11/30/2017)
  11/30/2017                   ORDER: In accordance with the Court's individual practices, the parties were required to
                               submit ex parte settlement position statements by November 29, 2017. To date, Plaintiff
                               has not filed his settlement position statement. Plaintiff is directed to file the ex parte
                               settlement position statement in advance of tomorrow's scheduled settlement conference.
                               So Ordered by Magistrate Judge Steven Tiscione on 11/30/2017. (Swartz, Rochelle)
                               (Entered: 11/30/2017)
  12/05/2017           100 Minute Entry for Settlement Conference held on 12/1/2017 before Magistrate Judge
                           Steven Tiscione: Greenberg for Plaintiff; Keane for Defendants. Settlement discussions
                           were held but the parties were unable to reach a disposition at this time. The Court will
                           hold a further settlement conference on January 19, 2018 at 12:00 p.m. All discovery on
                           damages is to be completed by February 28, 2018. (FTR Log #12:08 - 12:09; 2;14 -
                           2:20.) (Vasquez, Lea) (Entered: 12/05/2017)
  01/18/2018           101 STATUS REPORT re Second Circuit decision by Anthony J. Annucci, Brian Fischer,
                           Terrence X. Tracy (Attachments: # 1 Exhibit) (Keane, Michael) (Entered: 01/18/2018)
  01/19/2018           102 Minute Entry for Settlement Conference held on 1/19/2018 before Magistrate Judge
                           Steven Tiscione: Greenberg for Plaintiff; Keene for Defendants. Settlement discussions
                           were held but the parties were unable to reach a disposition at this time. For the reasons
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                             discussed on the record, the deadline for completion of discovery is extended to April 16,
                             2018. The deadline for beginning dispositive motion practice is extended to May 14,
                             2018. (FTR Log #12:03 - 1:15.) (Vasquez, Lea) (Entered: 01/19/2018)
  04/16/2018           103 Letter MOTION for Extension of Time to Complete Discovery upon Consent of All
                           Parties by Jesus Santiago. (Greenberg, Robert) (Entered: 04/16/2018)
  04/16/2018                   ORDER granting 103 Motion for Extension of Time to Complete Discovery. The
                               deadline for completion of discovery is extended to June 1, 2018. The deadline for
                               beginning dispositive motion practice is extended to July 2, 2018. So Ordered by
                               Magistrate Judge Steven Tiscione on 4/16/2018. (Vasquez, Lea) (Entered: 04/16/2018)
  07/02/2018           104 Letter to schedule motion by Anthony J. Annucci, Brian Fischer, Terrence X. Tracy
                           (Keane, Michael) (Entered: 07/02/2018)
  07/03/2018                   ORDER. Defendants' request for a pre-motion conference is granted. The parties shall
                               participate in a telephonic pre-motion conference with the court on July 25, 2018 at 4:00
                               PM. Counsel for defendants shall coordinate a call among the parties and dial into
                               chambers (718-613-2180) when all parties are on the line. Plaintiff may file a letter with
                               the court responding to defendants' letter requesting a pre-motion conference on or before
                               July 20, 2018. Ordered by Judge Kiyo A. Matsumoto on 7/3/2018. (Abugo, Uzezi)
                               (Entered: 07/03/2018)
  07/26/2018                   Minute Entry for proceedings held before Judge Kiyo A. Matsumoto: Pre Motion
                               Conference held on 7/26/2018. Appearances: Robert Greenberg, Esq., for plaintiff;
                               Michael Keane, Esq. for defendant. Discussions were held regarding defendant's
                               proposed motion regarding damages. The court ORDERED: the parties shall meet and
                               confer regarding the case's current status, and, if defendant intends to pursue its motion,
                               propose a briefing schedule for the motion by August 1, 2018. A status conference is set
                               for the parties before Judge Matsumoto on November 2, 2018 at noon in courtroom 6C
                               South, 225 Cadman Plaza East, Brooklyn, New York 11201. (Court Reporter Linda
                               Danelczyk.) (Abugo, Uzezi) (Entered: 07/26/2018)
  08/01/2018           105 Proposed Scheduling Order for briefing damages by Anthony J. Annucci, Brian Fischer,
                           Terrence X. Tracy (Keane, Michael) (Entered: 08/01/2018)
  08/10/2018                   ORDER granting the parties' proposed briefing schedule. Defendants shall serve their
                               motion addressing damages on plaintiff by August 31, 2018; plaintiff shall serve his
                               opposition on defendants by October 1, 2018; and defendants shall serve their reply, if
                               any on plaintiff by October 15, 2018. On October 15, 2018, the parties shall file their
                               motions, in logical order, via ECF, and provide the court with two courtesy hard copies.
                               Ordered by Judge Kiyo A. Matsumoto on 8/10/2018. (Abugo, Uzezi) (Entered:
                               08/10/2018)
  08/31/2018           106 ANSWER to 12 Amended Complaint, by Anthony J. Annucci, Brian Fischer, Terrence X.
                           Tracy. (Keane, Michael) (Entered: 08/31/2018)
  09/25/2018           107 NOTICE of Change of Mailing Address by Robert Laurence Greenberg (Greenberg,
                           Robert) (Entered: 09/25/2018)
  09/26/2018           108 Letter MOTION to Strike 106 Answer to Amended Complaint by Jesus Santiago.
                           (Attachments: # 1 Decision of NY Court of Claims) (Greenberg, Robert) (Entered:
                           09/26/2018)
  10/01/2018           109 RESPONSE to Motion re 108 Letter MOTION to Strike 106 Answer to Amended
                           Complaint filed by Anthony J. Annucci, Brian Fischer, Terrence X. Tracy. (Keane,
                           Michael) (Entered: 10/01/2018)


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  10/15/2018           110 MEMORANDUM in Opposition to Defendants' Motion for Summary Judgment and/or
                           Dismissal filed by All Plaintiffs. (Attachments: # 1 Exhibit Decision of Court of Claims,
                           # 2 Rule 56.1 Statement, # 3 Certificate of Service) (Greenberg, Robert) (Entered:
                           10/15/2018)
  10/15/2018           111 MOTION for Summary Judgment and/or to dismiss by Anthony J. Annucci, Brian
                           Fischer, Terrence X. Tracy. (Keane, Michael) (Entered: 10/15/2018)
  10/15/2018           112 RULE 56.1 STATEMENT re 111 MOTION for Summary Judgment and/or to dismiss
                           filed by Anthony J. Annucci, Brian Fischer, Terrence X. Tracy. (Keane, Michael)
                           (Entered: 10/15/2018)
  10/15/2018           113 AFFIDAVIT/DECLARATION in Support re 111 MOTION for Summary Judgment
                           and/or to dismiss filed by Anthony J. Annucci, Brian Fischer, Terrence X. Tracy.
                           (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D) (Keane,
                           Michael) (Entered: 10/15/2018)
  10/15/2018           114 MEMORANDUM in Support re 111 MOTION for Summary Judgment and/or to dismiss
                           filed by Anthony J. Annucci, Brian Fischer, Terrence X. Tracy. (Keane, Michael)
                           (Entered: 10/15/2018)
  10/15/2018           115 REPLY in Support , RULE 56.1 STATEMENT filed by Anthony J. Annucci, Brian
                           Fischer, Terrence X. Tracy. (Keane, Michael) (Entered: 10/15/2018)
  10/15/2018           116 AFFIDAVIT/DECLARATION in Support re 111 MOTION for Summary Judgment
                           and/or to dismiss Reply Delcaration with Exhibit A filed by Anthony J. Annucci, Brian
                           Fischer, Terrence X. Tracy. (Attachments: # 1 Exhibit A) (Keane, Michael) (Entered:
                           10/15/2018)
  10/15/2018           117 REPLY in Support of motion for summary judgment and/or to dismiss filed by Anthony J.
                           Annucci, Brian Fischer, Terrence X. Tracy. (Keane, Michael) (Entered: 10/15/2018)
  11/02/2018                   Minute Entry for proceedings held before Judge Kiyo A. Matsumoto: Status Conference
                               held on 11/2/2018: Appearances: Robert Greenberg, Esq., for plaintiff; Michael Keane,
                               Esq. for defendant. Discussions were held regarding plaintiff's Motion to Strike. The
                               court ORDERED: Defendant shall file a letter with the court indicating whether it will
                               withdraw and/or waive its asserted statute of limitation defense by close of business on
                               Wednesday, November 7, 2018. (Court Reporter Annette Montalvo.) (Abugo, Uzezi)
                               (Entered: 11/02/2018)
  11/07/2018           118 STATUS REPORT re issues remaining by Anthony J. Annucci, Brian Fischer, Terrence
                           X. Tracy (Keane, Michael) (Entered: 11/07/2018)
  11/09/2018                   ORDER. Pursuant to the court's November 2, 2018 request for a status report, the parties
                               informed the court by defendants' 118 letter filed November 7, 2018, that defendants
                               withdraw their statute of limitations defense and that plaintiff withdraws his [108 ]
                               Motion to Strike Defendants' Answer. The court ORDERS: Plaintiff's 108 Motion to
                               Strike is terminated. Litigation shall proceed with addressing issues of damages, as
                               briefed in defendants' summary judgment motion 111 , which was fully submitted on
                               October 15, 2018. As defendants' moving papers in the motion for summary judgment
                               include defendants' withdrawn arguments regarding the statute of limitations defense,
                               defendants are requested to amend their moving papers to remove arguments related to
                               their withdrawn statute of limitations defense to make clear which arguments remain and
                               refile by close of business November 14, 2018. Plaintiff shall amend his opposition to
                               remove arguments related to the withdrawn statute of limitations defense and refile by
                               close of business November 19, 2018. Defendants shall amend their reply to remove
                               arguments related to the withdrawn statute of limitations defense and refile by close of

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                             business November 21, 2018. Ordered by Judge Kiyo A. Matsumoto on 11/9/2018.
                             (Abugo, Uzezi) (Entered: 11/09/2018)
  11/09/2018                   ORDER terminating 108 Motion to Strike. Pursuant to the order entered by the court
                               November 9, 2018, plaintiff's Motion to Strike is terminated. Ordered by Judge Kiyo A.
                               Matsumoto on 11/9/2018. (Abugo, Uzezi) (Entered: 11/09/2018)
  11/14/2018           119 MOTION for Summary Judgment as to nominal damages by Anthony J. Annucci, Brian
                           Fischer, Terrence X. Tracy. (Keane, Michael) (Entered: 11/14/2018)
  11/14/2018           120 RULE 56.1 STATEMENT re 119 MOTION for Summary Judgment as to nominal
                           damages filed by Anthony J. Annucci, Brian Fischer, Terrence X. Tracy. (Keane,
                           Michael) (Entered: 11/14/2018)
  11/14/2018           121 AFFIDAVIT/DECLARATION in Support re 119 MOTION for Summary Judgment as to
                           nominal damages filed by Anthony J. Annucci, Brian Fischer, Terrence X. Tracy.
                           (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D) (Keane,
                           Michael) (Entered: 11/14/2018)
  11/14/2018           122 MEMORANDUM in Support re 119 MOTION for Summary Judgment as to nominal
                           damages filed by Anthony J. Annucci, Brian Fischer, Terrence X. Tracy. (Keane,
                           Michael) (Entered: 11/14/2018)
  11/19/2018           123 MEMORANDUM in Opposition re 119 MOTION for Summary Judgment as to nominal
                           damages, 121 Affidavit in Support of Motion, 122 Memorandum in Support, 120 Rule
                           56.1 Statement filed by All Plaintiffs. (Attachments: # 1 Rule 56.1 Statement, # 2
                           Certificate of Service) (Greenberg, Robert) (Entered: 11/19/2018)
  11/21/2018           124 RULE 56.1 STATEMENT Counter-statement to Plaintiff's 56.1 Statement filed by
                           Anthony J. Annucci, Brian Fischer, Terrence X. Tracy. (Keane, Michael) (Entered:
                           11/21/2018)
  11/21/2018           125 REPLY in Support of summary judgment as to nominal damages filed by Anthony J.
                           Annucci, Brian Fischer, Terrence X. Tracy. (Keane, Michael) (Entered: 11/21/2018)
  02/26/2019           126 Letter to Court re: Betances v. Fischer by Jesus Santiago (Attachments: # 1 Recent
                           Decision in Betances v. Fischer (SDNY)) (Greenberg, Robert) (Entered: 02/26/2019)
  02/27/2019           127 Letter re recent decisions by Anthony J. Annucci, Brian Fischer, Terrence X. Tracy
                           (Keane, Michael) (Entered: 02/27/2019)
  09/23/2019           128 MEMORANDUM AND ORDER, Defendants have not established that no disputedissues
                           of fact exist as to whether Plaintiff is, as a matter of law, entitled to only nominal
                           damages. As neither party moved for summary judgment on the question of the amount of
                           compensatory and punitive damages - which Plaintiff raised only as an alternative basis
                           to defeat Defendants' motion for summary judgment - the Court need not consider in this
                           Memorandum and Order whether Plaintiff may establish that he is entitled to punitive
                           damages on the basis of Defendants' misconduct. In light of the foregoing. Defendants'
                           motion for summary judgment is denied. The parties shall meet and confer and submit a
                           joint status letter via ECF to the Court by 10/3/19, setting forth how they wish to proceed
                           in this action. (Denying 119 Motion for Summary Judgment) (Ordered by District Judge
                           Kiyo A. Matsumoto on 9/23/2019) c/m (Galeano, Sonia) (Entered: 09/23/2019)
  09/24/2019                   ORDER terminating 111 Motion for Summary Judgment. In light of the Court's
                               November 9, 2018 Order directing the parties to refile their motion papers and 128 the
                               Court's September 23, 2019 Memorandum and Order ruling on the refiled motion papers,
                               the Court hereby terminates 111 Defendants' initial motion for summary judgment as


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                             moot. Ordered by Judge Kiyo A. Matsumoto on 9/24/2019. (Ammari, Kamil) (Entered:
                             09/24/2019)
  10/03/2019           129 MOTION for Extension of Time to File Joint Status Report by Anthony J. Annucci, Brian
                           Fischer, Terrence X. Tracy. (Keane, Michael) (Entered: 10/03/2019)
  10/04/2019                   ORDER granting 129 Letter Motion for Extension of Time to File Joint Status Report.
                               The parties shall file a joint status report by October 10, 2019. Ordered by Judge Kiyo A.
                               Matsumoto on 10/4/2019. (Ammari, Kamil) (Entered: 10/04/2019)
  10/10/2019           130 STATUS REPORT Joint Status Report by Anthony J. Annucci, Brian Fischer, Terrence X.
                           Tracy (Keane, Michael) (Entered: 10/10/2019)
  10/15/2019                   ORDER granting 130 the parties' joint request for a conference to address outstanding
                               issues and schedule pre-trial submissions and a trial. The court will hold a telephonic
                               conference on Monday, November 11, 2019, at 10:00 a.m. The parties shall coordinate a
                               call among themselves and dial into chambers (718-613-2180) when all parties are on the
                               line. Ordered by Judge Kiyo A. Matsumoto on 10/15/2019. (Ammari, Kamil) (Entered:
                               10/15/2019)
  11/01/2019                   SCHEDULING ORDER: The telephonic conference currently scheduled for Monday,
                               November 11, 2019 at 10:00 a.m. is hereby adjourned to Tuesday, November 12, 2019 at
                               10:00 a.m. Ordered by Judge Kiyo A. Matsumoto on 11/1/2019. (Ammari, Kamil)
                               (Entered: 11/01/2019)
  11/12/2019                   MINUTE ENTRY & ORDER for Telephonic Conference held before Judge Kiyo A.
                               Matsumoto on November 12, 2019. Appearances for Plaintiff: Robert Laurence
                               Greenberg, Esq.; Jesus Santiago. Appearance for Defendants: Michael J. Keane, Esq.

                               The parties represented to the Court that they have discussed a potential settlement of this
                               action but remain far apart. The Court thus discussed scheduling trial in this action,
                               informing the parties that it is inclined to scheduled trial for either December 23, 2019 or
                               February 18, 2020. If the parties elect to proceed to trial, the Court encouraged them to
                               consent to proceed before Magistrate Judge Steven Tiscione due to the congestion of the
                               Court's trial calendar, and because Judge Tiscione may have more flexibility with respect
                               to available trial dates. In light of the foregoing, the Court ordered that by 12:00 p.m. on
                               Friday, November 15, 2019, the parties inform the Court as to (1) whether they will be
                               settling this action or (2) whether they wish to proceed to trial, and if so, whether they
                               will consent to a jury trial before Judge Tiscione. (The Court notes that in Earley v.
                               Annucci, No. 08-CV-669(DJS) (N.D.N.Y.), the parties consented to trial of that matter on
                               the issue of damages before the magistrate judge.)

                               The Court also addressed two other matters raised by the parties. First, the Court denied
                               Defendants' request to stay this action until the Second Circuit resolves the appeal
                               presently pending before it in Earley v. Annucci, No. 18-3739. Second, the Court granted
                               Plaintiff's request that the March 10, 2015 and March 19, 2015 protective orders entered
                               by Magistrate Judge Marilyn Go be lifted to the extent necessary to allow Plaintiff to see
                               the documents and assist with trial preparation. Plaintiff should be mindful of the
                               obligations imposed by the protective order, particularly with respect to the disclosure of
                               information that does not pertain exclusively to him. (Court Reporter Holly Driscoll.)
                               (Ammari, Kamil) (Entered: 11/12/2019)
  11/26/2019                   Set Deadlines/Hearing as to 131 Letter MOTION to Withdraw as Attorney MOTION for
                               Protective Order Letter MOTION for Leave to Electronically File Document Ex Parte
                               MOTION for Leave to Electronically File Document under Seal MOTION for Attorney
                               Fees Lien : An in-person hearing on Plaintiff's motion to withdraw as counsel will be held
                               at 11:30 a.m. on December 18, 2019 before the undersigned in Hearing Room N504 in
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                             the North Wing. The Plaintiff client must attend along with counsel for all parties.
                             Counsel for Plaintiff is directed to immediately forward a copy of this Order to the
                             Plaintiff at his last known address, via certified mail and file proof of delivery with the
                             Court. So Ordered by Magistrate Judge Steven Tiscione on 11/26/2019. (Vasquez, Lea)
                             (Entered: 11/26/2019)
  11/27/2019           133 CERTIFICATE OF SERVICE by Jesus Santiago re 132 Letter MOTION for Leave to
                           Electronically File Document Ex Parte MOTION for Leave to Electronically File
                           Document under Seal MOTION to Withdraw as Attorney MOTION to Seal all Papers
                           Relating to this Motion MOTION to Stay this Matter for Sixty Days MOTION for
                           Protective Order MOTION for Attorney Fees , Set Motion and R&R
                           Deadlines/Hearings,,, 131 Letter MOTION to Withdraw as Attorney MOTION for
                           Protective Order Letter MOTION for Leave to Electronically File Document Ex Parte
                           MOTION for Leave to Electronically File Document under Seal MOTION for Attorney
                           Fees Lien (Attachments: # 1 Appendix Order Sent to Plaintiff, # 2 Appendix USPS
                           Receipt for Certified Mail, Return Receipt Requested) (Greenberg, Robert) (Entered:
                           11/27/2019)
  01/03/2020           134 Minute Order for Motion Hearing held on 12/18/2019 before Magistrate Judge Steven
                           Tiscione: Greenberg with Santiago for Plaintiff; Keene for Defendants. For the reasons
                           discussed on the record, counsel's Motion to Withdraw 131 is granted. Mr. Greenberg is
                           terminated as attorney of record. The Court will provide Mr. Santiago 60 days to retain a
                           new attorney. The Court will hold a status conference on February 20, 2020 at 12:00 p.m.
                           If Plaintiff has not retained new counsel by that date, he must appear at the conference in
                           person. (FTR Log #11:50 - 12:09.) (Vasquez, Lea) (Entered: 01/03/2020)
  01/22/2020           135 TRANSCRIPT of Proceedings held on December 18, 2019, before Judge Tiscione. Court
                           Transcriber: Typewrite Word Processing Service, Telephone number 518-581-8973.
                           Email address: transcripts@typewp.com. Transcript may be viewed at the court public
                           terminal or purchased through the Court Transcriber before the deadline for Release of
                           Transcript Restriction. After that date it may be obtained through PACER.File redaction
                           request using event "Redaction Request - Transcript" located under "Other Filings - Other
                           Documents". Redaction Request due 2/12/2020. Redacted Transcript Deadline set for
                           2/24/2020. Release of Transcript Restriction set for 4/21/2020. (Rocco, Christine)
                           (Entered: 01/22/2020)
  02/25/2020           136 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on November
                           2, 2018, before Judge Kiyo A. Matsumoto. Court Reporter/Transcriber Annette M.
                           Montalvo, Telephone number 718-804-2711. Email address:
                           annette.montalvo@gmail.com. Transcript may be viewed at the court public terminal or
                           purchased through the Court Reporter/Transcriber before the deadline for Release of
                           Transcript Restriction. After that date it may be obtained through PACER.File redaction
                           request using event "Redaction Request - Transcript" located under "Other Filings - Other
                           Documents". Redaction Request due 3/17/2020. Redacted Transcript Deadline set for
                           3/27/2020. Release of Transcript Restriction set for 5/25/2020. (Montalvo, Annette)
                           (Entered: 02/25/2020)
  02/26/2020           137 Minute Entry for Status Conference held on 2/20/2020 before Magistrate Judge Steven
                           Tiscione: Santiago, pro se; Keene for Defendants. Parties are in the process of exchanging
                           additional information. Mr. Santiago is in the process of trying to obtain a new attorney.
                           Parties are also awaiting the Second Circuit's decision in a related case that may impact
                           the outcome here. Accordingly, the parties will continue to finish up discovery and the
                           Court will hold a further status conference on July 8, 2020 at 11:00 a.m. Mr. Santiago's
                           new address is: 1407 Lantry Court, Orlando, Florida 32804 and his contact number is
                           703-649-1027. The docket shall be amended to include this new contact information for
                           Plaintiff Santiago. (FTR Log #12:14 - 12:27.) (Vasquez, Lea) (Entered: 02/26/2020)
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  03/30/2020           139 Consent MOTION for Extension of Time to Complete Discovery and/or hold conference
                           by telephone by Anthony J. Annucci, Brian Fischer, Terrence X. Tracy. (Keane, Michael)
                           (Entered: 03/30/2020)
  03/31/2020                   SCHEDULING ORDER re 139 Consent MOTION for Extension of Time to Complete
                               Discovery and/or hold conference by telephone filed by Anthony J. Annucci, Terrence X.
                               Tracy, Brian Fischer. A telephone conference will be held before the undersigned at 2:00
                               p.m. on April 3, 2020 with all parties. Counsel for Defendants is directed to contact
                               chambers PRIOR TO APRIL 3RD to obtain the conference call-in information and
                               distribute same to the plaintiff who is proceeding pro se. So Ordered by Magistrate Judge
                               Steven Tiscione on 3/31/2020. (Vasquez, Lea) (Entered: 03/31/2020)
  04/02/2020                   Due to a conflict in the Court's calendar, the telephone conference scheduled for 2:00
                               p.m. on April 3rd will instead be held at 3:00 p.m. on the same date. So Ordered by
                               Magistrate Judge Steven Tiscione on 4/2/2020. (Vasquez, Lea) (Entered: 04/02/2020)
  04/08/2020           140 Minute Order for Telephone Conference held on 4/3/2020 before Magistrate Judge
                           Steven Tiscione: Santiago, pro se Plaintiff; Keane for Defendants. Parties are attempting
                           to obtain records from numerous prison facilities and the process has been delayed by the
                           ongoing health crisis. Accordingly, the consent MOTION for Extension of Time to
                           Complete Discovery 139 is granted. The Court will hold a telephone conference on July
                           8, 2020 at 11:00 a.m. (Vasquez, Lea) (Entered: 04/08/2020)
  07/07/2020                   Due to a conflict in the Court's calendar, the telephone conference scheduled for 11:00
                               a.m. on July 8th will instead begin at 11:30 a.m. on the same date. If counsel have not yet
                               obtained the conference call-in information, they are to contact the Court by close of
                               business today to obtain same. So Ordered by Magistrate Judge Steven Tiscione on
                               7/7/2020. (Vasquez, Lea) (Entered: 07/07/2020)
  07/09/2020           141 Minute Entry for Telephone Conference held on 7/8/2020 before Magistrate Judge Steven
                           Tiscione: Plaintiff failed to appear; Keane for Defendants. Pro Se Plaintiff did not call in
                           to the conference. Accordingly, Defense Counsel will contact Plaintiff and provide him
                           with the conference call-in information, the same information which was utilized today,
                           for a telephone conference to be held July 22, 2020 at 10:00 a.m. Defendants counsel
                           shall also forward a copy of this Order to the Plaintiff. (Vasquez, Lea) (Entered:
                           07/09/2020)
  07/22/2020                   SCHEDULING ORDER: The next telephone conference will be held at 12:30 p.m. on
                               July 31, 2020 before the undersigned. The call in information for the conference will be
                               888-557-8511 with the access code 3152145. Counsel for Defendants is requested to
                               forward the call-in information to the Plaintiff who is proceeding pro se. So Ordered by
                               Magistrate Judge Steven Tiscione on 7/22/2020. (Vasquez, Lea) (Entered: 07/22/2020)
  08/03/2020           142 Minute Entry for Telephone Conference held on 7/31/2020 before Magistrate Judge
                           Steven Tiscione: Plaintiff failed to appear; Keane for Defendants. Plaintiff did not appear
                           for the conference. Defense counsel reported that he copied the entire file and forwarded
                           it to Plaintiff at the address on record. Defendants will email Plaintiff and ask him for a
                           specific list of any additional documents he needs to complete discovery. The Court will
                           hold a further telephone conference on August 27, 2020 at 12:00 p.m. Defense counsel is
                           directed to forward a copy of this scheduling Order to Plaintiff. Plaintiff is directed to
                           appear at the next conference or the Court may be forced to impose sanctions. Parties will
                           call-in on number 888-557-8511 and use access code 3152145. (Vasquez, Lea) (Entered:
                           08/03/2020)
  08/27/2020           144 Mail Returned as Undeliverable. Copy of Minute Entry 142 sent to Jesus Santiago at
                           address listed. Postal Note: "Return To Sender. Not Deliverable As Addressed. Unable To

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                             Forward." (Herrera, Isaiah) (Entered: 08/31/2020)
  08/29/2020           143 Minute Entry for Telephone Conference held on 8/27/2020 before Magistrate Judge
                           Steven Tiscione: Pro Se Plaintiff failed to participate in conference; Keane for
                           Defendants. Plaintiff did not appear for the telephone conference despite being warned
                           that failure to appear might result in sanctions. Defense counsel reports that Plaintiff has
                           refused all contact and documents sent to his residence were returned to sender. The
                           Court issues an Order to Show Cause directing Plaintiff to file a letter with the Court
                           explaining why this case should not be dismissed for failure to prosecute no later than
                           September 30, 2020. If the Plaintiff does not respond to this Order, Defendants shall file a
                           motion to dismiss in accordance with the District Courts Individual Rules by October 30,
                           2020.Defense counsel is directed to forward a copy of this Order to Plaintiff by email
                           since Plaintiff has not updated his address on the docket and Defendants do not have any
                           other method of contacting Plaintiff, ( Show Cause Response due by 9/30/2020.) (FTR
                           Log #12:05 - 12:15 (AT&T).) (Vasquez, Lea) (Entered: 08/29/2020)
  10/26/2020           145 MOTION for pre motion conference (to waive conference and adopt briefing schedule)
                           by Anthony J. Annucci, Brian Fischer, Terrence X. Tracy. (Keane, Michael) (Entered:
                           10/26/2020)
  10/29/2020                   ORDER granting 145 Motion for Briefing Schedule. The Court hereby waives the usual
                               requirement for a pre-motion conference, and instead orders the following modified
                               briefing schedule for Defendants' anticipated motion to dismiss for failure to prosecute:
                               Defendants shall serve upon Plaintiff, by U.S. mail and email, a copy of this briefing
                               schedule and their motion papers by Monday, November 2, 2020. Plaintiff must respond
                               to Defendants' motion by December 2, 2020. On or before December 2, Plaintiff must
                               send his response by U.S. mail or email to counsel for Defendants. Defendants shall then
                               have seven days from receipt of Plaintiffs' response to serve a reply, and to file the fully
                               briefed motion papers to ECF in logical order. To account for any potential delays with
                               the mail system, if Plaintiff fails to respond to Defendants' motion (and fails to timely
                               request an extension), Defendants should wait until at least December 18, 2020 before
                               uploading an unopposed motion to ECF. Ordered by Judge Kiyo A. Matsumoto on
                               10/29/2020. (Mayer, Michael) (Entered: 10/29/2020)
  11/05/2020           146 MOTION for Extension of Time to Complete Discovery by Anthony J. Annucci, Brian
                           Fischer, Terrence X. Tracy. (Keane, Michael) (Entered: 11/05/2020)
  11/05/2020                   ORDER granting 146 Motion for Extension of Time to November 11th to complete the
                               deposition of Plaintiff. So Ordered by Magistrate Judge Steven Tiscione on 11/5/2020.
                               (Vasquez, Lea) (Entered: 11/05/2020)
  12/04/2020           147 MOTION for Hearing to address issues raised by plaintiff by Anthony J. Annucci, Brian
                           Fischer, Terrence X. Tracy. (Attachments: # 1 Exhibit Notice of Motion to be filed
                           December 18, 2020, # 2 Exhibit Declaration of Michael J. Keane In Support of Motion to
                           be filed December 18, 2020, # 3 Exhibit Memorandum of Law in Support of Motion
                           served on November 2, 2020 and to be filed December 18, 2020) (Keane, Michael)
                           Modified on 12/17/2020 (Incorrectly filed as a motion for a premotion conference.)
                           (Vasquez, Lea). (Entered: 12/04/2020)
  12/11/2020           148 MOTION: To release the complete file, to speak with original sentencing judge, to
                           respect the subpoena and provide the documents that were requested, by Jesus Santiago.
                           (Brown, Marc) (Main Document 148 replaced on 12/14/2020) (Brown, Marc). (Entered:
                           12/14/2020)
  12/17/2020                   ORDER granting 147 Motion for Hearing: A telephone conference will be held at 11:00
                               a.m. on December 28, 2020 before the undersigned with the plaintiff and counsel for
                               defendants. The parties shall connect to the conference through dial-in number 888-557-
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                             8511 with access code 3152145. Counsel for defendants is directed to immediately
                             forward a copy of this Order to the plaintiff who is proceeding pro se.

                               THE PARTIES ARE REMINDED that audio or video recording of proceedings by
                               any party other than the Court, is strictly prohibited by Local Civil Rule 1.8.
                               Violation of this rule may result in sanctions, including removal of court issued
                               media credentials, restricted entry to future hearings, denial of entry to future
                               hearings, or any other sanctions deemed appropriate by the Court.

                               So Ordered by Magistrate Judge Steven Tiscione on 12/17/2020. (Vasquez, Lea)
                               (Entered: 12/17/2020)
  12/18/2020           149 Letter documenting motion papers by Anthony J. Annucci, Brian Fischer, Terrence X.
                           Tracy (Attachments: # 1 Exhibit Attached Plea Minutes) (Keane, Michael) (Entered:
                           12/18/2020)
  12/18/2020           150 MOTION to Dismiss for Lack of Prosecution by Anthony J. Annucci, Brian Fischer,
                           Terrence X. Tracy. (Keane, Michael) (Entered: 12/18/2020)
  12/18/2020           151 AFFIDAVIT/DECLARATION in Support re 150 MOTION to Dismiss for Lack of
                           Prosecution filed by Anthony J. Annucci, Brian Fischer, Terrence X. Tracy. (Keane,
                           Michael) (Entered: 12/18/2020)
  12/18/2020           152 MEMORANDUM in Support re 151 Affidavit in Support of Motion, 150 MOTION to
                           Dismiss for Lack of Prosecution filed by Anthony J. Annucci, Brian Fischer, Terrence X.
                           Tracy. (Keane, Michael) (Entered: 12/18/2020)
  01/04/2021           153 Minute Entry for Motion Hearing held on 12/28/2020 before Magistrate Judge Steven
                           Tiscione: Santiago, pro se plaintiff; Keane for Defendants. Docket shall be amended to
                           include the following new contact information for pro se Plaintiff, Jesus Santiago:
                           Lightthinking82@icloud.com; (571) 833-8010. Plaintiff's Motion 147 is denied as
                           improperly filed. Plaintiff intends to file a motion for spoliation based on the loss of court
                           records regarding Plaintiff's initial sentencing. Plaintiff will respond in writing to the
                           Motion to Dismiss by January 15, 2021. Parties advise that they are otherwise finished
                           with discovery and ready to proceed to the next stage. (Vasquez, Lea) (Entered:
                           01/04/2021)
  01/27/2021           154 Mail Returned as Undeliverable: Copy of Minute entry 153 . Mail sent to Jesus Santiago
                           1407 Lantry Court Orlando, FL 32804. Postal Notation: Return to sender, Not deliverable
                           as addressed, unable to forward. (Tavarez, Jennifer) (Entered: 02/04/2021)
  02/16/2021           155 RESPONSE to Motion re 150 MOTION to Dismiss for Lack of Prosecution and
                           MOTION for SPOLIATION Of EVIDENCE filed by Jesus Santiago. (Tavarez, Jennifer)
                           (Entered: 02/16/2021)
  03/23/2021           156 REPLY to Response to Motion re 150 MOTION to Dismiss for Lack of Prosecution and
                           response to spoliation motion in docket 155 filed by Anthony J. Annucci, Brian Fischer,
                           Terrence X. Tracy. (Keane, Michael) (Entered: 03/23/2021)
  03/23/2021           157 Letter from Jesus Santiago submitting a Motion of Request re: discovery. (See letter for
                           details) (Tavarez, Jennifer) (Entered: 03/23/2021)
  03/24/2021           158 Letter dated 3/23/2021 from Jesus Santiago informing the Court that he no longer wants
                           to engage in communication with the Court or the Attorney General due to misleading
                           information. Pro se Plaintiff requests the Court contact his mother if the Court must send
                           a final notice or speak to him. (Mother's contact information is provided in the letter)
                           (Tavarez, Jennifer) (Entered: 03/25/2021)

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  04/01/2021                   ORDER REFERRING MOTION: 148 MOTION for Disclosure to release the complete
                               file, to speak with original sentencing judge, to respect the subpoena and provide the
                               documents that were requested, filed by Jesus Santiago, 150 MOTION to Dismiss for
                               Lack of Prosecution filed by Anthony J. Annucci, Terrence X. Tracy, Brian Fischer
                               Ordered by Judge Kiyo A. Matsumoto on 4/1/2021. Motions referred to Steven Tiscione.
                               (Williams-Jackson, Sandra) (Entered: 04/01/2021)
  04/22/2021                   ORDER deferring ruling on 148 Motion for Disclosure. A motion hearing will be held by
                               phone before the undersigned at 11:30 AM on May 17, 2021. The parties shall connect to
                               the hearing through dial-in number 888-557-8511 with access code 3152145.

                               THE PARTIES ARE REMINDED that audio or video recording of proceedings by any
                               party other than the Court, is strictly prohibited by Local Civil Rule 1.8. Violation of this
                               rule may result in sanctions, including removal of court issued media credentials,
                               restricted entry to future hearings, denial of entry to future hearings, or any other
                               sanctions deemed appropriate by the Court.

                               Counsel for Defendants shall forward a copy of this order to Plaintiff. So Ordered by
                               Magistrate Judge Steven Tiscione on 4/22/2021. (Trimes, Alexander) (Entered:
                               04/22/2021)
  05/11/2021           159 NOTICE of Appearance by Robert Howard Rickner on behalf of Jesus Santiago (aty to
                           be noticed) (Rickner, Robert) (Entered: 05/11/2021)
  05/18/2021           160 Minute Order for Motion Hearing held on 5/17/2021 before Magistrate Judge Steven
                           Tiscione: Rickner for Plaintiff; Keane for Defendants. Plaintiff recently retained new
                           counsel, Mr. Rickner, who requested some time to familiarize himself with the case and
                           obtain relevant files from prior counsel and Defendants. Plaintiff's MOTION to release
                           the complete file, to speak with original sentencing judge, to respect the subpoena and
                           provide the documents that were requested 148 is denied at this time. Plaintiff's new
                           counsel will review the files, determine if materials are missing, and will confer with
                           Defendants to obtain any missing documents prior to filing any discovery motions. In
                           light of retention of new counsel, Defendants' Motion to Dismiss for Lack of Prosecution
                           150 is terminated without prejudice to renew if Plaintiff again disappears from the case.
                           The Court will hold a telephone conference on July 16, 2021 at 10:30 a.m. Unless
                           otherwise directed, the parties shall use the same dial-in information provided for todays
                           call.(FTR Log #AT&T (11:30 - 11:50).) (Vasquez, Lea) (Entered: 05/18/2021)
  07/13/2021                   Due to a conflict in the Court's calendar, the telephone conference scheduled for 10:30
                               a.m. on July 16th will instead begin at 4:30 p.m. on the same date. Counsel shall use the
                               same dial-in information previously provided. So Ordered by Magistrate Judge Steven
                               Tiscione on 7/13/2021. (Vasquez, Lea) (Entered: 07/13/2021)
  07/19/2021           161 Minute Entry for Telephone Conference held on 7/16/2021 before Magistrate Judge
                           Steven Tiscione: Rickner for Plaintiff; Keane for Defendants. Mr. Rickner reports that he
                           has received some of the underlying file and Defendants have agreed to produce whatever
                           materials Mr. Rickner has not been able to receive from Plaintiff's prior attorneys. Parties
                           also need some additional time to exchange documents on damages that had not
                           previously been exchanged. The Court will hold a further telephone conference on
                           September 17, 2021 at 11:00 a.m. (Vasquez, Lea) (Entered: 07/19/2021)
  09/15/2021           162 Consent MOTION to Adjourn Conference by Jesus Santiago. (Rickner, Robert) (Entered:
                           09/15/2021)
  09/15/2021                   ORDER denying 162 Motion to Adjourn Conference. The conference will proceed as
                               scheduled. So Ordered by Magistrate Judge Steven Tiscione on 9/15/2021. (Vasquez,

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                             Lea) (Entered: 09/15/2021)
  09/17/2021           163 Minute Entry for Telephone Conference held on 9/17/2021 before Magistrate Judge
                           Steven Tiscione: Rickner for Plaintiff; Keane for Defendants. Parties report that they are
                           making progress on the remaining outstanding discovery and expect to be complete in the
                           next month. The Court will hold a telephone conference on October 27, 2021 at 11:00
                           a.m. The parties shall connect to the conference through dial-in number 888-557-8511
                           with access code 3152145. (Vasquez, Lea) (Entered: 09/17/2021)
  10/28/2021           164 Minute Entry for Telephone Conference held on 10/27/2021 before Magistrate Judge
                           Steven Tiscione: Rickner for Plaintiff; Keane for Defendants. Parties report that some
                           limited discovery remains. All remaining discovery shall be completed by November 30,
                           2021. Parties shall file the Joint Pretrial Order by January 31, 2022. (Vasquez, Lea)
                           (Entered: 10/28/2021)
  01/27/2022           165 Joint MOTION for Extension of Time to File JPTO by Jesus Santiago. (Rickner, Robert)
                           (Entered: 01/27/2022)
  01/27/2022                   ORDER granting 165 Motion for Extension of Time to File. The time to submit the Joint
                               Pre-Trial Order is extended to February 14, 2022. So Ordered by Magistrate Judge Steven
                               Tiscione on 1/27/2022. (Vasquez, Lea) (Entered: 01/27/2022)
  02/14/2022           166 MOTION for Extension of Time to File Proposed Joint Pre-trial Order by Anthony J.
                           Annucci, Brian Fischer, Terrence X. Tracy. (Keane, Michael) (Entered: 02/14/2022)
  02/14/2022                   ORDER granting 166 Motion for Extension of Time to File. The time to submit the Joint
                               Pre-Trial Order is extended to February 18, 2022. So Ordered by Magistrate Judge Steven
                               Tiscione on 2/14/2022. (Vasquez, Lea) (Entered: 02/14/2022)
  02/18/2022           167 Joint MOTION for Extension of Time to File JPTO by Jesus Santiago. (Rickner, Robert)
                           (Entered: 02/18/2022)
  02/22/2022           168 Proposed Pretrial Order Joint by Jesus Santiago (Rickner, Robert) (Entered: 02/22/2022)
  02/23/2022                   ORDER finding as moot 167 Motion for Extension of Time to File. The parties have filed
                               the pre-trial Order. So Ordered by Magistrate Judge Steven Tiscione on 2/23/2022.
                               (Vasquez, Lea) (Entered: 02/23/2022)
  03/17/2022                   SCHEDULING ORDER: A telephone conference will be held at 10:00 a.m. on March 22,
                               2022 before the undersigned. Counsel for all parties must participate and shall connect to
                               the conference through dial-in number 888-557-8511 with access code 3152145.

                               THE PARTIES ARE REMINDED that audio or video recording of proceedings by
                               any party other than the Court, is strictly prohibited by Local Civil Rule 1.8.
                               Violation of this rule may result in sanctions, including removal of court issued
                               media credentials, restricted entry to future hearings, denial of entry to future
                               hearings, or any other sanctions deemed appropriate by the Court.

                               So Ordered by Magistrate Judge Steven Tiscione on 3/17/2022. (Vasquez, Lea) (Entered:
                               03/17/2022)
  03/28/2022           169 Minute Entry for Telephone Conference held on 3/22/2022 before Magistrate Judge
                           Steven Tiscione: Rickner for Plaintiff; Keane for Defendants. Defendants are attempting
                           to obtain additional authority to settle this matter or at least be in a position to engage in
                           productive mediation. By April 19, 2022, the parties shall file a joint status report and
                           advise the Court whether the case has been resolved, the parties want to be referred to
                           mediation or that the case should be scheduled for trial on damages. (Vasquez, Lea)
                           (Entered: 03/28/2022)

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  04/19/2022           170 STATUS REPORT by Anthony J. Annucci, Brian Fischer, Terrence X. Tracy (Keane,
                           Michael) (Entered: 04/19/2022)
  04/26/2022                   ORDER re 170 Status Report filed by Anthony J. Annucci, Terrence X. Tracy, Brian
                               Fischer. Counsel shall electronically file an updated status report by 4/27/2022. So
                               Ordered by Magistrate Judge Steven Tiscione on 4/26/2022. (Vasquez, Lea) (Entered:
                               04/26/2022)
  04/27/2022           171 STATUS REPORT re settlement and mediation by Anthony J. Annucci, Brian Fischer,
                           Terrence X. Tracy (Keane, Michael) (Entered: 04/27/2022)
  04/28/2022                   SCHEDULING ORDER re 171 Status Report filed by Anthony J. Annucci, Terrence X.
                               Tracy, Brian Fischer: A telephone conference will be held at 10:00 a.m. on May 4, 2022
                               before the undersigned. Counsel for all parties must participate and shall connect to the
                               conference through dial-in number 888-557-8511 with access code 3152145.

                               THE PARTIES ARE REMINDED that audio or video recording of proceedings by
                               any party other than the Court, is strictly prohibited by Local Civil Rule 1.8.
                               Violation of this rule may result in sanctions, including removal of court issued
                               media credentials, restricted entry to future hearings, denial of entry to future
                               hearings, or any other sanctions deemed appropriate by the Court.

                               So Ordered by Magistrate Judge Steven Tiscione on 4/28/2022. (Vasquez, Lea) (Entered:
                               04/28/2022)
  05/09/2022           172 Minute Entry for Telephone Conference held on 5/4/2022 before Magistrate Judge Steven
                           Tiscione: Rickner for Plaintiff; Keane for Defendants. Parties report that settlement
                           discussions were unsuccessful and additional mediation would not be helpful at this time.
                           Discovery is complete and the parties have already filed a JPTO. Defendants have
                           indicated a desire to file an additional dispositive motion and shall file their pre-motion
                           conference request no later than June 2, 2022 or a letter indicating that they will not be
                           seeking permission to file any additional dispositive motions. Plaintiff does not intend to
                           file any dispositive motions and seeks a trial date in accordance with the District Court's
                           schedule. (Vasquez, Lea) (Entered: 05/09/2022)
  06/02/2022           173 MOTION for pre motion conference by Anthony J. Annucci, Brian Fischer, Terrence X.
                           Tracy. (Keane, Michael) (Entered: 06/02/2022)
  06/03/2022                   ORDER granting 173 Motion for Pre Motion Conference. All parties shall appear for a
                               pre-motion conference on June 15, 2022 at 11:30 am. The parties shall dial into the
                               conference by calling 1-888-684-8852 and entering the following access code: 1312089.
                               The Plaintiff is directed to respond to Defendants' pre-motion letter by June 6, 2022.
                               Ordered by Judge Kiyo A. Matsumoto on 6/3/2022. (Wong, Leah) (Entered: 06/03/2022)
  06/16/2022                   Minute Entry for proceedings held before Judge Kiyo A. Matsumoto: Pre Motion
                               Conference held on 6/15/2022. Appearances: Robert Rickner, Esq. for Plaintiff; Michael
                               Keane, Esq. for the Hochul, et. al. The court held a pre-motion conference in Courtroom
                               6C South on the proposed motion for summary judgment. The parties appeared by
                               telephone.

                               This Court has already ruled on two prior motions for summary judgment filed by
                               Defendants, in 2017 92 and 2019 128 . Because Defendants only alluded to evidence they
                               should have and could have presented in prior motions for summary judgment in
                               Defendants' June 2, 2022 request 173 for a third motion for summary judgment, the Court
                               denied Defendants' request for any additional motion for summary judgment. See Brown
                               v. City of Syracuse, F.3d 141, 147 n.2 (2d Cir. 2012) (holding that "successive motions for
                               summary judgment may be procedurally improper if the arguments in the second motion
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                             could have been raised in the first motion" and making an exception only when "later
                             events in the proceedings affected the factual record and gave the movant reason to make
                             a second motion"); see also Bonano v. Doe, 628 F. App'x 25, 27 (2d Cir. 2015) (affirming
                             the district court's consideration of a second summary judgment motion was appropriate
                             only because the second motion was "accompanied by critical evidence absent from the
                             first summary judgment motion"); Siemens Westinghouse Power Corp. v. Dick Corp., 219
                             F.R.D. 552, 554 (S.D.N.Y. 2004) (concluding that the Court need not approve "piecemeal
                             consideration of successive motions for summary judgment" because parties ought to be
                             "held to the requirement that they present their strongest case for summary judgment
                             when the matter is first raised"). Here, the Court finds that the evidence that Defendants
                             claim will support the proposed third motion for summary judgment was attainable, with
                             due diligence, by the parties and could have been presented in support of Defendants'
                             earlier summary judgment motion(s).

                               The Court reserved November 23, 2022 for jury selection and trial on all issues in this
                               case. The parties are further encouraged to attempt to settle this case with the assistance
                               of Magistrate Steven Tiscione.

                               (Court Reporter Avery Armstrong.) (Wong, Leah) (Entered: 06/16/2022)
  06/16/2022           174 CIVIL PRETRIAL ORDER. It is certified that the attorneys in this case shall be required
                           to appear before this Court for jury selection and trial on November 23, 2022 at 9:00 a.m.
                           See Order for all details. Ordered by Judge Kiyo A. Matsumoto on 6/16/2022. (Wong,
                           Leah) (Entered: 06/16/2022)
  07/08/2022           175 Consent MOTION for Extension of Time to File and exchange motions in limine by
                           Anthony J. Annucci, Brian Fischer, Terrence X. Tracy. (Keane, Michael) (Entered:
                           07/08/2022)
  07/09/2022                   ORDER granting 175 Motion for Extension of Time Until July 13, 2022 to File Motion in
                               Limine. The parties are further encouraged to attempt to settle this case.Ordered by Judge
                               Kiyo A. Matsumoto on 7/9/2022. (Williams-Jackson, Sandra) (Entered: 07/09/2022)
  07/29/2022           176 MOTION in Limine by Anthony J. Annucci, Brian Fischer, Terrence X. Tracy. (Keane,
                           Michael) (Entered: 07/29/2022)
  07/29/2022           177 AFFIDAVIT/DECLARATION in Support re 176 MOTION in Limine filed by Anthony J.
                           Annucci, Brian Fischer, Terrence X. Tracy. (Attachments: # 1 Exhibit A - Plea Minutes, #
                           2 Exhibit B - Va. Sentencing Orders, # 3 Exhibit C - Cert Pet. of Kings DA, # 4 Exhibit
                           D-Reply Cert Pet. of Kings DA, # 5 Exhibit E - Man DA Sparber Brief to Ct Appeals, # 6
                           Exhibit F - Sentence Monitoring Computation Data for Jesus Santiago) (Keane, Michael)
                           (Entered: 07/29/2022)
  07/29/2022           178 MEMORANDUM in Support re 176 MOTION in Limine , 177 Affidavit in Support of
                           Motion, filed by Anthony J. Annucci, Brian Fischer, Terrence X. Tracy. (Keane, Michael)
                           (Entered: 07/29/2022)
  07/29/2022           179 RESPONSE in Opposition re 176 MOTION in Limine in opposition to Plaintiff's motions
                           in limine filed by Anthony J. Annucci, Brian Fischer, Terrence X. Tracy. (Keane,
                           Michael) (Entered: 07/29/2022)
  07/29/2022           180 REPLY in Support re 179 Response in Opposition to Motion, 178 Memorandum in
                           Support, 176 MOTION in Limine , 177 Affidavit in Support of Motion, and in opposition
                           to Plaintiff's motions in limine filed by Anthony J. Annucci, Brian Fischer, Terrence X.
                           Tracy. (Keane, Michael) (Entered: 07/29/2022)
  07/30/2022           181 MOTION in Limine by Jesus Santiago. (Rickner, Robert) (Entered: 07/30/2022)

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  07/30/2022           182 AFFIDAVIT/DECLARATION in Support re 181 MOTION in Limine filed by Jesus
                           Santiago. (Attachments: # 1 Exhibit A, # 2 Exhibit B) (Rickner, Robert) (Entered:
                           07/30/2022)
  07/30/2022           183 RESPONSE in Opposition re 176 MOTION in Limine filed by Jesus Santiago. (Rickner,
                           Robert) (Entered: 07/30/2022)
  08/26/2022           184 First MOTION for Extension of Time to File revised proposed JPTO by Anthony J.
                           Annucci, Brian Fischer, Terrence X. Tracy. (Keane, Michael) (Entered: 08/26/2022)
  08/31/2022           185 REVISED JOINT PRETRIAL ORDER by Anthony J. Annucci, Brian Fischer, Terrence
                           X. Tracy (Keane, Michael) Modified on 9/26/2022 (Williams-Jackson, Sandra). (Entered:
                           08/31/2022)
  09/08/2022                   ORDER granting 184 Motion for Extension of Time to File. The parties are directed to
                               file a Revised Joint Pretrial Order before close of business on Monday, September 12,
                               2022. Ordered by Judge Kiyo A. Matsumoto on 9/8/2022. (Williams-Jackson, Sandra)
                               (Entered: 09/08/2022)
  10/14/2022           186 NOTICE of Appearance by Rebecca A. Durden on behalf of Anthony J. Annucci, Brian
                           Fischer, Terrence X. Tracy (aty to be noticed) (Durden, Rebecca) (Entered: 10/14/2022)
  10/17/2022                   STATUS CONFERENCE ORDER. The parties are ordered to appear for a status
                               conference tomorrow, October 18, 2022 at 3:00 pm in Courtroom 6C South before
                               Judge Kiyo A. Matsumoto. The parties shall appear by telephone. The parties shall dial
                               into the conference by calling 1-888-684-8852 and entering the following access code:
                               1312089. The parties should be prepared to discuss their respective motions in limine.
                               Ordered by Judge Kiyo A. Matsumoto on 10/17/2022. (LW) (Entered: 10/17/2022)
  10/18/2022           187 Witness List by Anthony J. Annucci, Brian Fischer, Terrence X. Tracy, Proposed Findings
                           of Fact by Anthony J. Annucci, Brian Fischer, Terrence X. Tracy, Proposed Jury
                           Instructions/Verdict Form by Anthony J. Annucci, Brian Fischer, Terrence X. Tracy,
                           Proposed Voir Dire by Anthony J. Annucci, Brian Fischer, Terrence X. Tracy, Exhibit List
                           Proposed (Revised) Joint Pretrial Order by Anthony J. Annucci, Brian Fischer, Terrence
                           X. Tracy. (Keane, Michael) (Entered: 10/18/2022)
  10/18/2022           188 Letter MOTION to Adjourn Conference on November 18 and Trial on November 23,
                           2022 by Anthony J. Annucci, Brian Fischer, Terrence X. Tracy. (Keane, Michael)
                           (Entered: 10/18/2022)
  10/18/2022           189 Consent MOTION to Adjourn Conference by Jesus Santiago. (Rickner, Robert) (Entered:
                           10/18/2022)
  10/18/2022                   ORDER granting 189 Motion to Adjourn Conference. The status conference scheduled
                               for today at 3:00 pm is adjourned to October 25, 2022 at 3:30 pm. Ordered by Judge Kiyo
                               A. Matsumoto on 10/18/2022. (LW) (Entered: 10/18/2022)
  10/18/2022                   AMENDED ORDER. The Court's order granting 189 Motion to Adjourn Conference is
                               amended to clarify that parties shall dial into the conference by calling 1-888-684-8852
                               and entering the following access code: 1312089. The parties should be prepared to
                               discuss their respective motions in limine and Defendants' 188 motion to adjourn the trial.
                               The status conference is scheduled for October 25, 2022 at 3:30 pm. Ordered by Judge
                               Kiyo A. Matsumoto on 10/18/2022. (LW) (Entered: 10/18/2022)
  10/25/2022                   ORDER. Due to a scheduling conflict for the Court, the pre motion conference hearing
                               scheduled for 3:30 pm today, on October 25, 2022, has been respectfully adjourned until
                               4:00 pm today, on October 25, 2022. The parties shall dial into the conference by calling


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                             1-888-684-8852 and entering the following access code: 1312089. Ordered by Judge
                             Kiyo A. Matsumoto on 10/25/2022. (LW) (Entered: 10/25/2022)
  10/26/2022                   Minute Entry for proceedings held before Judge Kiyo A. Matsumoto: Status Conference
                               held on 10/25/2022. Appearances: Robert H. Rickner, Esq. for Plaintiff; Michael J.
                               Keane, Esq. for Defendants. The parties discussed Defendants' motion, which Plaintiff
                               opposes, to adjourn the trial, currently scheduled for jury selection on November 23,
                               2022, to a later date. The Court noted that the trial date was set at a conference on June
                               16, 2022, with input from both counsel, and denies the Defendants' adjournment motion
                               because it would delay trial until late 2023 due to the parties' counsel's schedules, the
                               Court's calendar, and the parties' expectations that this trial should take no longer than
                               one week if appropriately focused on the issue of damages for the Plaintiff. Accordingly,
                               jury selection for the trial will begin on November 23, 2022 and the trial will start on
                               November 28, 2022 and continue through December 2, 2022.

                               The Court orders the parties to meet and confer and file a joint stipulation, or amended
                               pre-trial order including stipulations, to facts and law which have been agreed to by all
                               parties by November 4, 2022. The Court specifically directs the parties to provide
                               stipulations of fact related to all sentences and periods of supervision of Plaintiff by
                               federal, State of Virginia, and State of New York authorities. The parties were advised
                               that speculative evidence and arguments as to what might have occurred will be
                               precluded. The Court also advised the parties that it disagrees with Defendants' position
                               that Plaintiff is limited to recovering nominal damages. See Kerman v. City of New York,
                               374 F.3d 93, 128-29 (2d Cir. 2004) ("[I]t was fundamental error for the trial court to fail
                               to instruct the jury that, upon finding that [defendant] unlawfully deprived [plaintiff] of
                               his liberty, the jury could award [plaintiff] compensatory damages for that loss of
                               liberty.").

                               The parties are again strongly encouraged to consider engaging in good faith settlement
                               discussions. The parties may contact Magistrate Judge Tiscione if they believe Judge
                               Tiscione's assistance would be helpful to settlement. The parties are further reminded of
                               their obligation to cooperate and work together in good faith as this case progresses.
                               (Court Reporter Rivka Teich) (LW). (Entered: 10/26/2022)
  11/04/2022           190 Joint MOTION for Extension of Time to File Stipulations by Anthony J. Annucci, Brian
                           Fischer, Terrence X. Tracy. (Keane, Michael) (Entered: 11/04/2022)
  11/04/2022                   ORDER granting 190 Motion for Extension of Time to File. The parties are granted until
                               November 9, 2022 to file their joint stipulations of fact and law. The parties are also to
                               submit a status update by that date on any settlement negotiation efforts. Ordered by
                               Judge Kiyo A. Matsumoto on 11/4/2022. (LW) (Entered: 11/04/2022)
  11/09/2022           191 Joint MOTION for Extension of Time to File Stipulations of Fact and Law by Anthony J.
                           Annucci, Brian Fischer, Terrence X. Tracy. (Keane, Michael) (Entered: 11/09/2022)
  11/10/2022                   ORDER granting 191 Motion for Extension of Time to File. The parties are granted until
                               TOMORROW November 11, 2022 to file their joint stipulations of fact and law. The
                               parties are also to submit a status update by that date on all settlement negotiation efforts.
                               Ordered by Judge Kiyo A. Matsumoto on 11/10/2022. (LW) (Entered: 11/10/2022)
  11/11/2022           192 Consent MOTION to Adjourn Conference Briefly Adjourn Trial Due to Conflict With
                           Another EDNY Case by Jesus Santiago. (Rickner, Robert) (Entered: 11/11/2022)
  11/11/2022           193 STATUS REPORT Stipulations of Fact and Law by Anthony J. Annucci, Brian Fischer,
                           Terrence X. Tracy (Attachments: # 1 Proposed Findings of Fact and Conclusions of Law)
                           (Keane, Michael) (Entered: 11/11/2022)

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  11/12/2022                   ORDER re 192 Motion to Adjourn Conference. The request to adjourn the trial which
                               was scheduled on June 16, 2022, to select the jury on November 23, 2022, and to begin
                               on November 28, 2022, is respectfully denied. The court's trial schedule and other
                               pending matters cannot accommodate the adjournment request. Ordered by Judge Kiyo
                               A. Matsumoto on 11/12/2022. (SW) (Entered: 11/12/2022)
  11/16/2022           194 MOTION to Appear by Telephone/Video on behalf of defendant Commissioner Annucci
                           by Anthony J. Annucci, Brian Fischer, Terrence X. Tracy. (Keane, Michael) (Entered:
                           11/16/2022)
  11/16/2022                   ORDER denying 194 Motion to Appear by Telephone/Video. Defendants' motion for
                               Defendant Anthony J. Annucci to appear by video for his trial testimony is respectfully
                               denied. Rodriguez v. Gusman, 974 F.3d 108, 114 (2d Cir. 2020)("Under Federal Rule of
                               Civil Procedure 43(a), 'the judge has discretion to allow live testimony by video for good
                               cause in compelling circumstances and with appropriate safeguards.'"). Plaintiff is
                               entitled to have the witness cross-examined in open court and the jury is best served by
                               being able observe Defendant Annucci's demeanor during direct and cross-examination.
                               Teller v. Helbrans, No. 19-cv-3172-SJB, 2019 WL 3975555, at *2 (E.D.N.Y. Aug. 21,
                               2019)("The opportunity to judge the demeanor of a witness face-to-face is accorded great
                               value in our tradition. Transmission cannot be justified merely by showing that it is
                               inconvenient for the witness to attend the trial." (quoting Fed. R. Civ. P. 43 advisory
                               committee's note to 1996 amendment)). Ordered by Judge Kiyo A. Matsumoto on
                               11/16/2022. (LW) (Entered: 11/16/2022)
  11/18/2022                   Minute Order for proceedings held before Judge Kiyo A. Matsumoto: granting in part and
                               denying in part 176 Motion in Limine; granting in part and denying in part 181 Motion in
                               Limine; Final Pretrial Conference held on 11/18/2022. Robert Rickner, Esq. for Plaintiff;
                               Michael Keane, Esq. and Rebecca Durden, Esq. for Defendants. The Defendants' motions
                               in limine 176 and Plaintiff's motions in limine 181 were discussed. The Court ruled on the
                               parties' motions in limine and discussed trial logistics.

                               For the reasons stated on the record:

                               (1) Defendants' motion 176 to preclude Plaintiff from offering speculation that he would
                               have been relieved of post-release supervision ("PRS") or at liberty, given Penal Law §
                               70.45 and his sentences imposed by courts in the federal system and in the State of
                               Virginia, is GRANTED. No parties may offer speculative arguments. Thus, Defendants
                               are also precluded from offering speculation that Plaintiff would not have been relieved
                               of post-release supervision or at liberty, had Defendants timely sought resentencing.

                               (2) Defendants' motion 176 to permit Defendants to introduce evidence as to Plaintiff's
                               sentences imposed by courts in the federal system and in the State of Virginia is
                               GRANTED, only to the extent that the sentences were imposed prior to June 12, 2007,
                               when Plaintiff commenced serving a sentence as a result of Defendants' unlawful
                               imposition of PRS. As to Defendants' request to "introduce evidence as to Penal Law §
                               70.45," and despite Defendants' failure to include any argument or analysis in their
                               motions, the parties may submit briefing by November 21, 2022, at 12:00 p.m., regarding
                               the relevance of Penal Law § 70.45 to punitive damages.

                               (3) Defendants' motion 176 to permit Defendants to argue that they were not the cause of
                               any damages Plaintiff claims and to introduce evidence of the positions taken by District
                               Attorneys and State courts as to PRS is DENIED.

                               (4) Defendants' motion 176 to permit Defendants to introduce evidence that Plaintiff
                               would have been incarcerated or would have been serving terms of supervision in any

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                             event, even if Plaintiff had not been serving PRS in New York, is DENIED.

                               (5) Defendants' motion 176 to require Plaintiff to bear the burden of proof that his life
                               would have been different had he been resentenced at an earlier date is DENIED.

                               (6) Defendants' motion 176 to permit Defendants to offer evidence of Plaintiff's criminal
                               and parole history, including Plaintiff's criminal convictions and parole violations in New
                               York, Virginia, and the federal system; AND

                               (7) Plaintiff's motion 181 to exclude Plaintiff's criminal history, specifically to limit the
                               use of the history for impeaching Plaintiff, is DENIED IN PART AND GRANTED IN
                               PART. The motions with respect to Plaintiff's criminal history will be resolved by the
                               parties submitting Amended Stipulations of Facts and Law that may be marked as an
                               exhibit and read into the trial record if authorized by the Court. The parties are to amend
                               their prior Stipulations of Facts and Law 193 to omit Plaintiff's criminal history after June
                               12, 2007. The parties shall include the Amended Stipulations of Facts and Law in the
                               Final Joint Pre-Trial Order.

                               (8) Plaintiff's motion 181 to order Defendants to limit their witness list is GRANTED.
                               Defendants are to review and amend their witness and exhibit lists as set forth in the
                               previously submitted Proposed Joint Pre-Trial Order 168 and meet and confer with
                               Plaintiff to submit a FINAL Joint Pre-Trial Order by November 21, 2022 at 12:00 p.m.
                               Defendants are ordered to provide the Court and Plaintiff's counsel with copies of its
                               previously produced Rule 26 disclosures by November 19, 2022, no later than 5:00 p.m.
                               The parties are advised that any witness not disclosed in their Rule 26 disclosures or
                               during discovery will not be permitted to testify at trial, if opposing party objects.

                               In summary, by November 21, 2022 at 12:00 p.m., the parties are to submit (1) additional
                               briefing on the introduction of Penal Law § 70.45 as evidence and its relevance to
                               punitive damages; (2) a Final Joint Pre-Trial Order with (a) Amended Stipulations of
                               Facts and Law, and (b) Amended Witness and Exhibit Lists. By November 19, 2022, at
                               5:00 p.m., Defendants must provide copies of their previously produced Rule 26
                               disclosures to facilitate the submission of an updated and accurate Final Joint Pre-Trial
                               Order.

                               By November 21, 2022 at 12:00 p.m., the parties shall also provide the Court with two
                               copies of all UPDATED exhibits, pre-marked for identification (Plaintiff is to use
                               numbers; Defendants are to use letters), which each party intends to offer in evidence at
                               trial, including: (i) each item of physical or documentary evidence; (ii) any learned
                               treatises or publications to be introduced pursuant to Federal Rule of Evidence 803(18);
                               and (iii) any disc upon which the exhibits have been recorded in digital form, if the party
                               intends to present the evidence at trial digitally. The previously submitted Proposed Joint
                               Pre-Trial Order does not indicate that transcripts of audio or video recordings will be
                               offered either as substantive evidence or aids to the Court. The parties are respectfully
                               ordered to deliver their trial materials by FedEx overnight or by messenger, to the Court's
                               chambers by November 21, 2022 at 12:00 p.m.

                               (Court Reporter Linda Marino) (LW) (Entered: 11/18/2022)
  11/20/2022           195 NOTICE of Appearance by Stephanie Panousieris on behalf of Jesus Santiago (aty to be
                           noticed) (Panousieris, Stephanie) (Entered: 11/20/2022)
  11/21/2022           196 MOTION for Extension of Time to File by Anthony J. Annucci, Brian Fischer, Terrence
                           X. Tracy. (Keane, Michael) (Entered: 11/21/2022)


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  11/21/2022           197 MOTION in Limine re Punitive Damages by Jesus Santiago. (Attachments: # 1 Exhibit
                           Ex. A - Annucci Testimony Excerpt) (Rickner, Robert) (Entered: 11/21/2022)
  11/21/2022           198 MEMORANDUM in Support of relevance of Penal Law 70.45 to Defendants'
                           testimony.endants' testimony filed by Anthony J. Annucci, Brian Fischer, Terrence X.
                           Tracy. (Attachments: # 1 Exhibit A) (Keane, Michael) (Entered: 11/21/2022)
  11/21/2022                   ORDER granting 196 Motion for Extension of Time to File. Extension to submit final
                               stipulations, a final joint pre-trial order, and two binders of final exhibits by 5:00 p.m.
                               today is GRANTED. Ordered by Judge Kiyo A. Matsumoto on 11/21/2022. (LW)
                               (Entered: 11/21/2022)
  11/21/2022           199 Witness List by Anthony J. Annucci, Brian Fischer, Terrence X. Tracy (Keane, Michael)
                           (Entered: 11/21/2022)
  11/22/2022           200 STATUS REPORT by Anthony J. Annucci, Brian Fischer, Terrence X. Tracy (Keane,
                           Michael) (Entered: 11/22/2022)
  11/22/2022           201 Proposed Findings of Fact by Anthony J. Annucci, Brian Fischer, Terrence X. Tracy
                           (Keane, Michael) (Entered: 11/22/2022)
  11/23/2022                   Minute Entry for proceedings held before Judge Kiyo A. Matsumoto:Jury Selection held
                               on 11/23/2022. Robert Rickner, Esq. for Plaintiff and Stephanie Panousieris, Esq.;
                               Michael Keane, Esq. and Rebecca Durden, Esq. for Defendants. All parties were present.
                               Case called. Jury selected and dismissed. Jury trial is scheduled to begin on November
                               28, 2022 at 9:00 a.m. in Courtroom 6C South before Judge Matsumoto. (Court Reporter
                               Georgette Betts.) (SW) (Entered: 11/23/2022)
  11/25/2022           202 ORDER denying 198 Defendants' Motion in Limine. For the reasons set forth in the
                           attached Memorandum and Order, the Court DENIES Defendants' request to "introduce
                           evidence as to Penal Law § 70.45," its legislative history, and subsequent amendments at
                           trial. Ordered by Judge Kiyo A. Matsumoto on 11/25/2022. (LW) (Entered: 11/25/2022)
  11/28/2022                   Minute Entry for proceedings held before Judge Kiyo A. Matsumoto:Jury Trial held on
                               11/28/2022. Case Called. All jurors were present. opening statements heard from both
                               sides. Witnesses sworn and testified. Exhibits entered, and both sides rested. Jury trial to
                               be continued on 11/29/22 at 9:00am. (Court Reporter Michele Lucchese.) (SW) Modified
                               on 11/29/2022 (SW). (Entered: 11/28/2022)
  11/28/2022                   ORDER ON DEFENDANTS' MOTION TO PRECLUDE PUNITIVE DAMAGES. The
                               Court respectfully denies Defendants' motion to preclude punitive damages, based on the
                               evidence in the record, the decisions of the Second Circuit, and this Court's prior rulings.
                               Ordered by Judge Kiyo A. Matsumoto on 11/28/2022. (LW) (Entered: 11/28/2022)
  11/28/2022           203 Proposed Jury Instructions. The attached proposed jury instructions are marked as Court
                           Exhibit 1. Ordered by Judge Kiyo A. Matsumoto on 11/28/2022. (LW) (Entered:
                           11/28/2022)
  11/28/2022           204 Proposed Verdict Form. The attached proposed verdict sheet is marked as Court Exhibit
                           1A. Ordered by Judge Kiyo A. Matsumoto on 11/28/2022. (LW) (Entered: 11/28/2022)
  11/29/2022                   Minute Entry for proceedings held before Judge Kiyo A. Matsumoto:Charging
                               Conference held on 11/29/2022. Robert Rickner, Esq. for Plaintiff and Stephanie
                               Panousieris, Esq.; Michael Keane, Esq. and Rebecca Durden, Esq. for Defendants. All
                               parties were present. (Court Reporter Leeann Musolf.) (SW) (Entered: 11/29/2022)
  11/29/2022           205 Final Jury Charge and Verdict Sheet. The attached Jury Charge is marked as Court
                           Exhibit 2 and the attached Verdict Form is marked as Court Exhibit 2A. Both court

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                             exhibits reflect changes from the 11/29/22 charging conference. (Attachments: # 1 Verdict
                             Form Court Exhibit 2A) (LW) (Entered: 11/29/2022)
  11/29/2022                   Minute Entry for proceedings held before Judge Kiyo A. Matsumoto:Jury Trial held on
                               11/29/2022.Robert Rickner, Esq. for Plaintiff and Stephanie Panousieris, Esq.; Michael
                               Keane, Esq. and Rebecca Durden, Esq. for Defendants. All jurors present. Closing
                               arguments heard from both sides. Jury charged and deliberations began. Jury
                               deliberations to be continued on 11/30/2022 at 9:00am. (Court Reporter Leeann Musolf.)
                               (SW) (Entered: 11/29/2022)
  11/30/2022           206 Court Exhibit and Witness List. (SW) (Entered: 11/30/2022)
  11/30/2022           207 Jury Notes (SW) (Entered: 11/30/2022)
  11/30/2022           208 JURY VERDICT. (SW) (Entered: 11/30/2022)
  11/30/2022                   Minute Entry for proceedings held before Judge Kiyo A. Matsumoto:Jury Trial completed
                               on 11/30/2022. Appearances: Robert Rickner, Esq. for Plaintiff and Stephanie
                               Panousieris, Esq.; Michael Keane, Esq. and Rebecca Durden, Esq. for Defendants. Jury
                               Trial completed on 11/30/22. Case called. All jurors present. The jurors continued their
                               deliberations. Verdict returned for the Plaintiff against Defendants for compensatory and
                               punitive damages. The jury was polled and dismissed. Defendants orally renewed their
                               Federal Rule Civil Procedure 50 motion to dismiss Plaintiffs claim of punitive damages,
                               and requested an extension of time to submit their supporting papers. The motion is
                               deemed made and the Court scheduled briefing as follows: Defendants shall serve but not
                               file their motion papers on Plaintiff by January 12, 2023; Plaintiff shall serve, but not file,
                               its response on Defendants by February 13, 2023; Defendant shall serve a reply on
                               Plaintiff, if any, by February 20, 2023. On that date, parties shall file the entire set of
                               motion papers in logical order on ECF and send two courtesy copies by FedEx or
                               messenger to Chambers.(Court Reporter Michele Luchese.) (SW) (Entered: 11/30/2022)
  11/30/2022           209 JUDGMENT in favor of Jesus Santiago against Anthony J. Annucci, Brian Fischer,
                           Terrence X. Tracy.Ordered by Judge Kiyo A. Matsumoto on 11/30/2022. (SW) (SW).
                           (Entered: 11/30/2022)
  11/30/2022           210 Consent MOTION for Extension of Time to File Any Application for Costs and Fees by
                           Jesus Santiago. (Rickner, Robert) (Entered: 11/30/2022)
  12/07/2022                   ORDER granting 210 Motion for Extension of Time to File a motion for costs and fees
                               under 42 U.S.C. § 1988 and costs underFederal Rule of Civil Procedure 54 and Local
                               Civil Rule 54.1. Ordered by Judge Kiyo A. Matsumoto on 12/7/2022. (SW) (Entered:
                               12/07/2022)
  12/28/2022           211 MOTION for New Trial , MOTION for Judgment as a Matter of Law by Anthony J.
                           Annucci, Brian Fischer, Terrence X. Tracy. (Keane, Michael) (Entered: 12/28/2022)
  12/28/2022           212 Letter re briefing and motion schedule by Anthony J. Annucci, Brian Fischer, Terrence X.
                           Tracy (Keane, Michael) (Entered: 12/28/2022)
  02/20/2023           213 MEMORANDUM in Support re 211 MOTION for New Trial MOTION for Judgment as
                           a Matter of Law pursuant to Federal Rules 50 and 59 filed by Anthony J. Annucci, Brian
                           Fischer, Terrence X. Tracy. (Keane, Michael) (Entered: 02/20/2023)
  02/20/2023           214 MEMORANDUM in Opposition re 211 MOTION for New Trial MOTION for Judgment
                           as a Matter of Law filed by Jesus Santiago. (Rickner, Robert) (Entered: 02/20/2023)
  02/20/2023           215 RESPONSE in Opposition re 211 MOTION for New Trial MOTION for Judgment as a
                           Matter of Law Reply Memorandum filed by Anthony J. Annucci, Brian Fischer, Terrence
                           X. Tracy. (Keane, Michael) (Entered: 02/20/2023)
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  02/21/2023           216 NOTICE of Appearance by Joel Abbott Wertheimer on behalf of Jesus Santiago (aty to be
                           noticed) (Wertheimer, Joel) (Entered: 02/21/2023)
  03/24/2023           217 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on 11/28/2023,
                           before Judge Kiyo A. Matsumoto. Court Reporter/Transcriber Michele Lucchese,
                           Telephone number 718-613-2272. Email address: MLuccheseEDNY@gmail.com.
                           Transcript may be viewed at the court public terminal or purchased through the Court
                           Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                           date it may be obtained through PACER.File redaction request using event "Redaction
                           Request - Transcript" located under "Other Filings - Other Documents". Redaction
                           Request due 4/14/2023. Redacted Transcript Deadline set for 4/24/2023. Release of
                           Transcript Restriction set for 6/22/2023. (Lucchese, Michele) (Entered: 03/24/2023)
  03/24/2023           218 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on 11/30/2023,
                           before Judge Kiyo A. Matsumoto. Court Reporter/Transcriber Michele Lucchese,
                           Telephone number 718-613-2272. Email address: MLuccheseEDNY@gmail.com.
                           Transcript may be viewed at the court public terminal or purchased through the Court
                           Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                           date it may be obtained through PACER.File redaction request using event "Redaction
                           Request - Transcript" located under "Other Filings - Other Documents". Redaction
                           Request due 4/14/2023. Redacted Transcript Deadline set for 4/24/2023. Release of
                           Transcript Restriction set for 6/22/2023. (Lucchese, Michele) (Entered: 03/24/2023)
  03/28/2023           219 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on 11-29-2022,
                           before Judge Kiyo A. Matsumoto. Court Reporter/Transcriber Leeann Musolf, Telephone
                           number (718) 613-2489. Email address: leeann_musolf@nyed.uscourts.gov. Transcript
                           may be viewed at the court public terminal or purchased through the Court
                           Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                           date it may be obtained through PACER.File redaction request using event "Redaction
                           Request - Transcript" located under "Other Filings - Other Documents". Redaction
                           Request due 4/18/2023. Redacted Transcript Deadline set for 4/28/2023. Release of
                           Transcript Restriction set for 6/26/2023. (Musolf, Leeann) (Entered: 03/28/2023)
  04/04/2023           220 Letter regarding controlling authority in Second Circuit oling by Anthony J. Annucci,
                           Brian Fischer, Terrence X. Tracy (Attachments: # 1 Exhibit A - Vincent decision) (Keane,
                           Michael) (Entered: 04/04/2023)
  04/04/2023                   ORDER. The Court is in receipt of Defendants' letter 220 . The parties are respectfully
                               directed to provide supplemental briefing, no longer than three pages, on how the Second
                               Circuit's recent decision in Vincent v. Annucci, No. 21-22, __ F.4th __, 2023 WL 2604235
                               (2d Cir. Mar. 23,2023) impacts the outstanding post-trial motions. The deadline for any
                               supplemental briefing is Thursday, April 6, 2023 5:00 PM. Ordered by Judge Kiyo A.
                               Matsumoto on 4/4/2023. (LW) (Entered: 04/04/2023)
  04/06/2023           222 TRIAL BRIEF re the Vincent Decision by Jesus Santiago (Rickner, Robert) (Entered:
                           04/06/2023)
  04/06/2023           223 Letter regarding VIncent effect on new trial by Anthony J. Annucci, Brian Fischer,
                           Terrence X. Tracy (Keane, Michael) (Entered: 04/06/2023)
  04/16/2023           224 ORDER denying 211 Motion for New Trial; denying 211 Motion for Judgment as a
                           Matter of Law. For the reasons set forth in the attached Memorandum and Order, the
                           Court respectfully denies the Defendants' motions pursuant to Rule 50(b) and 59. The
                           Court directs the parties to confer regarding the award of pre-judgment interest, costs, and
                           attorneys' fees and to jointly report to the Court via ECF within thirty days of this


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                             decision. Ordered by Judge Kiyo A. Matsumoto on 4/16/2023. (LW) (Entered:
                             04/16/2023)
  05/16/2023           225 NOTICE OF APPEAL as to 224 Order on Motion for New Trial,,, Order on Motion for
                           Judgment as a Matter of Law,, 209 Judgment by Anthony J. Annucci, Brian Fischer,
                           Terrence X. Tracy. Filing fee $ 505, receipt number ANYEDC-16706092. (Keane,
                           Michael) (Entered: 05/16/2023)
  05/17/2023                   Electronic Index to Record on Appeal sent to US Court of Appeals. 225 Notice of Appeal,
                               Documents are available via Pacer. For docket entries without a hyperlink or for
                               documents under seal, contact the court and we'll arrange for the document(s) to be made
                               available to you. (VJ) (Entered: 05/17/2023)
  05/17/2023           226 Letter (joint report from parties) by Anthony J. Annucci, Brian Fischer, Terrence X. Tracy
                           (Keane, Michael) (Entered: 05/17/2023)



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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


  JESUS SANTIAGO,
                                                          NOTICE OF CROSS APPEAL
                         Plaintiff,

         -against-                                        Index No. 12-CV-02137 (KAM) (ST)

  BRIAN FISCHER, individually and as
  Commissioner of the New York State
  Department of Corrections and Community
  Supervision, et. al.,

                         Defendants.


        PLEASE TAKE NOTICE that plaintiff JESUS SANTIAGO hereby appeals to the United

 States Court of Appeals for the Second Circuit from the judgment of the United States District

 Court for the Eastern District of New York (Matsumoto, DJ) entered on September 30, 2017

 (Dkt. No. 92), solely to the limited extent that summary dismissal was granted in Defendants’

 favor, and Plaintiff’s motion for summary judgment on liability against Defendants was denied,

 for the time period after February 6, 2008.

 Dated: New York, New York
        May 30, 2023
                                                    Rickner PLLC
                                                    By:         /s/

                                                          Joel Wertheimer
                                                          Rob Rickner

                                                    14 Wall Street, Suite 1603
                                                    New York, New York 10005
                                                    Phone: (212) 300-6506
                                                    Fax: (888) 390-5401
                                                    Attorney for Plaintiff



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(4) A COPY OF ALL RELEVANT OPINIONS/ORDERS FORMING THE BASIS FOR
  THIS APPEAL, INCLUDING TRANSCRIPTS OF ORDERS ISSUED FROM THE
                      BENCH OR IN CHAMBERS
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------X
 JESUS SANTIAGO,
                     Plaintiff,
                                                      MEMORANDUM AND ORDER
        -against-
                                                      12-cv-2137 (KAM) (ST)
 ANDREW M. CUOMO, et al.,

                     Defendants.
 ----------------------------------X

 MATSUMOTO, United States District Judge:

              Plaintiff Jesus Santiago alleges that state officials

 and officers violated his civil rights when they enforced a term

 of post-release supervision (“PRS”) that had been

 administratively added to a custodial sentence.              Before the

 court are the parties’ cross-motions for summary judgment, as

 well as the defendants’ motion to dismiss plaintiff’s § 1983

 claim pursuant to Federal Rule of Civil Procedure 12(b)(6).                 For

 the reasons stated below, the court grants in part and denies in

 part the parties’ motions for summary judgment.              The court

 partially grants defendants’ motion for summary judgment and

 dismisses all defendants except Anthony J. Annucci, Brian

 Fischer, and Terrence X. Tracy, and dismisses plaintiff’s state

 law claims for lack of jurisdiction.           The court denies

 defendant’s motion for summary judgment for defendants Annucci,

 Fischer, and Tracy for the period June 12, 2007 to February 6,




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 2008.    The court grants plaintiff’s motion for summary judgment

 on the liability of defendants Annucci, Fischer, and Tracy for

 the period June 12, 2007 to February 6, 2008.

                                   Background

 A.     Litigation Concerning Post-Release Supervision

              This is the rare case in which many of the issues

 presented by the parties have been extensively litigated before

 other district courts in New York, and before the Second

 Circuit.     See, e.g., Earley v. Murray, 451 F.3d 71 (2d Cir.

 2006) (“Earley I”), reh’g denied, 462 F.3d 147 (2d Cir. 2006)

 (“Earley II”); Vincent v. Yelich, 718 F.3d 157, 173 (2d Cir.

 2013); Betances v. Fischer (“Betances II”), 837 F.3d 162, 165

 (2d Cir. 2016).      The court refers to those decisions for a

 detailed discussion of the factual and legal issues surrounding

 the administrative imposition of PRS, and highlights only the

 key holdings applicable to this action.

              Jena’s Law, enacted in 1998 and codified in part as

 New York Penal Law Section 70.45(1), mandated that “[e]ach

 determinate sentence [of incarceration] also includes, as a part

 thereof, an additional period of post-release supervision.”

 N.Y. Penal Law § 70.45(1) (2005).           Despite Jena’s Law, the

 Second Circuit has noted that “some [State] judges did not

 pronounce PRS terms during sentencing proceedings” and




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 “[i]nstead of bringing the failure to the attention of the

 sentencing court, [the Department of Correctional Services

 (“DOCS”)] simply added the PRS term administratively.”                Betances

 II, 837 F.3d at 165.        In such cases, “the inmates began to serve

 their PRS terms under [Division of Parole (“DOP”)] supervision,”

 and “DOCS and DOP were authorized to reincarcerate an offender

 who, after a hearing, was found to have violated the conditions

 of release.”      Id.

              In 2006, in Earley I, upon a habeas petition, the

 Second Circuit concluded that “the Constitution forbids DOCS

 from modifying a sentence imposed by a judge,” including in

 cases where DOCS had administratively modified a sentence to add

 a period of PRS where such a term was mandated by Section

 70.45(1), but had not been imposed by a sentencing judge.                Id.

 (citing Earley I, 451 F.3d at 74-76).            The Second Circuit

 declared any term of PRS administratively added to a sentence

 but not imposed by a judge to be a “nullity,” id. at 166 (citing

 Earley I, 451 F.3d at 76), and remanded the case for the

 district court’s determination of whether Earley’s habeas

 petition was timely.        If so, the district court was to “issue a

 writ of habeas corpus excising the term of post-release

 supervision from Earley’s sentence and relieving him of any




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 subsequent penalty or other consequences of its imposition.”

 Id. (citing Earley I, 451 F.3d at 76-77.)

              Notwithstanding Earley I, however, “[state] courts

 were inconsistent in adhering to Earley I’s holding,” and

 officials at the DOCS and DOP did not take “significant steps

 towards compliance with Earley I” until 2008, when the New York

 Court of Appeals ruled in People v. Sparber and Garner v. New

 York State Dep’t of Corr. Svs. that “state law required [a

 sentencing] judge to pronounce the term of PRS orally at

 sentencing.”      See Betances, 837 F.3d at 167, 169 (describing

 Court of Appeals decisions in Sparber, 889 N.E.2d 459 (N.Y.

 2008) and Garner, 889 N.E. 2d 467 (N.Y. 2008)).              Also in 2008,

 the New York legislature “codified a process for resentencing

 individuals with unpronounced PRS terms,” which “required DOCS

 and DOP to notify courts if they had custody of or supervision

 over a defendant with an administratively imposed PRS term and

 permitted the sentencing court . . . to resentence the

 defendant . . . .”       Id. at 170 (describing New York Correction

 Law § 601-d).

              The Second Circuit concluded that administrative

 imposition of PRS was not clearly unlawful for qualified

 immunity purposes until the Second Circuit’s decision in Early

 II, which denied defendant’s motion for rehearing, on August 31,




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 2006.    Id. at 172.     After Early II, however, state officials

 were on notice that the practice of non-judicial PRS was

 unconstitutional, and “the State was required either to have

 [persons on whom PRS had been imposed administratively]

 resentenced by the court for the imposition of PRS terms in a

 constitutional manner or to excise the PRS conditions from their

 records and relieve them of those conditions.”              Vincent, 718

 F.3d at 172; see Santiago v. Fischer, 09-cv-1383, 2016 WL

 1118448, at *5 (E.D.N.Y. Mar. 21, 2016) (discussing the

 distinction between the holdings in Scott v. Fischer and Vincent

 v. Yelich).     The Second Circuit also made clear that DOCS had a

 “constitutional obligation to at least attempt to cease its

 administrative and custodial enforcement of PRS terms that had

 been held unlawful under Earley I.”           Betances II, 837 F.3d at

 171 (quoting Vincent, 718 F.3d at 172-73) (internal quotation

 marks omitted).      In Betances II, the Second Circuit determined

 that Anthony J. Annucci, at relevant times the Executive Deputy

 Commissioner of and Counsel to DOCS, Brian Fischer, the

 Commissioner of DOCS, and Terence X. Tracy, the Chief Counsel

 for DOP, “were responsible for designing and implementing their

 departments’ response to Earley I,” but “did not make an

 objectively reasonabl[e] effort to relieve [plaintiffs] of the

 burdens of those unlawfully imposed terms after [they] knew it




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 had been ruled that the imposition violated federal law,” and,

 therefore, were not entitled to qualified immunity.               Id. at 167,

 174 (internal quotation marks and citations omitted).

 A.     Plaintiff’s PRS Term

              On April 22, 2004, plaintiff entered DOCS custody on a

 sentence of three-and-one half years confinement for a class C

 felony of Criminal Possession of a Weapon in the Second Degree.

 (See Declaration of Steven H. Philbrick (“Philbrick Decl.”), ECF

 81 at ¶ 51; Sentence and Order of Commitment, ECF No. 12-3

 (original sentence of January 2, 2002, indicating nunc pro tunc

 sentence received by DOCS on April 22, 2004).)              The sentencing

 judge did not impose a term of post-release supervision on

 plaintiff.     (Sentence and Order of Commitment; Re-sentencing

 Order of Dec. 15, 2010 (“Re-sentencing Order”), Philbrick Decl.

 Ex. E at 1 (reviewing original sentencing records.))

 Nevertheless, on November 7, 2004, after completing his sentence

 of imprisonment, Mr. Santiago was released to DOP custody to

 begin a five-year period of PRS.            (Philbrick Decl. at ¶ 52.)       In

 2005, Mr. Santiago left New York state and was deemed to have

 absconded from parole.        (Id. at ¶ 53; Declaration of Craig

 Mausler, ECF No. 90 at ¶¶ 2-3, Ex. A at 1.)             On April 3, 2007,

 DOP was notified that Mr. Santiago had been arrested in Virginia




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 on “local charges.”       (Parolee Chrono Report (“Chrono Report”),

 Philbrick Decl. Ex. C at 15.)

              On June 12, 2007, Mr. Santiago waived extradition and

 was transferred from Virginia to New York.             (Id. at 14.)

 Mr. Santiago was charged with violating the terms of his parole,

 and was returned to DOCS supervision to serve a 12-month

 “assessment” in custody.        (Philbrick Decl. at ¶ 55.)

              Mr. Santiago was released to parole supervision on

 January 31, 2008.       (Id. at 56; Chrono Report at 12.)

 Mr. Santiago failed to report to his parole officer on February

 6, 2008 and was deemed to have absconded.            (Chrono Report at

 12.)    DOP was notified on April 23, 2008 that plaintiff had been

 arrested in Virginia.        (Philbrick Decl. at ¶ 59; Chrono Report

 at 10.)

              Mr. Santiago was transferred from Virginia state

 custody to federal custody in West Virginia on February 22,

 2010, pursuant to a federal detainer.            (Chrono Report at 3

 (entry for May 17, 2010.))         He was extradited from federal

 prison in West Virginia to New York on September 14, 2010.                 (Id.

 at 2)    On October 1, 2010, Mr. Santiago’s parole was revoked for

 violating his PRS conditions, and he was ordered to serve a 38-

 month custodial term.        (Philbrick Decl. at ¶ 62; Chrono Report

 at 1.)    On September 27, 2010, DOP referred plaintiff to King’s




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 County Supreme Court for possible resentencing, having

 determined that plaintiff’s “original sentence and commitment

 document . . . contained no reference to a period of PRS” and

 that Parole did not “have a copy of the sentencing minutes

 within its files to confirm whether the period of PRS was

 pronounced by the Court at the time of sentencing.”               (Notice

 Pursuant to Correction Law 601-d, Philbrick Decl. Ex. D at 1.)

 On December 15, 2010, the King’s County Supreme Court declined

 to resentence plaintiff, because the court concluded that there

 had been “no discussion or agreement concerning post release

 supervision as part of the Defendant’s sentence reflected

 anywhere in the [initial sentencing] proceedings[.]”

 (Resentencing Order at 1.)         Plaintiff was released from DOCS

 custody on December 16, 2010, but owed time to the State of

 Virginia from the time he was returned to New York from Virginia

 in 2010.     (Philbrick Decl. ¶¶ 63, 67.)

 B.     Procedural History

              Plaintiff filed his initial complaint on May 1, 2012,

 and an amended complaint on June 4, 2012.            The action was stayed

 pending the Second Circuit’s ruling in Betances v. Fischer,

 which was issued on June 4, 2013, and which affirmed the

 district court’s denial of a motion to dismiss.              Betances v.

 Fischer (“Betances I”), 519 Fed. App’x 39, 41 (2d Cir. 2013)




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 (summary order) (consolidating appeal with Vincent, 718 F.3d at

 157, and denying motion to dismiss on grounds of qualified

 immunity).     The parties in the instant action filed motions for

 summary judgment, which were fully briefed on July 27, 2015.

 This court terminated those motions pending the Second Circuit’s

 decision on the appeal of the summary judgment in Betances.                   On

 September 16, 2016, the Second Circuit issued its ruling in

 Betances II, and this court ordered briefing on the instant

 motions.

                              STANDARD OF REVIEW

              Summary judgment is proper only when, construing the

 evidence in the light most favorable to the non-movant, “the

 movant shows that there is no genuine dispute as to any material

 fact and the movant is entitled to judgment as a matter of law.”

 Fed. R. Civ. P. 56(a); see also Redd v. N.Y. Div. of Parole, 678

 F.3d 166, 174 (2d Cir. 2012).          The role of the court is “not to

 weigh the evidence and determine the truth of the matter but to

 determine whether there is a genuine issue for trial.”                Cioffi

 v. Averill Park Cent. Sch. Dist. Bd. of Educ., 444 F.3d 158, 162

 (2d Cir. 2006) (quoting Anderson v. Liberty Lobby, Inc., 477

 U.S. 242, 249 (1986)) (internal quotation marks omitted).                “A

 genuine issue of fact for trial exists where there is ‘evidence

 on which the jury could reasonably find for’” the non-moving




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  party.    Id. (quoting Liberty Lobby, 477 U.S. at 252).             To defeat

  a motion for summary judgment, the non-movant must identify

  probative evidence on the record from which a reasonable

  factfinder could find in its favor.           Liberty Lobby, 477 U.S. at

  256–57.    That is, the non-movant must make a showing of

  sufficient evidence of a “claimed factual dispute as to require

  a judge or jury's resolution of the parties' differing versions

  of the truth.”      Senno v. Elmsford Union Free Sch. Dist., 812 F.

  Supp. 2d 454, 468 (S.D.N.Y. 2011) (citing Kessler v. Westchester

  Cnty. Dep't of Soc. Servs., 461 F.3d 199, 206 (2d Cir. 2006)).

  Summary judgment “therefore requires the nonmoving party to go

  beyond the pleadings and by her own affidavits, or by the

  depositions, answers to interrogatories, and admissions on file,

  designate specific facts showing that there is a genuine issue

  for trial.”     Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986)

  (internal quotation       marks omitted).

                                 APPLICABLE LAW

  A. Section 1983

              To state a claim under § 1983, a complaint must allege

  that a state actor, or a private party acting under color of

  law, “deprived the plaintiff of a right guaranteed under the

  Constitution of the United States.”           Snider v. Dylag, 188 F.3d

  51, 53 (2d Cir. 1999) (citation omitted).            “Section 1983 is not




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  itself a source of substantive rights, but merely provides a

  method for vindicating federal rights elsewhere conferred.”

  Albright v. Oliver, 510 U.S. 266, 271 (1994) (internal quotation

  marks and citations omitted).

              “[I]n order to establish a defendant's individual

  liability in a suit brought under § 1983, a plaintiff must show,

  inter alia, the defendant's personal involvement in the alleged

  constitutional deprivation.” Grullon v. City of New Haven, 720

  F.3d 133, 138 (2d Cir. 2013) (citations omitted); see Betances

  v. Fischer, 144 F. Supp. 3d 441, 456 (S.D.N.Y. 2015), aff’d 837

  F.3d 162 (2d Cir. 2016).        A plaintiff can establish that a

  defendant was personally involved in a constitutional

  deprivation by, inter alia, showing that the defendant created a

  “policy or custom under which unconstitutional practices

  occurred, or allowed the continuance of such a policy or

  custom.”    Colon v. Coughlin, 58 F.3d 865, 873 (2d Cir. 1995)).1




  1 The Second Circuit has recognized that Ashcroft v. Iqbal, 556
  U.S. 662 (2009), may have limited certain aspects of Colon by
  “heighten[ing] the requirements for showing a supervisor's
  personal involvement with respect to certain constitutional
  violations.” Grullon, 720 F.3d at 139. As other district
  courts in the Second Circuit have concluded, Iqbal does not
  disturb Colon’s rule that a defendant may be liable under § 1983
  for creating, or allowing the continuation of, an
  unconstitutional policy or custom. Betances, 144 F. Supp. 3d at
  449 n.48; Hill v. Laird, No. 06-CV-0126(JS)(ARL), 2016 WL
  3248332, at *6 (E.D.N.Y. June 13, 2016) (listing cases); Spear
  v. Hugles, No. 08 Civ. 4026, 2009 WL 2176725, at *2 (S.D.N.Y.



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  B. Qualified Immunity

               On summary judgment, qualified immunity is denied to

  a government official “if (1) the facts taken in the light most

  favorable to the officials establish a violation of a

  constitutional right; and (2) the officials’ actions violated

  clearly established . . . rights of which a reasonable person

  would have known.”       Betances II, 837 F.3d at 171 (internal

  quotation marks and citations omitted); Taylor v. Barkes, 135 S.

  Ct. 2042 (2015) (“Qualified immunity shields government

  officials from civil damages liability unless the official

  violated a statutory or constitutional right that was clearly

  established at the time of the challenged conduct.” (quoting

  Reichle v. Howards, 131 S. Ct. 2088, 2093 (2012)).              To be

  “clearly established,” “existing precedent must have placed the

  statutory or constitutional question beyond debate.”               Reichle,

  131 S. Ct., at 2093 (internal citations and quotations omitted);

  Anderson v. Recore, 317 F.3d 194, 197 (2d Cir. 2003) (holding

  that a right is clearly established if, inter alia, “the Supreme

  Court or the Second Circuit has recognized the right”).                 Where a

  clearly established right is violated, officials may nonetheless

  be entitled to qualified immunity “if [] it was objectively

  reasonable for them to believe their acts did not violate those


  July 20, 2009) (stating that the “policy or custom” factor from
  Colon has survived Iqbal)



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  rights.”    Zellner v. Summerlin, 494 F.3d 344, 367 (2d Cir. 2007)

  (internal quotation marks and citations omitted).

              “Defendants bear the burden of establishing qualified

  immunity.” Garcia v. Does, 779 F.3d 84, 92 (2d Cir. 2015)

  (citing Vincent, 718 F.3d at 166).

   “If there is no dispute as to the material historical facts,

  the matter of whether the officer's conduct was objectively

  reasonable is an issue of law to be determined by the court.”

  Zellner, 494 F.3d at 367 (citations omitted); Taravella v. Town

  of Wolcott, 599 F.3d 129, 134 (2d Cir. 2010) (“[A] conclusion

  that the defendant official's conduct was objectively reasonable

  as a matter of law may be appropriate where there is no dispute

  as to the material historical facts”) (internal quotation marks

  and citations omitted).

                                    DISCUSSION

              This decision proceeds by first addressing whether

  plaintiff has made a cognizable claim under § 1983.              Next, the

  court addresses the parties’ arguments about whether, if such a

  claim exists, plaintiff has sufficiently demonstrated the

  “personal involvement” of each defendant.            After concluding that

  all defendants but Annucci, Fischer, and Tracy must be dismissed

  for lack of personal involvement, the court turns to the

  parties’ arguments concerning personal involvement and qualified




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  immunity for those three defendants.            Finally, the court

  addresses plaintiff’s state law claims, concluding that it does

  not have jurisdiction over those claims.

              I.   Plaintiff’s § 1983 Claim2

              Defendants argue that they are entitled to summary

  judgment on plaintiff’s claim under § 1983 because defendants

  acted in an objectively reasonable manner, and because plaintiff

  “suffered no injury.”       (Memorandum of Law in Support of

  Defendants’ Motion Pursuant to Fed. R. Civ. P. Rules 12(b)(6)

  and 56 (“Def. Mot.”) at 11, 13.)            Conversely, plaintiff moves

  for summary judgment on the ground that the administrative

  imposition and enforcement of PRS was unconstitutional

  subsequent to Earley I.

  A. False Imprisonment

              “A Fourth Amendment claim of false imprisonment

  brought under 42 U.S.C. § 1983 is substantially the same as a

  false imprisonment claim under New York State law . . . .                To



  2 In his Amended Complaint, plaintiff alleges a deprivation of
  civil rights pursuant to § 1983, but also references 18 U.S.C.
  §§ 1985(2) – (3) and 1985, which create causes of action for,
  inter alia, conspiracies to obstruct justice and to deprive a
  person of rights or privileges, and negligence for failure to
  prevent such conspiracies. (Amended Complaint (“Am. Compl.”),
  ECF No. 12, ¶ 83. (citing 18 U.S.C. §§ 1985 (2), (3), 1986.))
  Plaintiff does not appear to allege a conspiracy in the Amended
  Complaint, and does not address any conspiracy claims in his
  moving papers. The court therefore proceeds by analyzing this
  claim under § 1983.



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  state a claim for false imprisonment, a plaintiff must allege:

  (1) the defendant intended to confine the plaintiff, (2) the

  plaintiff was conscious of the confinement, (3) the plaintiff

  did not consent to the confinement, and (4) the confinement was

  not otherwise privileged.”        Greenaway v. Cty. of Nassau, 97 F.

  Supp. 3d 225, 233 (E.D.N.Y. 2015) (quoting Weyant v. Okst, 101

  F.3d 845, 852-53 (2d Cir. 1996).            Probable cause is a complete

  defense to a claim of false imprisonment.            Id.

              Defendants argue that their conduct was privileged,

  citing the New York State Court of Appeals decision Donald v.

  State for the proposition that DOCS’s actions after Earley were

  “objectively reasonable.”        (Def. Mot. at 11-12 (citing Donald,

  17 N.Y.3d 389, 396 (2011).)         Defendants, however,

  mischaracterize Donald, which is a case concerning the immunity

  of New York State.       See Donald, 17 N.Y.3d at 395-96 (explaining

  that DOCS’s exercise of discretion in the wake of Earley, even

  if “mistaken[],” “cannot be a basis for state liability.”).

  Donald does not stand for the proposition that the actions of

  individual defendants – specifically Annucci, Fischer, and Tracy

  – were “objectively reasonable,” and it is therefore inapposite.

  Furthermore, as discussed further below, the Second Circuit has

  already determined that these same three officials acted in an

  objectively unreasonable manner as a matter of law in rejecting




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  the defendants’ qualified immunity defense in Betances II.                See

  837 F.3d at 174.      Defendants’ enforcement of administrative PRS

  on plaintiff was therefore not privileged.            See Bentley v.

  Dennison, 852 F. Supp. 2d 379, 398 (S.D.N.Y. 2012) (concluding

  that because it was “objectively unreasonable of defendants to

  continue enforcing administrative PRS without seeking

  resentencing for two years after Earley, defendants' re-

  incarceration of plaintiffs was not privileged” for purposes of

  a false imprisonment claim).

              Defendants also argue that plaintiff cannot make out a

  false imprisonment claim because defendants could not

  “unilaterally release” plaintiff without “judicial

  intervention,” and because until June 2008, there was no “formal

  mechanism to refer individuals for resentencings.”              (Def. Mot.

  at 2, 12.)     Plaintiff, however, does not simply claim that

  defendants should have “unilaterally release[d]” him, but rather

  that “defendants failed to seek to remove Santiago’s PRS or have

  him resentenced or otherwise released after the issuance of

  Earley.”     (Am. Compl. at ¶ 77.)       As the Second Circuit made

  clear in Betances II, whether or not there was a “formal

  mechanism” to initiate resentencing, “the decision to

  review . . . records and notify state judges and district

  attorneys about defendants who needed to resentenced required no




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  cooperation from others.        If the district attorneys and judges

  ultimately rejected compliance, the resentencings would not have

  taken place, but the defendants would have satisfied their

  obligation . . . .”3       837 F.3d at 174.      Thus, liability in this

  case is not premised on defendants’ failure to unilaterally

  release plaintiff, but rather their failure to “make an

  objectively reasonabl[e] effort to relieve plaintiffs of the

  burdens” of administratively-imposed terms of PRS, despite

  knowing that these terms “violated federal law.”              Id. (internal

  quotation marks and citations omitted).

  B.   Due Process

              Defendant argues that plaintiff cannot make out a

  “compensable” due process claim because he “suffered no injury

  from any delay in referring him for resentencing,” again

  emphasizing that “at no time was he entitled, as a matter of due

  process, to be relieved of PRS.”            (Def. Mot. at 13-14.)

  Defendants argue that “at most” their “conduct resulted in only

  nominal injury to Plaintiff.” (Id. at 13.)            As discussed,

  however, the issue is not whether or not plaintiff was

  “entitled . . . to be relieved of PRS,” as defendants assert.

  Rather, plaintiff claims that he suffered a compensable harm



  3 As discussed infra, in Betances II the Second Circuit was
  specifically addressing the obligations of Annucci, Fischer, and
  Tracy, who are also defendants to this action.



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  from defendants’ failure to refer plaintiff for resentencing,

  from defendants’ active enforcement of an unconstitutional term

  of PRS, which resulted in, inter alia, his extradition from

  Virginia, charges that he violated the terms of his parole, his

  incarceration in New York from June 2007 to January 31, 2008,

  and return to New York parole supervision by February 1, 2008.

  (See Am. Compl.)      Furthermore, defendants’ argument that

  plaintiff suffered no compensable harm ignores the possibility

  that had defendants referred plaintiff for resentencing when he

  was returned to DOC custody in 2007, the King’s County Supreme

  Court may have chosen not to impose a term of PRS.              Indeed, when

  plaintiff was eventually referred for resentencing in 2010, the

  court declined to impose a PRS term and released plaintiff.

  (Resentencing Order at 1.)        A jury might well conclude that

  plaintiff suffered a compensable injury on these facts, and

  plaintiff has raised a triable issue of material fact on this

  issue.      Similarly, defendants’ claim that plaintiff failed to

  mitigate his damages because he did not seek relief while

  incarcerated goes to the triable issue of damages, and not

  liability.     (See Def. Mot. at 14.)

        II.    PERSONAL INVOLVEMENT AND QUALIFIED IMMUNITY

               The Amended Complaint names as defendants twenty-four

  individuals in the caption, as well as unidentified “John Doe”




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  plaintiffs.     (Am. Compl. at p. 1.)       An additional defendant,

  Mark Mentei, is named in the body of the Complaint, but is not

  listed in the caption.4       (Id. at ¶ 9.)

              Plaintiff moves for summary judgement against

  defendants George B. Alexander, Anthony J. Annucci, Robert J.

  Dennison, Anthony G. Ellis II, Andrea W. Evans, Brian Fischer,

  Glenn S. Goord, Lucien J. LeClaire, Jr., Kevin G. Ludlow, Mark

  Mentei, and Sally A. Thompson, all either officials or employees

  of DOCS or DOP.      (Plaintiff’s Memorandum of Law in Support of

  Motion for Summary Judgment (“Pl. Mot.”), ECF No. 78-2 at 1.)

  With few exceptions, however, plaintiff’s only reference to the

  foregoing defendants is in the Amended Complaint, which merely

  repeats the generic allegation that each defendant, regardless

  of seniority, “was and is responsible for establishing and

  enforcing DOCS’s and DOP’s policies with respect to PRS.”                (See

  Am. Compl. at pp. 3-5.)

              Defendants move to dismiss plaintiff’s claims against

  defendants Ludlow, Elovich, Thompson, Arroyo, McCartney,

  McKinney, Fleishman, Paredes, Stevenson, Mason, Johnson,



  4 There is no record that Mentei, who is identified in the
  Amended Complaint as “Executive Director of DOP,” was ever
  served. (See ECF Nos. 3, 4, 14 (entries regarding issuance of
  summons.)) Defendants claim that Corrado, Zunno, LeClaire,
  Goord, and Ellis were not served (see Def. Mot. at 2-3), but
  summons issued for all five defendants (see ECF No. 14), and
  Zunno returned an executed Waiver of Service (ECF No. 34).



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  Alvarez, Council, Corrado, and Zunno, on the grounds that these

  individuals were “non-policymaking” employees of the Division of

  Parole and that plaintiff has not alleged sufficient facts to

  show that these individuals were personally involved in any

  deprivation of constitutional rights.           (Def. Mot. at 2-3, 15.)

  In addition, defendants argue that certain members of the Board

  of Parole or parole supervisors5 are entitled to absolute

  immunity to the extent they are being sued in their official

  capacities.     (Def. Mot. at 19.)

              Defendants also argue that the other individual

  defendants, specifically Fischer, Annuci, LeClaire, Goord,

  Evans, Alexander, Tracy, Dennison, and Ellis, should be

  dismissed for lack of personal involvement, and further that

  “Evans and Alexander should be dismissed because they did not

  serve at any time relevant to the claims Plaintiff raises in

  this lawsuit.”      (Def. Mot. at 3.)       Finally, defendants argue

  that any defendant deemed to have been personally involved in a

  constitutional violation should be entitled to qualified

  immunity.     (Def. Mot. at 17.)

              For the reasons described below, the court dismisses

  this action as to all defendants except Annucci, Fischer, and

  Tracy for lack of personal involvement.


  5 Specifically, defendants Ludlow, Elovich, Thompson, Arroyo,
  McCartney, McKinney, Fleishman, Paredes, and Stevenson.



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  A.    Goord and LeClaire

              In the Amended Complaint, plaintiff describes

  defendant Glenn S. Goord as the “Commissioner of DOCS from 1996

  to August 30, 2006,” and defendant Lucien J. LeClaire, Jr., as

  the “Acting Commissioner of DOCS from August 30 to December 31,

  2006.”    (Am. Compl. at ¶¶ 5-6.)        As commissioner and acting

  commissioner of DOCS, Goord and LeClaire would have had

  supervisory authority over DOCS’s policies.            Betances, 144 F.

  Supp. 3d at 456 (“As commissioners, [Goord and LeClaire] had the

  ultimate authority over DOCS policies.”).            Nevertheless, “a

  defendant's supervisory authority is insufficient in itself to

  demonstrate liability under § 1983.           A defendant's personal

  involvement may be shown by evidence that,” inter alia, “the

  defendant created a policy or custom under which

  unconstitutional practices occurred, or allowed the continuance

  of such a policy or custom.”         Santiago, 2016 WL 1118448, at *4

  (citing LaMagna v. Brown, 474 F. App'x 788, 789 (2d Cir. 2012);

  Grullon, 720 F.3d at 139).        In his summary judgment submissions,

  plaintiff has not submitted any evidence concerning the personal

  involvement of Goord or LeClaire in shaping DOCS policy

  subsequent to Earley I.        Furthermore, Earley I was issued on

  June 9, 2006, and rehearing was denied in Earley II on August

  31, 2006, the day after LeClaire replaced Goord as Acting




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  Commissioner of DOCS.       Plaintiff has not submitted evidence, or

  even alleged, that Goord was even aware of the Earley litigation

  in the approximately three-month period between the Second

  Circuit’s decision in Earley I and his replacement by LeClaire.

  Nor has plaintiff alleged that LeClaire was aware of, or

  involved in, any policy response to Earley I during the four-

  month period during which he served as Acting Commissioner of

  DOCS.

              As Judge Scheindlin noted in granting summary judgment

  for Goord and LeClaire in Betances, “[a]t best . . . a

  reasonable jury could find that Goord and LeClaire were

  negligent in failing to take action to prevent a constitutional

  injury.    Negligence, however, is not sufficient to support

  section 1983 liability for a due process violation.”               Betances,

  144 F. Supp. 3d at 456.        Goord and LeClaire are therefore

  dismissed from this action.

  B.   Ludlow, Elovich, Thompson, and Mason

              In his Rule 56.1 Statement, plaintiff asserts that

  “[d]efendants Ludlow, Elovich and Thompson conducted a

  conditional release-parole violation [] interview of Santiago”

  and that “defendant Mason is also listed.”            (Plaintiff’s

  Statement of Material Facts in Support of Summary Judgment (“Pl.

  56.1”), ECF No. 78-1 at ¶ 12.)         In violation of Local Rule




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  56.1(d), plaintiff fails to cite to any evidence or source

  concerning this interview, but he may be referencing a February

  4, 2008 Parole Board Release Notice for Mr. Santiago, listing

  DOP Commissioners Ludlow, Elovich, and Thompson.              (Am. Compl. at

  ¶¶ 14-16, 23; Parole Board Release Notice, ECF No. 12-14 at 2.)

  Even inferring that, as DOP Commissioners, defendants Ludlow,

  Elovich, and Thompson may have had some policy-making role,

  plaintiff does not introduce any evidence – or make detailed

  allegations – concerning the nature and extent of their

  involvement, if any, in developing policies to respond to

  Earley I.    As with defendants Goord and LeClaire, plaintiff has

  failed to point to any evidence from which a fact-finder could

  conclude that Ludlow, Elovich, and Thompson were personally

  involved in a deprivation of plaintiff’s constitutional rights.

  Nor does plaintiff explain how defendant Mason, a Parole

  Officer, would have been engaged in policy-making, or why his

  mere presence at an interview with plaintiff would present a

  question of fact concerning his liability for a violation of

  plaintiff’s rights.       The plaintiff’s vague and conclusory

  allegations are therefore insufficient to show the personal

  involvement of defendants Ludlow, Elovich, Thompson, and Mason,

  which would be required to defeat a motion for summary judgment.

  See Betances, 144 F. Supp. 3d at 456 (discussing a similar




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  deficiency in the Betances plaintiffs’ case with regard to Goord

  and LeClaire.)      The defendants’ motion for summary judgment as

  to defendants Ludlow, Elovich, Thompson, and Mason is granted,

  and the claims against these defendants are dismissed.

  C.    Evans, Alexander, and Dennison

              Defendants argue that Andrea W. Evans, identified in

  the Amended Complaint as “Chairwoman and Chief Executive Officer

  of DOP” (Am. Compl. at ¶ 8), should be dismissed for lack of

  personal involvement, and also assert that she “did not serve at

  any time relevant to the claims Plaintiff raises in this

  lawsuit” (Def. Mot. at 3).        Evans served as the Chairwoman of

  Parole from June 2009 to June 2013.           (Philbrick Decl. at ¶ 72.)

  Defendants, however, also identify her as a “policy-making

  official[]” from June 2007 and February 2008, the period during

  which plaintiff served a custodial term for violating his

  unconstitutional administratively-imposed term of PRS.               (See

  Def. Mot. at 16.)      Robert Dennison and George Alexander were

  Evans’s predecessors, serving as Chairman of Parole from 2004 to

  April 2007 and from May 2007 to December 2008, respectively.

  (Philbrick Decl. at ¶ 72.)        Although the court might infer that

  the Chairwoman or Chairman of DOP would be involved in

  policymaking, plaintiff has not submitted any evidence that

  would enable a fact-finder to determine that Evans, Alexander,




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  or Dennison was personally involved in a constitutional

  deprivation.6     See Betances, 144 F. Supp. 3d at 456 (granting

  summary judgment for certain defendants, including Evans,

  Alexander, and Dennison, because plaintiffs similarly failed to

  “offer . . . evidence of any personal involvement”).               Given the

  lack of clarity and evidence as to the specific role Evans,

  Alexander, or Dennison played during the relevant period, the

  court will grant these defendants summary judgment and dismiss

  all three from this action.

  D.    Additional DOP Officials and Officers

              Defendants Arroyo, McCartney, McKinney, Fleishman,

  Paredes, Stevenson, Johnson, Alvarez, Council, Corrado, Mentei,

  Ellis, and Zunno are DOP officials or Parole Officers.               Aside

  from the generic allegation that each of these individuals,

  regardless of seniority, was “responsible for establishing and

  enforcing DOCS’s and DOP’s policies with respect to PRS,”

  plaintiff does not explain how they were personally involved in



  6 In Hassell, another case involving an administratively-imposed
  term of PRS, Judge Hellerstein of the Southern District denied
  Evans’ motion for a judgment on the pleadings. Hassell v.
  Fischer, 96 F. Supp. 3d 370 (S.D.N.Y. 2015), appeal pending, No.
  16-2835 (2d Cir. 2017). The plaintiff in Hassell alleged that
  Evans, along with others, was involved in the DOP’s policy
  response to Earley I. Id. at 374. In contrast to the instant
  motion for summary judgment, however, on a motion for judgment
  on the pleadings, the allegations in a complaint are taken as
  true. See id.




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  violating his constitutional rights, or even whether any

  individual was aware of Earley I and involved in the DOP’s

  policy response.7      See Betances, 144 F. Supp. 3d at 456 (granting

  summary judgment to Evans, Mentei, Dennison, Ellis, and

  Alexander on the same grounds).          The court grants summary

  judgment to defendants Arroyo, McCartney, McKinney, Fleishman,

  Paredes, Stevenson, Johnson, Alvarez, Council, Corrado, Mentei,

  Ellis, and Zunno.

  E.    Fischer, Annucci, and Tracy

              In Betances II, the Second Circuit affirmed the

  district court’s conclusion that Fischer, Annucci, and Tracy

  “did not make an objectively reasonable effort to relieve

  plaintiffs of the burdens of those unlawfully imposed [PRS]

  terms after they knew it had been ruled that the imposition

  violated federal law.”        Betances II, 837 F.3d at 174.

  Notwithstanding Betances II, and just as they unsuccessfully

  argued in that case, Fischer, Annucci, and Tracy contend that

  they are entitled to summary judgment, first because plaintiff



  7 Certain defendants made entries on Mr. Santiago’s Parolee
  Chrono Report, but such entries, without more, would give a
  factfinder no basis on which to conclude that these officers
  were involved in the DOP’s policy response to Earley I or were
  even aware of the decision and its implications for parolees
  such as Mr. Santiago. (See Chrono Report, including entries
  authored by or referencing Officers Paredes, Council, Arroyo,
  and Zunno.)




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  has not established their personal involvement in any

  constitutional violation, and second because they are entitled

  to qualified immunity.        (Def. Mot. at 17-18; see Betances, 144

  F. Supp. 3d at 450.)

        1. Personal Involvement

              Although plaintiff’s submissions are non-specific and

  vague as to the policy-making involvement of any named defendant

  except Annuci,8 this is the unusual case in which the Second

  Circuit has already summarized the facts relevant to, and

  addressed the precise issue presented by, the defendants’

  summary judgment motion: whether they “were responsible for

  designing and implementing their departments’ response to Earley

  I.”   Betances II, 837 F.3d at 167.         In affirming the district

  court’s grant of summary judgment on liability against Annucci,

  Fischer, and Tracy, the Second Circuit described the roles

  played by these three defendants, and implicitly concluded that

  they participated in creating policies or customs “under which



  8 Plaintiff simply asserts that “the record leaves no doubt that
  Annucci, Fischer, and Tracy were personally deeply involved in
  designing, authorizing, and overseeing the DOCS and DOP policies
  that violated plaintiff’s rights.” (Pl. Opp. at 5.) The only
  document plaintiff cites for support is an affirmation submitted
  by Annucci in connection with a June 4, 2008 application for a
  temporary restraining order and preliminary injunction to enable
  the DOCS and DOP to “maintain . . . continued custody or
  supervision” of individuals who were serving terms of
  administratively-imposed PRS terms. (Affirmation of Anthony
  Annucci (“Annucci Aff.”), ECF No. 12-1 at ¶ 4.)



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  unconstitutional practices occur[ed], or allow[ed] such

  practices to continue.”        See Betances, 144 F. Supp. 3d at 449,

  454-55 (describing personal involvement standard and concluding

  that Annucci, Fischer, and Tracy were personally involved in

  DOCS and DOP’s policy response to Earley I); Santiago, 2016 WL

  1118448, at *4 (citing Grullon v. City of New Haven, 720 F.3d

  133, 139 (2d Cir. 2013)) (describing standard for personal

  involvement in another PRS case).           Specifically, the Second

  Circuit explained that “[t]he three defendants became aware of

  Earley I’s holding at different times,” and noted that Annucci,

  despite “immediately under[standing] Earley I’s holding . . .

  deliberately refused to change DOCS procedures to bring them

  into compliance.”      Betances II, 837 F.3d at 167, 171.           In fact,

  “[i]n August 2006, Annucci emailed DOCS personnel to inform them

  that   . . . DOCS would not follow” Earley I.            Id.   In early

  2007, Annucci arranged for DOCS personnel to manually review

  inmate files to determine whether sentencing and commitment

  orders reflected PRS terms, and flagged those that did not.                Id.

  at 169.    Despite obtaining this information, Annucci did not

  take steps to remove administrative PRS terms, or to seek

  resentencing, until after the New York State Court of Appeals

  decisions in Garner and Sperber in April 2008.             Id. at 167-169;

  (Annucci Aff. at ¶¶ 39-40 (describing review process)).




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  Fischer, as Commissioner of DOCS, “understood Earley I’s holding

  and agreed with Annucci’s decision not to follow its holding.”

  Betances II, 837 F.3d at 167.         In fact, on July 2, 2007, Fischer

  directed Annucci to respond to an inmate who asked about his

  term of administratively-imposed PRS, and Annucci explained that

  Earley was “contrary to state appellate case law,” and that

  “[w]hen state and federal courts reach different results

  regarding state law, the state case law takes precedence over

  federal case law in state court” until the Supreme Court

  addresses the issue.       (July 2, 2007 Letter from Annucci to

  Smith, ECF No. 12-12 at 1-2.)         With regard to defendant Tracy,

  the Second Circuit, in Betances, citing extensively from Tracy’s

  deposition testimony in which he stated that he became aware of

  and understood Earley I in late 2006, concluded that Tracy had

  “affirmatively decided to continue DOP’s former approach,”

  whereby DOP would not investigate whether it was supervising a

  parolee with an administrative PRS term, “in contravention of

  Earley I.”     Betances II, 837 F.3d at 168, 171.

        2. Qualified Immunity

              This court also concludes that Annucci, Fischer, and

  Tracy are not entitled to qualified immunity for the period June

  12, 2007 to February 6, 2008, during which time New York exerted

  control over plaintiff through the extradition process for a




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  parole violation, plaintiff’s confinement, and release into

  parole supervision, as a result of defendants’ inaction.

  “Defendants bear the burden of establishing qualified immunity.”

  Garcia, 779 F.3d at 92 (citing Vincent, 718 F.3d at 166).

              The Second Circuit has already concluded that the

  “unconstitutionality of the administrative imposition or

  enforcement of postrelease conditions that were not judicially

  imposed” was “clearly establish[ed]” by Early I, which was

  decided on June 9, 2006.        Vincent, 718 F.3d at 160.        The Second

  Circuit has also established that, even in the light most

  favorable to the defendants, Annucci was aware of Earley and its

  implications by June 20, 2006 at the latest, Fischer by January

  31, 2007 and Tracy by December 31, 2006,9 but none of the

  defendants took “meaningful steps to bring their departments

  into compliance with Earley I” until 2008.            Betances II, 837

  F.3d at 172-73.      The Second Circuit determined that this delay


  9 The court also noted that although Annucci understood Earley I
  when it was decided on June 20, 2006, he could reasonably have
  waited to take action until August 31, 2006, when the Second
  Circuit denied reconsideration in Earley II. Betances, 837 F.3d
  at 172. The court therefore set August 31, 2006 as the earliest
  day on which liability could be imposed on any defendant. Id.
  The Second Circuit instructed the district court to “engage in
  factfinding on remand to determine with more specificity the
  dates that Tracy and Fischer understood the holding of
  Earley I.” Id. As described supra, such additional fact-
  finding is unnecessary in this case because the court concludes
  that Annucci, Fischer, and Tracy would be immune from liability
  for the period before June 12, 2007, when plaintiff was not in
  New York’s custody.



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  was “objectively unreasonable.”          Id.   The Second Circuit

  explained that “the three defendants [as here, Annucci, Fischer,

  and Tracy] decided not to comply with Earley I although they

  understood the meaning of its holding and that its holding

  applied to their departments . . . both DOCS and DOP continued

  to violate [Earley] retrospectively, by taking no steps to cease

  enforcing PRS terms that had been added to sentences by DOCS

  employees.”     Id. at 168-69.

              Defendants attempt to distinguish Betances on four

  grounds.    First, defendants argue that they should be “shielded

  from liability for not referring Plaintiff for resentencing

  during the time that he was an absconder, before June 2007 and

  after February 2008[,]” because “[t]here was no clearly

  established federal law requiring Defendants to take steps to

  correct a PRS term of an individual who had absconded, was not

  in the jurisdiction and clearly was not abiding by the PRS

  term.”     (Def. Mot. at 17.)     Defendants also argue that they

  should be “shielded from liability for their actions in 2010,

  when Plaintiff was extradited back to New York” because he was

  referred to resentencing “within two weeks” of his extradition,

  following the process required by New York Correction Law § 601-

  d. (See id. at 17-18.)




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              The court agrees that defendants’ liability should be

  limited to the period June 12, 2007 to February 6, 2008.                Prior

  to June 12, 2007, plaintiff was not in New York State custody,

  and would not have been available for a resentencing proceeding.

  Plaintiff submitted evidence that, prior to plaintiff’s June 12,

  2007 extradition, DOC had acted to confine plaintiff or to

  enable his confinement by another jurisdiction, by faxing an

  arrest warrant for Santiago to West Virginia.             (See Chrono

  Report at 15 (noting that prior to June 1, 2007, plaintiff was

  held in West Virginia and Virginia on local charges.); Pl. Mot.

  at 4.)    Plaintiff’s parole was revoked at a June 19, 2007

  hearing on Rikers Island and he was returned to DOC custody

  (Parole Revocation Certificate of Disposition, Ex. M to Am.

  Compl., ECF 12-13.)       After his release in January 31, 2008,

  plaintiff again absconded on February 6, 2008, and was not

  within New York’s jurisdiction until September 14, 2010.

  (Chrono Report at 2.)       Furthermore, in early 2008, “prompted by

  the New York Court of Appeals’ decisions in Garner and Sparber,”

  defendants developed a process for resentencing individuals

  serving administratively-imposed terms of PRS.             Betances II, 837

  F.3d at 172; (see July 2008 Memorandum of Understanding, ECF

  No. 82 Ex. C (signed by Annucci and Tracy.))             Defendants then

  began to take what the Second Circuit termed “reasonable steps




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  toward bringing DOCS and DOP into compliance with Earley I.”

  Id.

              Given the plaintiff’s failure to adduce any evidence

  showing that defendants acted unreasonably after February 6,

  2008, when plaintiff was no longer reporting to DOP and possibly

  outside of New York’s jurisdiction, and because defendants took

  “reasonable steps” shortly thereafter, the court concludes that

  defendants are entitled to qualified immunity beginning on

  February 6, 2008, when plaintiff absconded.            Thus, although the

  court concludes that Annucci, Fischer, and Tracy are liable for

  plaintiff’s false imprisonment pursuant to § 1983, their

  liability is limited to the period between June 12, 2007 to

  February 6, 2008, during which period plaintiff was extradited

  by New York State and served a custodial term for violating the

  terms of his PRS due to the inaction of defendants.

              Second, defendants argue that unlike Betances, “no

  Defendant can here be found to have acted unreasonably” because

  “the record here establishes that Defendants did not have

  Plaintiff’s sentencing minutes.”            (Def. Mot. at 18.)     As Judge

  Scheindlin has explained in Betances, however, “the lack of

  [sentencing] minutes does not relieve defendants of liability,”

  because in 2008, “DOCS sent letters to judges requesting the

  sentencing minutes,” and “there is no reason that DOCS could not




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  have done the same after Earley” two years earlier.              See

  Betances, 144 F. Supp. 3d at 454 n.95.           Furthermore, as Annucci

  stated in a June 4, 2008 Affirmation, between March 12, 2007 and

  April 20, 2007, DOCS and DOP manually reviewed approximately

  40,000 inmate files to “ascertain . . . whether the sentence and

  commitment order . . . affirmatively noted that the required PRS

  period was a part of the sentence.”            (Annucci Aff. at ¶¶ 39-

  40.)   Whether or not plaintiff’s records were included in the

  reviewed set, the fact that DOP and DOCS could undertake such a

  review indicates that they could have similarly instituted a

  process whereby they confirmed the validity of PRS terms prior

  to seeking enforcement of those terms.           Such a review would have

  revealed that plaintiff – who was extradited to New York on June

  12, 2007, nearly two months after DOP and DOCS completed their

  manual review – did not have a PRS term imposed by the

  sentencing judge as indicated on his Sentence and Order of

  Commitment.     (See Sentence and Order of Commitment, ECF No. 12-

  3.)

              Third, defendants repeatedly argue that they should be

  “granted qualified immunity for not having released Plaintiff

  from PRS” until he was resentenced in 2010.            (Def. Mot. at 18

  (citing, inter alia, Scott, 616 F.3d at 109-10); Defendants’

  Memorandum in Opposition (“Def. Opp.”), ECF No. 84 at 16-17.)




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  For the reasons described supra, this argument is inapposite:

  Mr. Santiago is not simply claiming that defendants should have

  “released [him] from PRS,” but is also arguing that defendants

  are liable for enforcing a term of PRS they knew to be

  unconstitutional and for their failure to seek his resentencing.

  (Am. Compl. at ¶ 77.)       Defendants also argue that “even if

  certain Defendants breached a duty to refer [plaintiff]” for

  resentencing, DOCS and DOP officials did not cause plaintiff

  harm, as district attorneys and judges were not engaged in

  resentencing until 2008.        (Def. Opp. 2-3.)      Defendants note that

  the Second Circuit did not address such issues of causation in

  Betances II, referring those to the district court on remand.

  (Id.); see Betances II, 837 F.3d at 174 n.2.             In Betances,

  however, the district court had already found Annucci, Fischer,

  and Tracy personally liable; the issue was whether there were

  any outstanding questions relating to causation of damages as to

  specific plaintiffs’ claims.         Betances, 144 F. Supp. 3d at 454,

  455.   Here, there is a single plaintiff, and there is no dispute

  that Annucci, Fischer and Tracy neither took any action to refer

  plaintiff for resentencing, nor prompted district attorneys or

  judges to begin the resentencing process.

              Finally, defendants contend that the different

  obligations and responsibilities of DOCS and DOP officials




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  justify these officials’ inaction in the wake of Earley.               (See

  Def. Opp. at 11, Def. Mot. at 15-16 (arguing, inter alia, that

  DOCS defendants could not refer plaintiff for resentencing

  because he was under DOP supervision and because “referral of

  Plaintiff would have been made by Parole, pursuant to Parole

  policy.”))     This argument flies in the face of the Second

  Circuit’s conclusion in Betances II that “both DOCS and DOP

  continued to violate [Earley I] retrospectively, by taking no

  steps to cease enforcing PRS terms that had been added to

  sentences by DOCs employees.”         Betances II, 837 F.3d at 169

  (emphasis added).      The ability of, and need for, DOCS and DOP to

  work together to respond to Earley is further demonstrated by

  the Memorandum of Understanding, which was signed by Annucci as

  a representative of DOCS and Tracy as a representative of DOP.

  (July 2008 Memorandum of Understanding, ECF No. 82 Ex. C.)

              For the foregoing reasons, defendants Annucci,

  Fischer, and Tracy are not shielded by qualified immunity from

  plaintiff’s claims for the period June 12, 2007 to February 6,

  2008.10




  10Defendant argues that the Eleventh Amendment bars damages
  suits against officials in their official capacity (Def. Mot. at
  20), but plaintiff only claims against defendants in their
  personal capacities (Pl. Opp. at 7). The court therefore need
  not address this issue.




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              III. Plaintiff’s State Claims

              Defendants contend that plaintiff’s state law claims

  of false imprisonment, intentional infliction of emotional

  distress, negligent infliction of emotional distress, negligent

  hiring and supervision, and respondeat superior are precluded by

  New York State Correction Law § 24 and Executive Law § 259-1.11

  (Def. Mot. at 20.)       Plaintiffs do not respond to this argument.

  The court concludes that the state law claims against the

  remaining defendants, Annucci, Fischer, and Tracy, must be

  dismissed.     Correction Law § 24 and Executive Law § 259-q(1)

  operate to divest state courts of jurisdiction over claims for

  damages against individual officers or employees of DOCS or DOP

  for acts within the scope of their employment, and require that

  such claims be brought and maintained against the state in the

  Court of Claims.      N.Y. Corr. Law § 24 (DOCS officers and

  employees); N.Y. Exec. Law § 259(q)(1) (DOP officers and




  11Defendants do not specifically move to dismiss Count One, the
  claim for false imprisonment. (See Def. Mot. at 20 (discussing
  Counts Three to Six.)) Like Counts Three through Six, Count One
  involves a state law claim against individual officers and
  executives of DOP and DOCS, and is therefore precluded by
  Correction Law § 24 and Executive Law § 259-q(1). “Courts have
  an obligation to address issues of jurisdiction sua sponte,” and
  the court therefore dismisses Count One. Cruz v. New York, 24
  F. Supp. 3d 299, 311 (W.D.N.Y. 2014) (citing Joseph v. Leavitt,
  465 F.3d 87, 89 (2d Cir. 2006)).




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  employees).12     Because “[a] state law depriving its courts of

  jurisdiction over a state law claim also operates to divest a

  federal court of jurisdiction to decide the claim,” this court

  lacks jurisdiction over state law claims against Annucci,

  Fischer, and Tracy.       Baker v. Coughlin, 77 F.3d 12, 15 (2d Cir.

  1996) (quoting Moodie v. Federal Reserve Bank, 58 F.3d 879, 884

  (2d Cir. 1995).      Plaintiffs’ state law claims are therefore

  dismissed; see Hassell, 96 F. Supp. 3d at 385 (dismissing state

  law claims in a similar case); see also Cruz v. New York, 24 F.

  Supp. 3d 299, 311 (W.D.N.Y. 2014) (concluding that “Correction

  Law § 24 applies to claims of negligent hiring, retention, and

  training” and dismissing claims).

                                    CONCLUSION

              For the foregoing reasons, the court dismisses

  plaintiff’s state law claims (Counts One, Three, Four, Five and

  Six), and dismisses all defendants other than Annucci, Fischer,



  12In Haywood v. Drown, the Supreme Court held that Correction
  Law § 24 violated the Supremacy Clause to the extent that it
  conferred immunity on DOCS officers from § 1983 suits in New
  York State court. Haywood v. Drown, 556 U.S. 729, 741 (2009).
  Haywood, however, “does not . . . prevent [§ 24] from stripping
  New York state courts of jurisdiction over a plaintiff’s
  analogous state law claims against DOCS officials.” Hassell, 96
  F. Supp. 3d at 385 (citing May v. Donneli, No. 06 Civ. 437, 2009
  WL 3049613, at *5 (N.D.N.Y. Sept. 18, 2009)); accord Rounds v.
  Thompson, No. 9:12-CV-953 GLS/TWD, 2013 WL 3187074, at *4
  (N.D.N.Y. June 20, 2013) (listing cases); Doe v. New York, No.
  10 CV 1792 RJD VVP, 2013 WL 816197, at *2 (E.D.N.Y. Mar. 5,
  2013).



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  and Tracy.     With regard to Count Two, plaintiff’s § 1983 claim,

  the court GRANTS plaintiff’s motion for summary judgment as to

  the liability of defendants Annucci, Fischer, and Tracy for the

  period June 12, 2007 to February 6, 2008.

              By October 11, 2017, the parties shall contact

  Magistrate Judge Steven Tiscione to schedule a settlement

  conference.     Should the parties fail to reach a settlement by

  November 10, 2017, they shall file a status letter to that

  effect, directed to both Magistrate Judge Tiscione and the

  undersigned judge, and include a proposed schedule for the

  remainder of discovery.


  SO ORDERED.

  Dated:      September 30, 2017
              Brooklyn, New York


                                              ___________/s/_______________
                                              Hon. Kiyo A. Matsumoto
                                              United States District Judge




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                                          ADDENDUM B
All issues on this cross-appeal are to be reviewed de novo. Plaintiff-Cross-Appellee Jesus

Santiago appeals the summary dismissal of his claims related to his illegal incarceration from

September 14, 2010 to December 15, 2010, and he appeals the denial of summary as to the same

part of his claims. His illegally imposed post-release supervision was unconstitutional in 2007

and was still unconstitutional in 2010.
